Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 1 of 145 PageID #: 316

                                                                                                    FILED
                                                                                               IN CLERK'S OFFICE
                                                                                           U.S. DISTRICT COURT E.D.N.Y.

    EASTERN DISTRICT OF NEW YORK
                                                                                           * AUG 1 7 2020          ★
                                                       -X
                                                                                           LONG ISLAND OFFICE
     Lidia M.Orrego

                                                                         AMENDED
                             Plaintiff^                                  COMPLAINT

             -against-                                                   20 CV       3361       (GRBKAKT)

    Kevin ICnipfing a/k/a Kevin James,Stephanieanna James-Knipfing
    a/k/a StefiBana de la Cruz, Old Westbury EDDIE LLC,
    Old Westbury LLC,Steve SavitsI^, Teresa A.Zantua.

                             Defendants.
                                                    —-X




   The Plaintiifto Pursuant the Federal Rule Civ. P. 15(a) submit"Amended Complaint" with modifications
   in the Original Complaint and Exhibits filed on July 23,2020 pursuant to the Federal Rule Civ.P.5.2(a)
   according with the letter received from the Pro Se Office on August 08,2020.

   A amended complaint and exhibits is filed with this document

   Respectfully submitted.


  Dated:
           Rego Park,New York                                Signature



                                                             95-08 Queens Blvd. Apart 3E
                                                             Address




                                                             RegoPaikNY. 11374

                                                             City, State, Zip CODE
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 2 of 145 PageID #: 317


                                                                                         filed
                                                                                no      CLERK'S OFItlCE
                                                                                U.S. DISTRICT COUfA" E.D.N.Y.
                           IN THE UNITED STATES DISTRICT COURT ^                            '7 2020 ★
                          FOR THE EASTERN DISTRICT OF NEW YORK ,p..                      ^^
                                                                                 LONG ISLAND OFFICE

                      Lidia M.Oirego
                                                             Complaintfor Employment
                                                             Discrimination


    (Write thefiill name ofeach plaintiffwho isfiling        Case No. 20-CV-3361(GRB)fAKD
    this complaint. Ifthe names ofall theplaintiffs
                                                             (to befilled in by the Clerk's Office)
    cannotfit in the space above,please write "see
    attached" in the space and attach an additional
                                                             Juiy Trial:    iSr Yes □ No
    page with thefiill list ofnames.)
                                                                            (check one)

       -ik^iODSi-

    Kevin Knipfing a/k/a Kevin James, Sfephanieanna
    James-Kpipfitip^ a/lc/a Steffiana de la Cruz. Old
    Westburv EDDIE LLC.Old Westburv LLC.Steve
    Savitskv. Teresa A.Zantua.

    (Write the fiill name ofeach defendant who is being
    sued. Ifthe names ofall the defendants cannot fit in
    the space above, please write "see attached" in the
    space and attach an additional page with the full list
    ofnames.)
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   1.    The Parties to This Complaint

         A.    ThePlaiiitj£f(s)

               Provide the information below for each plaintiff named in the complaint. Attach
               additional pages ifneeded.

                      Name                   Lidia M.Orreeo

                      Street Address         95-08 Queens Blvd Apart 3E
                      City and County        Reeo Park. Queens

                      State and Zip Code     NY 11374

                      Telephone Number      (347^4532234

                      E-mail Address         liorrego@ptuai1-cnm

         B.    The Defendant(s)

               Provide the information below for each defendant named in the complaint,whether
               the defendant is an individual, a government agency, an organization, or a
               corporation. For an individual defendant, include the person's job or title (if
               known). Attach additional naees ifneeded.See AttachmentI-Pose9Additional
               Defendants


                      Defendant No. 1
                      Name                   Kevin Ktiipfing a/k/a Kevin James
                      Job or Title           Emnlover
                      (ifknown)
                      Street Address         2 Soring Hill Lane

                      City and County        Old Westburv -Nassau

                      State and Zip Code     NY 11568
                      Telephone Number (310^ 5692458

                      E-mail Address         fullki@gmail.com
                     (ifknown)

               Defendant No.2

                      Name             Stephanieanna James - Knipfinp a/k/a Steffiana De la Cruz
                      Job or Title           Emnlover
                     (ifknown)
                      Street Address         2 Spring Hill Lane
                      City and County        Old Westburv — Nassau
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                        State and Zip Code    NY 11568
                        Telephone Number (818)4484636
                       E-mail Address         steffdelacruz@gmail.com
                       (ifknown)

         C.     Place ofEmployment

                The address at which I sought employment or was employed by the defendant(s)
                is:

                        Name                 Kevin KnipjSng and Stephanieanna James - Knipfinp
                        Street Address        2 Spring Hill Lane
                       City and Coimty        Old Westburv-Nassau
                        State and Zip Code    NY 11568
                       Telephone Number (818)4484636

   n.    Basis for Jurisdiction

         This action is brought for discrimination in employment pursuant to (check all that
         apply):

                □       Title vn of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e
                        to 2000e-17 (race, color, gender, religion, national origin).

                       (Note: In order to bring suit in federal district court under Title VII, you
                       mustfirst obtain a Notice ofRight to Sue letterfrom the Equal
                       Employment Opportunity Commission.)

                □       Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
                        §§ 621 to 634.

                       (Note: In order to bring suit in federal district court under the Age
                       Discrimination in Employment Act, you mustfirstfile a charge with the
                       Equal Employment Opportunity Commission.)

                □       Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
                        to 12117.

                        (Note: In order to bring suit in federal district court under the Americans
                        with Disabilities Act, you mustfirst obtain a Notice ofRight to Sue letter
                       from the Equal Employment Opportunity Commission.)
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                        Other federal law (specify thefederal law):

                 DRACEDiscrimination in violation ofSection 1981 ofTitle 42 ofthe United
                 States Code('Section 1981 *):2)Foreerv Crime N.Y.PenalLaw            70.00:170.05.

                        Relevant state law (specify, ifknown):

                 DNew York State Human Rights Law("NYSHRL"):2)New York Labor Law
                  ^195(6):3)Perjury Under Section 210 ofthe New York Penal Code.

                  CSf   Relevant city or county law (specify, ifknown):

                  1)New York Citv Human Rights Law(NYCHRLi


    m.   Statement of Claim

         Write a short and plain statement of the claim. Do not make legal arguments. State as
         briefly as possible the facts showing that each plaintiffis entitled to the damages or other
         relief sought. State how each defendant was involved and what each defendant did that
         caused the plaintiffharm or violated the plaintiffs rights, including the dates and places of
         that involvement or conduct. If more than one claim is asserted, number each claim and
         write a short and plain statement ofeach claim in a separate paragraph. Attach additional
         pages ifneeded.

         A.     The discriminatory conduct ofwhich I complain in this action includes(check all
                that apply):

                        □       Failure to hire me.

                        1^      Termination of my employment.
                        □       Failure to promote me.
                        □       Failure to accommodate my disability.
                                Unequal terms and conditions of my employment.
                                Retaliation.

                                Other acts (specify): See Attachment 11 Pase 11

                        (Note: Only those grounds raised in the chargefiled with the Equal
                        Employment Opportunity Commission can be considered by thefederal
                        district court under the federal employment discrimination statutes,)

         B.     It is my best recollection that the alleged discriminatory acts occurred on date(s)

                From March 2018 to Julv 2020
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         C.      I believe that defeiidant(s)(check one):

                                is/are still committing these acts against me.
                         □      is/aie not still committing these acts against me.

         D.      Defendant(s) discriminated against me based on my (check all that apply and
                 explain):

                                race Hispanic/ Latin American/ Guarani

                         □      color
                         □      gender/sex
                         □      religion
                         I8f    national origin Paragnavan
                         □      age. My year of birth is               . (Give your year of birth
                                only ifyou are asserting a claim ofage discrimination.)
                         □      disability or perceived disability (specify disability)



         E.      The facts of my case are as follows. Attach additional pages if needed.

                 See Attachment m- Pose 18




              (Note: As additional support for the facts of your claim, you may attach to this
              complaint a copy of your charge filed with the Equal Emplo3mieDt Opportunity
              Commission, or the charge filed with the relevant state or city human rights division.)
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   IV.     Exhaustion ofFederal Administrative Remedies

           A.      It is my best recollection that 1 filed a charge with the Equal Emplojmient
                   Opportunity Commission or my Equal Employment Opportunity counselor
                   regarding the defendant's alleged discriminatory conduct on January 31. 2019

           The PlaintilBF reported 6 employees and the lawver placed +15 incorrectly, does not apply
           *Title Vn ofthe Civfi Rights Act of1964".See Exhibit4Page 49 Case No.520 201901738

           B.      The Equal Employment Opportunity Commission(check one):

                          □     has not issued a Notice of Right to Sue letter.
                          Sf issued a Notice of Right to Sue letter, which 1 received on
                          September 20.2019. PrnnRedinp under Section 1981 does not require filed
                          to the EROC and not subject to the same limitations period. See Exhibit 5
                          Page 56 Case No. 520 2019 01738.
                                  (Note: Attach a copy ofthe Notice ofRight to Sue letterfrom the
                                  Equal Employment Opportunity Commission to this complaint.)

           B.      Only litigants alleging age discrimination must answer this question.
                   Since filing my charge of age discrimination with the Equal Employment
                   Opportunity Commission regarding the defendant's alleged discriminatory
                   conduct (check one):
                   □      60 days or more have elapsed. □         less than 60 days have elapsed.

   V.      ReMef


           State briefly and precisely what damages or other relief the plaintiff asks the court to order.
           Do not make legal arguments. Include any basis for claiming that the wrongs alleged are
           continuing at the present time. Include the amounts of any actual damages claimed for the
           acts alleged and the basis for these amounts. Include any punitive or exemplary damages
           claimed, the amounts, and die reasons you claim you are entitled to actual or punitive
           money damages.

    1- Lost Wages and Benefits $ 2S0.000.00.-nrwo Hundred and Fifty Thousand Dollars).-

        From date Letter Termination Manufactured for unknown Entity and other person in California

        on November 27. 2018 to the dav of trial. Loss of the right to applied for Unemployment

        Benefits because the Termination Letter establishes that she was fired for a iust cause

        Financial Distress firom December 2018 - January 2019.
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    2- ComDcnsatorv Damages $ 6.000.000.00-<'SiY Million Dollars^.- For future loss, emotional

       distress, personal / family pain & suffering. Inability to care for the family,concealment of
       physical abuse, assault and battery, mental anguish, loss of eniovment of life and loss of

       consnrtiiim.

       Inteptionally Infliction Emotional Distress or Recklessly leading to Maior Deoressiye
       Disorder. Pain Disorder and Post Traumatic Stress Disorder(PTSD)confirm by the Medical

       Reports dated June 14.2019 see Exhibit 7 Page 63 and October 17.2019 see Exhibit 8 Page
       66. These disorders caused by race disf^mination. retaliation, racial harassment, hostile work

       envirnnment^ victimization, demotion, defamatinn^ phycological harassment continuoiis
       physical aggression and abuse ofthe Plaintiff was yictim based in her race. As a result of all
       this, the Plaintiff contracted a Premature Qyarian Failure (POP Disease, which has no

       treatment for the reyersal of damages(permanent damagesV

      The Infliction Emotional and Financial Distress due to Physical Injuries and Myofascial pain

      syndrome(chronic pain disorder- Pain persists or worsens) are Excluded in the case iSled with

      Work Compensation Board Case No. Case #G258 4330 see Exhibit 9 Page 79. This claim is
      cunently denied by my Former Employers and their Tnsnrance Company It is still in process
      and the next Hearing is on October 28.2020.

   3- Pnnltfye Damages or exemplary damages$ 2.000«000.00.-(Two Million Dollars).-;                    ^

       The Plaintijff request the Court and the Honorable Judge exemplary punishment to the
       Defendants whose conduct was intentionally egregious,intentionally grossly negligent against
       the Plaintiffbased on her race,to deter defendants and oth^s from en^apin^ in aimilar bullying
       and torturous behayior in conspiracy with the Plaintiffs co-workers causing the aboye mention
                and her reputation.

   VI.    Certification and Closing

          Under Federal Rule of Ciyil Procedure 11, by signing below, I certify to the best of my
          knowledge, information, and belief that this complaint:(1)is not being presented for an
          improper puipose, such as to harass, cause unnecessary delay, or needlessly increase the
          cost of litigation; (2) is supported by existing law or by a nonfiiyolous argument for
          extending, modifying, or reyersing existing law; (3) the &ctual contentions haye
          eyidentiaiy support or, if specifically so identified, will likely haye eyidentiaiy support
          after a reasonable opportunity for further inyestigation or discoyery; and(4)the complaint
          otherwise complies with the requirements ofRule 11.
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         A.    For Parties Without an Attorney

              I agree to provide the Clerk's Office with any changes to my address where case-
              related papers may be served. I understand that my failure to keep a current
              address on file with the Clerk's Office may result in the dismissal ofmy case.

              Date ofsigning: August     ,20%0.

               Signature ofPlaintiff
              Printed Name ofPlaintiff     yvXAiLG- V\
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 10 of 145 PageID #: 325




          B.   The Defendant(s)-AttachmentI

               Defendant No.3

                     Name                 Old Westburv Eddie LLC

                     Job or Title         Company / Payroll owner Kevin KnipjSng
                     (ifknown)
                     Street Address       2 Spring Hill Lane
                     City and County      Old Westburv-Nassau

                     State and Zip Code   NY 11568

                     Telq>hone Number     r310)5692458
                     E-mail Address       fii11ki@^ailcom
                    (ifknown)


               Defendant No.4

                     Name                 Old Westburv LLC

                     Job or Title         Unknown Entity imder registration in NY State

                     (ifknown)
                     Street Address       2049 Century Park East Suite 1400

                     City and County      Los Angeles - Los Angeles County
                     State and Zip Code   CA 90067
                     Telephone Number     GIO'^ 3156203
                     E-mail Address       ssavitskv@.savco.com
                    (ifknown)

               Defendant No.5

                     Name                 Steve Savitskv

                     Job or Title         Business Manager. Old Westburv LLC

                     (ifknown)
                     Street Address       2049 Century Park East Suite 1400

                     City and County      Los Angeles - Los Angeles County
                     State and Zip Code   CA 90067
                     Telephone Number (310^156203
                     E-mail Address       ssayitsky@sayco.com
                    (ifknown)
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                                                                          10


          B.   The Defendant(s)- AttachmentIcontinuation

               Defendant No.6

                      Name                 Teresa A.Zantua

                      Job or Title         Supervisor
                      (ifknown)
                      Street Address       2 Spring Hill Lane
                      City and County      Old Westburv—Nassau

                      State and Zip Code   NY 11568

                      Telephone Number     r516)6475444
                      E-mail Address       tay1and7n04@gmail.com
                      (ifknown)


               Date ofsigning: August Y\ «202^.


               Signature ofPlaintifif
               Printed Name ofPlaintifiT
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                                                                                                     11


    ni.    Statement of Claim - AttachmentII


           Other acts (specify)'.    Discnminarion

                                    BfHostile Work Environment

    n February IS. 2018 to June 23. 2020: Kevin Kniofing and Steohanieaima James- Knipfing the
    PlaintiflPs employers^ HificriminateH apainst The Plaintiff for being of the hispanic race, treating
    her differently than other workers. It is the PlaintifFs information and belief that the cuirent

    employees ofthe same race to The Plaintiff'are covering up other confidential matters such as the
    abuse ofthe family's children that keep them employed. See Exhibit 10 Page 81: Exhibit 11 Page
    84 a Report dated May 28. 2020 to the Child Protection Services (CPS). The Plaintiff holds as
    evideace a Diarv listing the events of rfiscriminatinn- Also, more than 600 pictures and videos
    taken with the authorization ofthe former employers, as part of her job and in the presence ofher

    co-workers and other witnesses as well as several pages oftext messages and emails. See Exhibit
    33 Page 142.

    7) Fehniary IS. 2018 to June 23. 2020: Teresa A. Zantua. the Plaintiffs Supervisor, from the
    hepinninp alwavs discriminated against the Plaintiff calling her "stupid Mexican or Paraguayan",
    via text messages, containing emoticons indicating that the PlaintilBf was retarded. The supervisor
    shared those messages with the Plaintiff's co-workers. Qjgensive comments making fim of her

    accent or her physical characteristics were also made. The supporting evidence is listed in her
    Diarv. text messages,recordings, pictures, and videos. See Exhibit 24Page 115.

    The supervisor also encouraged the children and co-workers to discrimtnate against the plaintiff
    hv calling her with derogatory names or imitating her accent when speaking. Teresa A. Zantua
    abused and consented to the physical abuse against the Plaintiff when for pressuring her to carry
    heavy items at the home or carry the children during trios to the mall ignoring the PlaintilBPs
     mmtnents that she was in physical pain. The supervisor responded"You Mexicans eat a lot of
    com for that reason vour bones are useless." The plaintiff has a recording of the last physical
    assault.

    31 May 5.2018: Teresa A.Zantua orders all the time to the Plaintiff not sneak Spanish in front of

    the children and alwavs complaining why the Plaintiff's employer hire nannies who only sneak
    Spanish and asking why **The Mexicans** work for American families who sneak only English and
    the Plaintiffshouldn't be working in the IISA.
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                                                                                                     12


    ED[.    Statement of Claim - AttachmentIIcontinuation

    4) June 02. 2018: When The Plaintiff and her 5 year old daughter met Teresa A,Zantua for a

    olavdate with the children. Teresa A,Zantua told the Plaintiffs daughter that she should not allow
    "her mommy to sneak in Spanish only in English because she is not Mexican" in front of all the
    kids and Plaintiffs husband. Mv daughter still doesn*t speak Spanish outside ofthe house because
    she doesn't want other people thinks she is Mexican. The Plaintiff have pictures as evidence.

    5) August 10. 2018: Steohpnieanna Tames- Knipfinp discriininated against The Plaintiff at the
    Concert making a difFenence with other workers.


    6)August 15.2018 4:17 pm: Stephanieanna James- KnipiBng discriminated aprainst the Plaintiffa
    through her co-workers treating her differently accusing her of acts that never happened NOT
    giving the PlaintijBfthe opportunity to defend herself. As evidence the Plaintiff has the recording.

    Stephanieanna James-Knipfing wanted demotion to the Plaintiffs position because she was
    Hispanic and she had already complained to her about Teresa A. Zantua about discrimination

    treatment and other abuses but she always ignored her.

    71 August 18.2018 8:00 pm Stephanieanna Tanies-KTiipfinp pave to Plaintiffa different treatment
    regarding when contacting her via text message that did not annlv with any other person but only
    against the Plaintiff.

    81 August 19-20.2018:6:49 pm Teresa A.Zantua harassed and discriminated against the Plaintiff

    on her day ofif via text messages and voice calls, while the Plaintiff and the family are in the

    movies. Ms. Orrego received so many insults in this dav for being Hispanic only because the
    employer misplaced an item.

    91 August 20. 2018 5:38 am: Teresa A. Zantua sent a text message to the Plaintiff, again, on

    Monday at(Plaintiffs day ofH. continuing her racial harassment Stephanieanna James- Knipfing

    via text message in The Group continued the harassment and for the purpose ofembarrassing the
    PlaintifFto encourage the discritninatinn in the workplace.
    Ifany other worker made a mistake. Stephaniftanna Tames- Knipfing and Teresa A.Zantua never
    sent these types of groups text messages to ridicule them,the Plaintiff always was a victim ofthis
    type ofharassment

    101 September 1.2018:6:44: Teresa A.Zantua via text message again gives the order to The
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                                                                                                     13


    in.     statement of Claim - AttachmentU continuation

    Plaintiff"ONLY ENGLISH** at the home and hitting the wall because the PlaintifFspoke Spanish
    finntiniiin^.

    111 September 5. 2018: stephanieanna Tames- Knipfinp harasses and discriminates against the
    Plaintiffin the Text Group, making her look ridiculous and blaming her for errors that she did not
    make. She never did this with other workers, iust did it against Ms. Orrego. The Plaintiff have

    pictures as evidence.

    121 September 8.2018: Text messages from Teresa A.Zantua in the Plaintiff's after work during

    dinner with her family harassed the Plaintiff with text messages.


    131 September 12.2018 6: 59 nm: Teresa A.Zantua via text to the Plaintiff indicates to her that
    she mocks the Plaintiff's accent to other co-workers, specifically with Skvlar Testa the House
    manager. She was always sending to the Plaintiff faces in many texts* messages meaning Ms

    Orrego is stupid or retarded when she talks and encourages everyone in the house to make fun of
    her.


    141 September 15.2018: 2:18 pm Teresa A.Zantua complains about why her sister hires people
    who speak Spanish because this is America and the family can*t be a "normal family** as always
    she start roakinp racial mmmente.

    151 September 20.2018:5pm Teresa A.Zantua for a misunderstanding(See Fact No.26 Page 241
    said to the Plaintiff"Mexican stupid": "vou are not in vour country": "I do not care about vou
    Mexicans'V'Voii are in America and here it is a bad word.":"The other nannies too trv to use
    words that we Americans do not use here" once more the Plaintiff was discriminated.. All this was
    recorded in the cameras ofthe house and was reported to Kevin Knipfinp see Exhibit24 Page 115.

    161 October 02. 2018: Teresa A. Zantua calls and insults Plaintiff again for her race, for not
    understanding her, and that's why PlaintifPs presence frustrates her when the Plaintiff received
    conflicting instructions from Teresa A.Zantua and Stephanieanna James- Kninfing.
    Stephanieanna James- Knipfing alwavs encouraping this discrimination she also harasses the
    plaintiffin front ofthe other workers,fnr this reason the Plaintiffreacted apain ofthis victimization
    wrote a text message to Stephanieanna James- Knipfinp.
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                                                                                                    14


    m.     Statement of Claim - AttachmentIIcontinuation


    17) October 05.2018: Teresa A.Zantua via text message admits to the Plaintiffshe always calls

    her "Stupid Mexican or Paraguayan."

    181 October 6.2018:2pm Teresa A.Zantua instructs children to forbid Plamtiffto speak Spanish.
    As evidence there is a recording.

    191 October 23.2018:Teresa A.Zantua.for the last time was present in the physical assault always
    enmiirapinpr nthers apainst the Plaintiff for being *Mexican'. As evidence is the recording that
    belongs to the Plaintiffand in the cameras nfthe house that was reported to Stephanieanna James-
    Knipfinp and Kevip Knipfinp so thev can check the fact. This evidence was also presented at the
    Woiic Compensation Hearing on March 19.2020.

    201 October 31.2018:Stephanieanna Tames-Kninfing apain HisCTiminates againstthe Plaintiffwith
    an order and restriction that only apnlies to her, never before had she applied these demands to
    anyone else at work until she was prohibited from that dav forward from texting her co-workers
    which is part ofher fob. When the Plaintiffguestiomng these instructions was punish and degraded
    by Stftphanieanna Tames-Knipfin^ withdrew access to money for expenses that Ms. Orrego use to
    receiye from Teresa A.Zantua. The employer also ordered the PlaintifPs supCTvisor to modifir the
    working hours. Anyone else receiyed this treatment at work,only the Plaintiff.

    Stfiphanieanna Tames-Knipfing ordered to Teresa A.Zantua to Fulfilling her role as Superyisor.
    texted to the Plaintiff the new schedule for the following day, the initial woiidng conditions
    chanped abruptly and without notice to benefit to another co-worker gjying this person more hours.
    With this new schedule they excluded to Ms. Orrego from the All Saints Parade schedule for the

    following day.All the employees there inyited to participate except Ms.Orrego.The plaintiffholds
    all the text messages.

    211 Noyember 02. 2018: After the PlaintifiF placed her complaints yia email at 2:30 pm
    Stephanieanna James-Knipfing in retaliation sent a series oftext messages and emails continuing
    the Intendnnal Infliction of Emotional Distress attacking the PlaintifF and sabotaging her work or
    career with unfair treatment unjustified negatiye eyaluations. humiliating and degrading her,using
    insensitive terms,continninp with discrimination and harassment. Steohanieanna James-Knipfing
    requested the Plaintiff yia email the medical certificate of Ms.Orrego*s reported iniuries at her
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 16 of 145 PageID #: 331



                                                                                                 15


    in.    Statement of Claim - AttachmentIIcontinuation


    workplace. This evidence will be presented at the WCB Hearing on October 28.2020 as evidence

    of PERJURY Under Section 210 of the New York Penal Code perpetrated bv Steve Savitskv.

    Teresa A.Zantua and Skvlar Testa to the detritnent nf Justice. See Exhibit 1 Page 45: Exhibit 26

    Page 128: Exhibit 28 Page 133:Exhibit 29 Page 134:Exhibit 30 Page 136:Exhibit 32 Page 139.

    221 November 06.2018: Kevin Knipjane suspended her jfrom going to work until an investigation
    was completed, but Ms. Orreeo was the only employee suspended even though other co-workers
    were involved in the complaint ofDiscrimination and Abuse.

    Kevin Knipfine and Skvlar Testa(House Manaeerl mocked the Plaintifffor being Hispanic, on
    this date thev gave the Plaintiffa SEVEN-Paee NDA(see Exhibit 14Page 891.but initiallv. Skvlar
    Testa gave the Plaintiff onlv TWO-Paee NDA( the front page and the signature page see Exhibit
    12 Page 85: Exhibit 13 Page 871. Kevin Knipfine promised to caU her to see the results of the
    investigatioiL but he never did. The Plaintiff holds the recording with all the details of this
    conversation. Intimidation,deception and fraud.

    231 November 24. 2018: Stephanieaiina Tamfts-Knipfing via text message sent to the Plaintiff
    called her "SLANDER'* even though the plaintiff presented all the evidaice supporting her
    complaint.The emnlovers continued their harassment and discrimination.See Exhibit 31 Page 138.

    241 November 27. 2018: Steve Savitskv activelv participated in retaliation against Ms. Orrego
    producing a termination letter containing false allegations. The letter was issued bv the Old
    Westburv Companv LLC with address: 2049 Centurv Park East Suite 1400.Los Angeles. CA
    90067 (See Exhibit 3 Page 481 but The Plaintiff received her pavroU checks from Kevin and
    Stephanieatma Ktiipfing, with address: 2049 Centurv Park East. Suite 1400. Los Angeles. CA
    90067 (See Exhibit 15 Page 971. The discreoancv is to intentionallv evade responsibilitv bv the
    emploveis from the PlaintifPs complaints ofdiscrimination,phvsical assault and other abuses. See
    Forgery Crime N.Y.PenalLaw $170.00:170.05:New YorkLaborLaw ^195(6).

    Kevin Knipfing from New Yoik gave the order to Steve Savitskv. his business manager in
    California^ to manufacture the Termination Letter dated November 27.2018(See Exhibit 3 Page
    481 under the name nfthe iinlaiQwn Entitv Westburv LLC,comoanv not registered in New York
    State or California. Steve Savitskv signed the letter as "Business Manager. Old Westburv LLC"

    Steve Savitskv never in the past had contacted or knew ofthe Plaintiff
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                                                                                                    16

    ni.    Statement of Claim - Attachmentn continuation


    The termination Letter was Illegal because it came from an imjknown entity who was not the

    plaintiflPs eitinlover. The allepatinns for the termination were false with the intent to intimidate
    and force the plaintiff to abandon her place of employment See Forserv Crime N.Y.Penal Law
    $170.00:170.05: New York Labor Law ^195(6).

    Kevin Knipfinpf^ Stephanieanna James-Knipfinfy and Steve Savitskv discrinunated and retaliated
    apainst the PlaintifF hy immediately canceling her medical plan, denying the Plaintiff work
    compensation benelSts and COBRA benefits while unemployed. A Brazilian co-worker Cristina
    rnimhi-a received the health benefits were denied to the Plaintiff. As evidence the Plaintiff holds

    text messages the dates ofthe iniuries as well as recording see Exhibit 23 Page 114.

    251 November 29. 2018: The Health Insurance confirmed that employers did not submit the

    application for COBRA so the Plaintiff can*t be covered bv insurance and be able to treat her
    iniuries.

    261 December 18. 2018: Kevin Knipfinp and Stenhanieanna James- Knipfing refiised to provide
    references so the plaintiff could get another iob mininp her opportunities and affecting her
    reputation. The Plaintiffhas record

    271 March 02.2019: After filing the charges with the EEOC.the plaintibBT received a Group Text
    Message from father Chabel which startled the plaintiff. The message was addressed to the
    employer reporting that all the staff were at the house.

    281 November 5. 2019: Kevin Knipfin^ and Stephanieanna James-Knipfing discriminated and
    retaliated apainst the Plaintiff bv denying her claim filed with the Work Compensation Board
   (WCBl even though according to the NOTICE OF DECISION.Judge Barrv Greenberg. Case No.
    Case #G258 4330 states:'T jSnd nrima facie medical evidence for the neck back right wrist both
    knees and major depressive disorder**. The Plaintiff has die medical records and forms signed bv
    six(61 doctors from different specialties. See Exhibit 9Page 79.

    291 March 19.2020: Steve Savitskv committed PERJURY Under Section 210 of the New York
    Penal Code,when he testified in the Work Compensation Case Hearing and stated under oath that
    Thft Plflinriff did not suffer anv injuries on the iob. On November 2. 2018 the Plaintiff emailed
    and texted Stephanieanna Tames-KniplBng and Skvlar Testa a request for a sick dav. November 5.
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                                                                                                      17

    m.     Statement of Claim - Attachmentn continuation


    2018. for X ravs attaching to this note a letter of Complaint and Medical Certificate on the
    plaintifF injuries and other complaints. See Exhibit 1 Page 45:Exhibit2Page 47:Exhibit 26 Page
    128: Exhibit 28 Page 133: Exhibit 29 Page 134.

    There are also text messages fiom Rebeca Uzcatcgui and Cristina Coimhra. the PlaintifPs co-

    workers. who conjSrm they were aware the Plaintiffcalled out sick on November 5.2018 because
    Stephanieanna James-Knipfing informed them. The Plaintiff holds the recording the last physical
    assault copy of mails, text messages and medical records. See Exhibit 30 Page 136: Exhibit 32
    Page 139.

    Also, in the WCB*s hearing on this date. Mr. Savitskv who lives in California, misstated that he

    saw the Plaintiff once but could not set a date. The Plaintiff and Mr. Savitskv never met.

    301 June 23.2020: Teresa A.Zantua committed PERJURY Under Section 210 of the New York

    Penal Code, when she testilSed in the Work Compensation Case Hearing under oath that she was
    not the Plaintiff's Supervisor and she never gave her orders(The plaintifF has a recording). The
    Plaintiff's evidence shows text messages from Teresa A. Zantua giving her orders, requesting
    information,setting-up work schedules and activities, updating work schedules,etc. This evidence
    was also submitted to the Judge ofthe Work Compensation Case for the next Hearing on October

    28.2020.

    Teresa A. Zantua misstated under oath that the Plaintiff did not suffer any iniuries on the job or
    that the Plaintiffinformed her about her iniuries. There is a recording held bv the Plaintiffverifying

    that Teresa A.Zantua was present in the last physical assault when the Plaintiffasked her for pain
    killers to relieve her from her physical discomfort and pain. See Exhibit 26 Page 128: Exhibit 28
    Page 133:Exhibit 29 Page 134:Exhibit 30 Page 136:Exhibit 32 Page 139.

    Date ofsigning: August VV ,202sP .


                   Signature ofPlaintiff
                   Printed Name ofPlaintiff
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                                                                                                  18


    E.     The facts of my case are as follows.AttachmentIH

    n January 31. 2018 Lidia M. Orrcgo.'The Plaintiff', began working for Kevin Knipfing a/k/a
    Kevin James) and Stephanieanna James-Knipfing a/k/a Steffiana de la Cruz (collectively *The
    Emplovef(See Exhihit 1 ^ Pa^e 871 as a nannv and after assisting the housekeeper in or around
    this date,aposition that the Plaintiffheld until her tennination on November 27.2018.During that
    tinte. Teresa A. Zantua. Stephanieanna Ktiipfinp*s sister, was The PlaintifiPs supervisor and the
    two worked cioselv together. The Plaintiff was one of approxitnaielv six employees who worked
    within the KTiipfinps*s home. Immediately prior to her hire.'The Employer" gave Ms. Orrego an
    employment agreement an English version despite the fact that Spanish is her primary language,
    which contained the last two pages of a non- disclosure agreement fNPAl that she signed. The
    Plaintiff received from her employer a SEVEN-Page version of the NDA after submitting her a
    copy ofthese documents complaint on her iniuries and other matters on November 2.2018. This
    NDA version is questionable.

    2)February 15.201R: rnnfirmed the hiring ofthe Plaintiff, after finishing the backCTOund check.

    The Plaintiff signed the documents for the Payroll Company OLD WESTBURY EDDIE LLC
    owner Kevin Knipfing a/k/a / Kevin James (See Exhibit 20 Page 10211egal entity under
    registration in New York State DOS ID #: 4761312 Initial DOS. Filing Date: MAY 20. 2015.

    County: NASSAU. Jurisdiction: NEW YORK which is the Plaintifrs Payroll Company. This
    Company appears as an employer in the following documents: W2(See Exhibit 17 Page 99 with
    different address).Form 1095-B(See Exhibit 18 Page 1001 and Unemployment Letter(See Exhibit

    19 Page ion.

    All the other documents such as the TWO-Page NDAfSee Exhibit 13 Page 871. Direct Deposit
    ChecksfSee Exhibit 15 Page 971. Notice of Decision WCB (Exhibit 9 Page 791 and Experian

    Bureau Credit Report(See Exhibit 16 Page 981 point to Kevin Knipfing a/k/a/ Kevin James and

    Stephanieanna James-Knipfing a/k/a StefSana de la Cruz as the Employers.

    3)February 17. 2018: First videos and pictures taken at 6:56 bv the Plaintiff in the girls' room.
    S.M.K.and S.J.K.. where there are cameras installed(Exhibit 21 Page 1041. All photos and videos
    were requested bv the family for the "digital album*. The Plaintiffhas plenty(6001 ofpictures and
    videos in her possession which were emailed and texted to the employers all the timft in fp-nnp
    messages with Kevin Knipfing. stephanieanna Tames-Knipfinyy, Tergsa A.Zantua and Other
    employees but those images were never shared with tihird parties out ofwork. No one in the house
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                                                                                                     19


    E.     The facts of my case are as follows.AttachmentHIcontinuation

    ever had restrictions on taking photos,even the Plaintiffs co-workers posted pictures taken within
    the home on their social media. The Plaintiff holds copies of these posts bv her co-workers,
    snmethinp she never did. See Fxhihit 22 Page 107.

    41 April 04.2018: La the appomtment with the children's dentist Teresa A.Zantua ordered to the
    PlaintifiF to take photos and videos, to send them to the emolovers Kevin Knipfing and
    Stephanieanna James-Ktiipfinp. The Plaintiff holds plenty of videos and pictures. See F.xhihit
    Page 143.

    51 April 9.2018:The Plaintiffbegan to write a Diary(on the recomTnendation ofTeresa A.Zantual
    for the harassment suffered bv Rebecca Uzcategui. but then the Plaintiff decided registered all the

    dates, time detailing the events of discrimination and victimization that she suffered. As well as

    the other abuses taken place in the house. As of todav. as a result of the medical treatment Ms.

    Orrego has been able to recoUect additional facts on discriiomation and physical abuse.

    61 May 5.2018: Teresa A.Zantua orders all the time tn the Plaintiff not speak Spanish in front of
    the children and always complaininp why the PlaintifFs employer hire nannies who only speak
    Spanish and asldnp whv **The Mexicans** work for American families who speak onlv English and
    the Plaintiff shouldn't be working in the USA.

    71 May 30. 2018: Teresa A. Zantua forced the PlaintifF to inform to Stephannieanna James -
    Knipfinp about Janet Knipfing and Leslie Knipfing(mother and sister of Kevin Kmpfinp*s both
    are disablel were drinldnp wine on the last visit because Ms. Orrego saw this and bv surprise
    Stephannieanna Tames - Knipfinp asked her if it was true. Teresa A. Zantua told the Plaintiff, to
    make her feel guiltv.that Kevin Knipfinp and Stephanieanna Tames - Knipfinp decided to suspend
    children's visits to grandmother*s house, also forced Janet Knipfinp and Leslie KnipjSng to attend
    Alcoholics Anonymous meetings blaminp to Ms. Orrego's report. The Plaintiff was shocked for
    this information and felted awfiillv bad because Janet Knipfing and Leslie Knipfing were socially

    sharing with fiiends. as well her employer. Stephanieanna James - Knipfing usually drank beer at

    breakfast with the Priests. Teresa A. Zantua and Stephanieanna Tames - Knipfinp hlamed Ms.
    Orrego for the punishment thev imposed on Janet Knipfinp and Leslie Knipfinp. Evidence diary.

    81 June 02.2018: When the Plaintiff and her 5 year old daughter met Teresa A.Zantua for a
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                                                                                                     20


    E.     The facts of my case are as follows.Attachmentin continuation

    plavdate witii the children. Teresa A.Zantua told the Plaintiffs daughter that she should not allow
    "her mommy to speak in Spanish only in English because she is not Mexican" in front of all the
    Icids and Plaintiffs husbaD<^ My Hau]ghter still doesn*t speak Spanish outside ofthe house because
    she doesn't want other people thinks she is Mexican. The PlaintifFhave pictures as evidence.

    9) June 3. 2018: First medical coiisultation to treat back and neck pain. The Doctor gave the

    Plaintiffthe referral for Physical Therapy. From Aoril-Mav 2018 Ms. Orrego was prescribed pain
    killers. The Plaintiff does*t have anv medical history of anv pre-existing disease according to the
    file ofthe United States Citizenship and Immigration Services(USCIS'^ and medical records.


    101 June 4.2018: The Plaintiffsought Medical Help because she started developing symptoms of
    stress throughout resulting fi'om an environment of discrimination and abuse that were affecting
    aspects ofher life, emotional and physical health. Evidence The Plaintiffs medical records.

    1 n June 16.2018: In the Carwask Teresa A.Zantua. ordered the Plaintiff to nav the "Mexicans"

    who had serviced her vehicle because the "Mexicans** were disgusting to her. She did not want to

    have anv contact with them. The Plaintiff holds pictures and diary entry.

    On Chris Weidman's son's birthday, a family fiiend. Teresa A.Zantua ordered me to take pictures

    and videos ofthe children in presence ofhis wife Marivi Weidman with whom we already shared
    other activities. This time. K.V.K.(1 y/ol in the car stepped on the Plaintiffs right hand several
    times and stood on it iniuring her wrist. Teresa A.Zantua justified these assaults when the Plaintiff

    complained ofpain:"You Mexicans eat a lot ofcom that's why your bones are useless, that's why
    Stephanieanna JanieR-Knipfing does not allow buying food based in com". The Plaintiff has
    pictures and videos. See Exhibit 33 Page 144.

    121 Jime 20.2018: Text message from Crisfina Coimbra - housekeeper, the Plaintiffs co-worker,

    advising that she took time off because she went to the doctor for her back pain and she had half

    her body paralyzed because ofphysical exhaustion and abuse at work. Because ofthis Ms. Orrego
    always agreed to help her until two more people were to be hired because it was impossible to do
    everything alone sometimes 7 davs. no davs off. Also,from the month of March Ms. Orrego was

    ordered to work with the ChefGerardo Guarino carryinp items that were heavy in weight. Cristina
    Coimbra could not take care of cleaninp; the kitchen and the large and heavy saucepans. The
    Plaintiff worked most ofthe time without takinp a break. Exhibit 23 Pa^e 114.
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                                                                                                   21


    E.     The facts of my case are as follows.Attachment HIcontinuation

    13)August 10.2018: The Plaintiffwentto help for a Concert,when greeting Stephanieanna James-
    Knipfinp she WES ipnnred. The event eoordinator arrived and Stephanieanna James- Knipfing
    introduced all the plainrifiPs co-workers except for her. She kept ignoring her as if the Plaintiff
    wasn't there,alwaystreating her differently from her co-workers. Evidence diary entry.

    14) August 15. 2018 4:17 nm: Stephanieanna Tames-Knipfing sent a verbal message through
    Rebeca Uzcateeui a/k/a Rebeca Lugo, the other nannv seriouslv accusing the plaintifF of
    something the Plaintiff never did Ms. Orrego. incredibly surprised told Rebeca Uzcateeui that
    this was inaccurate and whv Stephanieanna James-Knipfinp does not tell her directly, as she does
    with other people in the house. The Plaintiff was very mortified bv this situation. Evidence
    recording ofthis conversation,

    At9 nm The PlaintifF was offered the permanent position ofHousekeeper through Skvlar Testa-
    House Manager who told her that it was because of her excellent work. When the Plaintiff told

    him that She was not interested she received a threat if she refused the position. Faced with this
    threat and pressure the Plaintifffelt at that moment she replied she would think ahnnt it because
    she had been hired for the Nanny position and now Stephanieanna James-Knipfing was demoting
    her because she was Hispanic and Ms. Orrego had already reported on several occasions of the

    discriminatory treatment and abuse received from her supervisor Teresa A.Zantua.

    15)August 18.2018 8:00 pm: The Plaintifrfinished her shift, she went to look for Stephanieanna
    James- Knipfing to clarify about her verbal message received through Rebeca Uzcategui ofAugust
    15.2018. Stephaniftanna Tames- Knipfing was upset and in a bad manner asked her to leave. The
    Plaintififwas standing at the door ofher bedroom. Everyone else walked in and out ofher bedroom

    all the time as many times thev felt like.

    A few minutes later Teresa A.Zantua wrote the Plaintiffa text message saving that it was not the

    right time to sneak to our employer. At 8:23 pm Stephanieanna James-Knipfing text to the Plaintiff
    asking her if everything was fine and the PlaintifF iust to prevent from Stephanieanna James-
    Knipfing getting angry against her iust did reolied everything was fine. Stephanieanna James-
    Kninfing replied her bedroom was "too private a snace". indicating that she disliked the PlaintifF
    crossed thatlimit, when She never did,even all the Plaintiff's co-workers and Priests going through
    the door into her bedroom with just knocking and sometimes saw others go to her bedroom without
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                                                                                                     22


    E.     The facts of my case are as follows. AttachmentIIIcontinuation

    even knocking and listened to Stephanieanna James-Kmpfing talking with all ofthem in a pleasant
    way and for a lon^ time, no one else was told about the"Private Space" but lUSt to the her. Teresa
    A.Zantua. heard what happened telling the PlaintijGfthat Stenhapipianna Tames-Knipfing was who
    encouraged the co-workers to harass the Plaintiff. Evidence text messages,


    16) August 19. 2018 6:49 nm: Sunday afterooon the Plaintifrs dav off, she was with her family

    when Teresa A. Zantua text her about some boxes, referring to the housekeeping job diat The
    Plaintiff was temporarily helping and she replied thev are in the closet then the supervisor asked
    about"breathinp thinps" Ms.Orrego was confused. On that call the employer veiled at Ms.Orrego
    who replied,"what hreathinp things You are talking about?" Teresa A.Zantua said to the Plaintiff:
    "I don*t understand you" :" I feel frustrated because 1 can't understand you", the Plaintiff,

    desperate,tried to make Teresa A.Zantua understand that only She placed some bags in the closet

    Ms.Zantua replied: "Steff saw that and does not like that you keep things there**, so the Plaintiff
    understood it was not those boxes they were looking for, without success. Teresa A. Zantua

    suddenly hung up on her.

    A few minutes later. Ms. Orrego text to Teresa A.Zantua apologizing and explaining to her how
    nervous she was about the distressing call, not being able to think clearly and to be able to answer

    her question. In those calls Teresa A. Zantua insulted and started again saving why they hired
    people who do not sneak English and continued to insult her for being Hi«panin nailing her multiple
    times that day.

    17) August 20. 2018         am; The Plaintiffs dav off: Teresa A. Zantua texted to the Plaintiff,

    again, she    was   anerv    and   unset   because   nobody    could    find "the    black   boxes".

    Stephanieanna James- Knipfing sent a Group text message to embarrass and victimize the Plaintiff
    by writing: there is a "Ghost" in the house. They knew that Ms. Orrego had kept the "black boxes"

    that day because Rebeca Uzcategui informed them,the Plaintiff had the boxes on Saturday when

    she covered Cristina rnimhra. the housekeeper. But Teresa A. Zantua described them like
    "breathing things" tp the Plaiutifif and those weren't the ones in the closet. The Plaintiff was
    confused about all this.

    When Stephanieanna Tames- Knipfing finally sent a picture from the Amazon website ofthe black
    boxes,the Plaintiffreplied in the text group saving that it waa the place that she harf cnmnninicated
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                                                                                                    23


    E.     The facts of my case are as follows.AttachmentHIcontinuation

    to Teresa A. Zantua on Sunday, and Ms. Zantua repliecL "Ouch calling mv name out??". After a
    few days. Teresa A.Zantua warned the Plaintiff this would be the last time that she exposed her
    name and that she was going to regret having done so because she makes her look bad in front our

    employers. Teresa A.Zantua threatened Ms. Orreeo saving that sometfaine bad might happen to
    her and she woulrf hlame her brother's illness as an excuse because her brother Rvan is
    schizophrenic.

    If any other worker made a mistake. Stephanieanna James- Knipfinp and Teresa A.Zantua never
    sent these types of groups text messages to ridicule them,the Plaintiff was always a victim ofthis
    type of harassment The PlaintifF holds text messages.

    18) August 21. 2018: While the Plaintiff continued temporarily helping in the housekeeping and
    after the event with Stephanieanna Tames- Knipfinp and Teresa A.Zantua about the boxes, the
    PlaintijGfdecided to reject the "housekeeper position" despite the threat oflosing her iob ifshe did
    not accept the demotion. The PlaintifFholds recording.

    19)September 1.2018:6:44: The Plaintiff was speaking and singing in Spanish to the girl she was
    in charge of. Teresa A.Zantua who was in the next room started hitting the wall and textine the

    plaintiff the order "ONLY ENGLISH" mocking face emoticon. insulting the Plaintiff 'Retarded'
    for being Hispanic. The Plaintifftext message. See Exhibit 27 Page 130.

    20) September 5. 2018: Stephanieanna James- Knipfing in order to impose a punishment and
    humiliate the Plaintiff in front all the Grnnp hlamin^y her about a mistake she didn't make. One
    day,someone cooked the rice very saltv and she thought it was the Plaintiff. Stephanieanna James-

    Knipfing set aside in the refiieerator a container with the rice and a note that embarrassed the

    Plaintiff. She never did this type of actinn apainst any other worker. The Plaintiff holds pictures
    and evidence in diarv entry.

    21)September 6.2018: The Plaintiffasked Tereza A.Zantua ifshe and one ofthe other Hispanic
    nannies.Rebeca Uzcategui.a Venezuelan national,had reconciled after an argument that had taken

    place earlier that day. Ms. Zantua responded that she would never apologize to **a Mexican."
    Evidence in diarv entry.
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                                                                                                   24


    E.     The facts of my case are as follows. AttachmentHIconlinuation

    22)September 8.2018: Text messages were received after working hours from Teresa A.Zantua
    that harassed the Plaintiff. The messages made fan and humiliated her again about the Spanish
    lanpiiape and sent her all kind of messages with tfaose gestures OF videos ofYou Tube teasing the
    Mexicans. The Plaintiffinfonned her,she was having dinner with her family and sent her a picture
    of her meal. Teresa A. Zantua did not miss the opportunity to make nasty comments even about
    what the plaintiffand her family were having for dinner. Rvidence text messages.

    23)September 11.2018: Teresa A.Zantua reported to Cristina Coimbra.the housekeeper,another
    mistreatment of Rebeca Uzcategui against S.S.K.(3 v/o girl) because Ms Uzcateeui had grabbed

    her arm tiehtlv forcing her to go downstairs so S.S.K. wouldn't bother Stephanieanna James-
    Knipfing. The Plaintiff was also a witness.                                                       ^

    24) September 12. 2018 6: 59 om: Teresa A.Zantua text to the Plaintiff"Skv send me lol I talk

    like u" Since the Plaintiffdid not understand that message,she asked her what it meant and Teresa

    A. Zantua told her that thev always made fim ofthe PlaintifF with Skvlar Testa. House Manager,

    because the PlaintijGPs accent also, she was always makinp fun of her with other people and the
    children imitating her with the stupid face in public places, insults calling her "stupid*" and why
    She work for American family if she doesnt sneak English etc. ending with stupid Mexican, also
    said Paraguay making fim the wav and her accent when she pronounce Paraguay.

    Teresa A.Zantua was always sending to the Plaintifffaces in many texts* messages meaning She
    is stupid or when The plaintiff said somethinp to her, she wiU put that face repeating what the
    Plaintiff said with her nephew. K.V.K.(1 v/o child). Ms. Orrepo knew that Skvlar Testa. House
    manager, participated in racial iokes about her. See Exhibit 27 Page 130.

    25) September 15. 2018 2:18 pm: Teresa A.Zantua romplains about whv her sister hires people
    who speak Spatiish because this is America and the family can't be a normal family as usually
    claim,she started making racial cnmrnents. Evidence in diarv entry.

    26) September 20. 2018: When the Plaintiff was nlaving with S.S.K. referring to Zantua as
    "grande." which is Spanish for **big person.** Zantua was enraged and told the Knipfings* children
    that "Ms. Oirego is a stupid Mexican.** The Plaintiff was lefeiring to Zantua's height Zantua
    hftlieveH that she was referring to her weight.Teresa A.Zantua then began to scream at Ms.Orrego.
    stating'T don't care about vou stupid Mexicans. You are not in vour country, vou are in America
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                                                                                                       25


    E.     The facts of my case are as follows. AttachmentIII continuation

    And here that is a bad word." Ms. Orrego attempted to apologize despite the racist outburst from
    Teresa A.Zantua. but she refased to listen. Further. Ms.Zantua would routinely harass Ms.Orrego
    bv text message with photos and emoticons of bloated dumbfounded faces to liken her to those
    imafres.In the couise ofthe ^Investigation",the PlaintijBTreported the day and time that it happened
    so that thev can verifi^ the film from the security cameras. Evidence cameras and diary entry.


    27)September 29.2018: Atthe door ofthe NYC ChUdren's Museum^ the Plaintiffwas with S.S.K..
    waiting for Teresa A.Zantua who was with the other children in the theater and was to go find the
    Plaintiffand the babv girl. S.S.K. wanted to go to the bathroom and eat something,so the Plaintiff

    went to a store one block awav and texted her Supervisor that thev were in the Store.

    A few minutes later Teresa A.Zantua saw the Plaintiff was not at the museum*s door. Ms.Zantua

    called her and was furious asking where the Plaintiff was. Ms. Orrego told her she was on her way

    out. Teresa A.Zantua told her she had to drive around the block again cursing the Plaintiffbecause

    ofher race and not pavinp attention to her orders and as always with all nastv radni commfints
    Evidence in diarv entry.

    281 October 02.2018: Teresa A.Zantua called and insulted the Plaintiff again for her race,for not

    understanding her, and thafs whv the Plaintiffs presence frustrates her. Most times this was the
    result when the Plaintiff received conflicting instnictinns from Teresa A. Zantua and
    Stephanieanna James- Knipfing.

    Later. Stephanieanna James- Knipfing knew ofthis event from Ms Zantua and started blaminp her
    and making malicious remarks with her co-workers in PlaintifPs absence. When the plaintiffknew
    thiR comment thought her co-worker^ immediately, she texted the employer for clarification
    explaining the reason whv Ms. Zantua was unset that morning regarding conflicting instructions
    received bv Ms. Orrego. The PlaintifiF holds text message as evidence.

    Stephanieanna James- Knipfing always encouraged this discrimination she also harassed the
    Plaintiffin front ofher co-workers.

    291 October 4. 2018: Since the discrimination and abuse from Teresa A. Zantua was being
    unbearable, the Plaintiff considered talldng with Rebeca Uzcategui. the other Hispanic nanny,
    because she all along was trying to meet with the Plaintiffto discuss all the discrimination and
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                                                                                                   26


    E.     The facts of my case are as follows. AttachmentIIIcontinuation

    abuse tiiat was taking place inside the Kniofing's house and solved the problems. Rebeca
    Uzcateeui sent to the Plaintiffa voice message saving: "Ms. Lidialwant vou to know that vou are

    a person with a beautiful heart that nothing that •woman savs has to hurt vou. because she is
    "Nobody" as mv own boss told me. please be patient."

    "Do notlet anything touch vou because everythingshesavs is to make vou feel bad,she is mentally

    ill and this has to stop, because it cannot be thatshe keeps bein£ like that.Iwill notsav anvthins.
    do not worry, we have to talk to her, we two, if you want. I do what vou want. I want you to be

    quiet and take care ofS.S.K.. please."

    "My boss is takinit S.S.K. to school itseemed so weird that you did not take her with TAZ(Teresa
    A. Zantua). what happened? But OK. Ms.Li. do not feel bad, understand that she's crazy but we
    cannot let her treat US like that." The PlaintifiF holds voice message as evidence and sent it to
    Kevin Knipfin^ via email as Report5 dated November 16.2018 for the employer **Investigation".
    See Exhibit 24 Page 120.

    30)October 05.2018: Teresa A.Zantua texted to the Plaintiffat 6:55 am asking ifshe replied to a
    Group text message. Ms. Oirego explained mavbe it happened bv mistake that an icon was sent
    from her phone.Teresa A.Zantua admited calling Ms.Orreeo as "Stupid Mexican" or"Paraguayan

    Stupid" making mention of the Plaintiff's Guarani Race because the Plaintiff was constantly a
    victim of racist commente and iokes about his race or the Mexicans. The Plaintiff holds text

    message. See Exhibit 27Page 130.


    31)October 6.2018 2pm: Teresa A.Zantua instructs the children to forbid the Plaintiff to speak
    in "Spanish"during a trip to pick apples at HARBES ORCHARD Family Farm. Ms.Orrego asked
    K.V.K.(1 v/o) why He tells the Plaintiffshe shouldn't speak Spanish, the bov gets nervous about

    it and called Teresa A.Zantua.because she always threatens them that thev shouldn't sav her name

    when she savs all those discriminatory comments. The threat is the recurring weapon used bv

    Teresa A.Zantua against the children and Ms. Orrego. The Plaintiff holds the recording.

    Also. Teresa A.Zantua attacked S.S.K.(3 v/o) because she cried for one ofthe Hispanic nannies

    with the cnmment "T am not vonr family anvmore. vour family are those Mexicans, your family is
    Mexican" with this comment,Teresa A.Zantua got the girl to reject us. S.S.K. panicked and
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    E.      The facts of my case are as foUows.Attachment///condnuation

    apolomzed to her auntfor being so attached to her Hispanic nannies. Teresa A.Zantua even trained
    S.S.K. to tell her Hispanic nannies that she was **big girl** already and didn't need nannies any
    more.


    32^ October 08.2018: Rebeca Uzcategui told the PlaintiflF(several occasions^ that Stq^hanieanna
    James-Knipfinfj ^aye sleeping pills to S.S.K.(3 v/o). Ms. Uzcategui informed the reason was
    Stephanieanna Tames- Knipfing did not want to take care of the babv girl, so the Plaintiff took
    Sistien FCnfpfinp eyerv night Upstairs to leave her in the bedroom in front the cameras always
    checked the girrs breathinp and temperature in her shift for fear that S.S.K. feel sick because of
    the pills. There is recording at the home sent to Kevin Knipfine via email as Report 7 dated
    November 16.2018 for the "Investigation**. See Exhibit 24 Page 126.

    Rebeca Uzcategui told the Plaintiflp! "We needed protecting S.S.K. jfrom the abuse and
    mistreatment ofTeresa A.Zantua". because the "S.S.K.*s Teachers" told to Ms. Uzcatesxii that the

    Babv Girlfeels protected bv her and the Plaintiff. According with this recording.Rebeca Uzcategui
    reported to the Plaintiff she was informing to third parties about what was happening in the
    Knipfine Family and to the Teachers who could not believe what we went throueh with Teresa A.
    Zantua. This recordine was also emailed to Kevin Knipfine for "Investieation" on November 16.

    2018. The Plaintiff holds the recordines that were sent to Kevin Knipfine via email as Report 7
    dated November 16.2018 for the "Investieation". See Exhibit 24 Paee 126.

    331 October 12.2018: October 12.2018: Rebeca Uzcatepui told the Plaintiff*Ve should meet on
    Sunday and talk about how we are eoine to act to solve the abuses of Teresa A. Zantua because

    this can no loneer continue and we must protected S.S.K. because she is affected bv evervthine
    Teresa A Zantua does anH insists that S.S.K. changed in a week due to abuses.** Rebeca Uzcategui

    was crying very affected bv the whole dist^'mitiatinn and abuse. The Plaintiffholds the recordings
    and those were sent to Kevin Knipfinp via email as Report 7 dated November 16. 2018 for the
    "Investigation**. See Exhibit 24Page 126.

    For the Plaintiff evervthinp was very confusing because Ms. Uzcategui also narticiDated in
    S.S.K,'s abuse giving her candies all davi '"i^t^'eating S.S.K. because she didn't obev her, or
    fighting and threatening Teresa A.Zantua creating chaos in firont ofthe children.
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    E.     The facts of my case are as follows.AttachmentIIIcontinuation

    34) October 13. 2018: S.S.K.. 3 years old babv girl, all dav long did not want to be alone with
    Teresa A.Zantua. The Girl hugged Plaintiff all the time and even waited for her at the bathroom
    door because she did not want to be alone with Teresa A.Zantua. S.S.K. was panicked all dav.

    S.S.K.*s behavior and what Rebeca Uzcateeui told her on October 8.2018 and October 12.2018
    as she was doing months earlier made the PlaintifPworry more and saw that she needed to protect
    S.S.K. ofthe abuses ofTeresa A.Zantua and because everything was getting worse,the Plaintiff

    realized had two big problems, she didn't know how to handle: discriniinatioD/phvsical abuse

    against the Plaintiffand abuse a^inst the children. When Rebeca Uzcateeui and Teresa A.Zantua
    ar|gued. veiled, accused,and threatened at each other that there were videos or recordings about all
    the abnse with the intention of showing who had more power and control. The evidence is the

    entry in The PlaintifiFs diarv.

    Every time the Plaintiff reported this behavior to Skvlar Testa(House-Manager). He did nothing
    to protect the children, even told The PlaintifF that all was "normal" and all problems with the
    former nannift.Q werft the fault ofTeresa A.Zantua because "she is Crazv*'.

    35)October 14.2018: Meeting between Rebeca Uzcategui and The Plaintiff at the Old Westburv

    Diner to discuss the discrimination and abuse they were facing from Teresa A. Zantua that was

    knowledge and allowed bv Stephanieanna James- Knipfing.

    The Plaintiff and Ms. Uzcate^i decided to tell the Knipfing's again about the direct
    discrimination, harassment hostile work environment and abuse from Teresa A.Zantua was being

    carried out in fiont of their children, Tn this conversation Rebeca Uzcategui reveals were other

    victims and comolaints before afyainst the discriminatory and violent conduct ofTeresa A.Zantua.
    Also. Ms. Uzcategui revealed to the PlaintifF one ofthe victims had requested a restraininp order
    against Teresa A.Zantua and that all ofthis was knowledge bv the Director ofthe School where
    Ms. Uzcategui worked.

    Ms.Uzcategui stated that she possessed the list names and nhone numbers ofthose victims and if

    something serious happens she will sue Kevin Knipfing and Sthephanieanna James- Knipfing. but
    wiht the Group because Ms. Uzcategui can*t sue them alone.
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    E.     The facts of my case are as follows.AttachmentIIIcontinuation

    Rebeca Uzcateeni declared that Sharmon Sha.the teacher, reports to her ofall the abuses ofTeresa
    A.Zantua to S.J.K.(11 w/6)and S.M.K.(13 w/6) and her mother Sthcphanieaima James - Knipfing
    doesn't defend them or intervene in these abuses, so she will not waste her time talking to her
    about our complaint, saving that she must will to talk with both employers. Also. Ms. Uzcateeui
    keeps notes and events rPairv'^.

    Ms. Uzcateeui declared that our employers can NOT do anytbinpf a^yainst her because she has all
    the evidence to prove her case against Teresa A.Zantua. In addition, she also declared that both.
    Ms Uzcateeui and Teresa A.Zantua. threaten each other to see who has more evidence. Everyone
    inside the Knipfinp's house collects evidence such as notes, videos, pictures, etc. according to
    Rebeca Uzcateeui's statements. Ms.Uzcatep^ni insists to the PlpintifFthat thev must protect the girl
    S.S.K. against Teresa A.Zantua's abuses.

    Rebeca Uzcateeui states that she met with fonner *'NannY Qabi". from Guatemala who gave her
    information on the discrimination and the mistreatment when she worked for the Rnipfin^y's
    Family in Florida,for years and Stephaniaanna Tames- Knipfing ipnnred her complaints and Gabi
    couldn't claim anything because she was illegal. Rebeca Uzcateeui clarified that they (Ms.
    Uzcateeui and Ms. Orreeo'l was a different case because they both "Legally". The Plaintiff also

    was preyiously ignored by Stenhanieanna James- Knipfinp when she commented on Teresa A.
    Zantua's racism.

    Rebeca Uzcateeui also reyealed Stephanieanna James- Knipfinp also sometimes mistreating her
    and she was coyering the abuse ofTeresa A.2^tua. Ms.Uzcatep;iii confirmed to the PlaintifF. she
    would write the complaint to piye to Keyin Knipfing and they we must support each other so that
    all this situation can be solyed.

    The conyersation was recorded in a public place, established by Rebecca Uzcateeui yia text
    message, being present a third part that also participates in the conyersation. The meeting was

    recorded with Ms.Uzcategui consent. The Plaintiffholds yoice message,text messages,recording,

    and witness. The Plaintiff holds the recordings and sent to Keyin Knipfing yia email as Report 1
    dated Noyember 08.2018 for the "Inyestigation". See Exhibit24Page 115.

    361 October 16.2018: The PlaintifFreport to Skylar Testa(House Manager^l about everything that
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                                                                                                   30


    E.     The facts of my case are as follows.AttachmentIIIcontmuation

    happened with S.S.K. that day and her erratic behavior with panic attacks and crying because
    Mr.Testa Icnew about excess candies since the first report in April 2018. He told Ms. Orrego that
    S.S.K. was addicted to sweets and thev can do nothinp hecaiise Stephanieanna James- Knipfing
    knew what Reheca Uzcategui was doing to control the girl and she doesn't care. The Plaintiffholds
    the rernrdinfy.

    The Plaintiff was given the order from Stephanieanna James- Knipfing in her first day the candies

    are not allowed in the house,but Teresa A.Zantua ordered Ms. Oirego to give sweets to S.S.K. to

    control her because nobody cares if affects her health condition as Rebeca Uzcategui does it For

    this reason, the PlaintifF fought apainst this situation and discarded all the candies or unhealthy
    snacks and the Plaintiff giving them to Teresa A.Zantua in bags. The Plaintiff'holds pictures and
    evidence in diary entry.

    3T1 October 19.2018: The Plaintiff. Teresa A.Zantua and the children went to E's house. S.M.K.

    and SJ,K.*s theater lessons classmate. E*s mother is fluent in SpaniRh and spoke to the Plaintiffin
    Spanish^ which bothered Teresa A.Zantua who made gestures to the PlaintifF not to talk to her in
    Spanish,always saving(stupid^ without E's mother noticing. Teresa A.Zantua ordered the Plaintiff
    to take photos ofS.S.K. with E's pet. That day Teresa A.Zantua was drinking wine with E's mother
    and the Plaintiffstarted to worry because Ms.Zantua had to drive home. At night Ms.Zantua was

    dnink and Started a message group with E's mother. The Plaintiffholds pictures,text messages and
    dairy entry.

    38)October 22.2018: Rebeca Uzcategui insists on protecting S.S.K.from Teresa A.Zantua. who
    is mentally ill. The Plaintiff holds the recnrdinps and sent to Kevin Knipfing via email as Report
    7datedNovember 16.2018 for the "Investigation". See Exhibit 24Page 126.

    39) October 23. 2018: The Plaintiffs last physical assault in the kitchen ofthe Knipfing*s house
    where there are cameras and in the presence ofTeresa A.Zantua. The Plaintiffhad asked to Teresa
    A.Zantua for pain killers because she had back pain. The Plaintiff holds the recording and this
    evidence was also presented at the Work Compensation Board rWCB)Hearing.

    The Plaintiff was the victim of several physical assaults (kick or punch her back, hand, neck,
    shoulders)bv Kevin Knipfinp's son(K.V.K.7v/o)in the car under Teresa A.Zantua*s supervision
    because the kid practice wrestling and he was hitting Ms.Orreeo with the consent ofTeresa A.
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    E.      The facts of my case are as foUows.AttachmentHtcontinuation

    Zantua according to          her   hate       speech   against   Mexicans   because   Ms. Zantua
    justified these assaults when the Plaintiffcomplained ofpain that"You Mexicans eat a lot ofcom
    that's why your bones are useless, that's whv Stephaoieanna James- Knipfing don't allow buv food
    based in com".


    Also, for months. Teresa A. Zantua ordered Plaintiff to soill oil on S.S.K.'s clothes so Rebeca

    Uzcategui can't take home. When Plaintiff refused to do that because was not correct act Teresa
    A.Zantua reproached her **You Mexicans help each other." The Plaintiffholds text message were
    the clothes picture to be spilled with oil.

    Last VIDEO Authorized bv Kevin Knipfinp for the family album,it was recorded in the classroom
    where there are cameras duration of46 seconds,recorded at 6:12 pm.The PlaintifiF also has names

    of witnesses and places that witnessed her being authorized to take photos or videos inside the
    Knipfinp's house. Evidence videos, pictures and text messages. See Exhibit 21 Page 104: Exhibit
    33 Page 142.


    401 October 24. 2018: Conversation with Cristma Coimbra. the housekeeper, told the Plaintiff
    K.V.K.all morning was worried about the Plaintiffs condition after He hit her badlv the day before

    and Teresa A.Zantua laughed out loud mocking about Ms.Orreeo and Cristina Coimbra told Ms.

    Orrego shouldn*t allow the bov to keep hitting her. That she also suffers fi'om the back problem.
    This recording was also emailed to Kevin Knipfing for "Investigation" as Report 7 on November
    16.2018. See Exhibit 24 Page 126.

    The Plaintiffcomplained ofback pain with Teresa A.Zantua who reproached to the Plaintiff with
    nasty racial comments about the her bones and com for being Mexican, as if she were guilty for

    haying nain and not as a consequence the physical abuse like the knocks, carrying the girl all the
    time, etc.

    411 October 30. 2018: At the time of the shift change. Stephanieanna James-Knipfing enters the
    kitchen and sees The Plaintiff haying lunch, and yisibly unset asks her what she was waiting or

    haye nothing to do and ask her why she was sitting. She neyer treated or said thing like this to
    other workers when they are taking lunch or break, the Plaintiff was the obiect of these
    discriimnatory treatments. Eyidence in diary entry.
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    E.     The facts of my case are as follows. Attachmentin continuation

    42) October 31. 20IS: Stephanieanna James-Knipfing again discriminates against the Plaintiff
    with an order and restriction that only applies to her, never before had she applied these demands
    to anyone else at work until she was prohibited from that dav forward jfrom texting her co-workers
    which is part of her iob. When the Plaintiff questioninpr these instructions, she was punished and
    degraded hy Stfiphanieanna James-Knipfinp withdrew access to monev for expenses that Ms.
    Orrego iise to receive from Teresa A.Zantua. The employer also ordered the PlaintifPs supervisor
    to modify the working hours. No anyone else received this treatment at work, only the Plaintiff.


    Stephanieanna James-Knipfing ordered to Teresa A. Zantua to Fulfilling her role as Supervisor,
    texted to the Plaintiff the new schedule for the following dav. the initial working conditions
    changed abruptlv and without notice and to benefit Rebeca Uzcategui giving her more hours. With
    this new schedule thev excluded to Ms. Orrego fix)m the "All Saints Parade" schedule for the

    following dav. All the employees there invited to narticiDate except Ms. Orrego. The plaintiff
    holds all the text messages and pictures.

    Conversation with Rebeca Uzcategui told the Plaintiff she had the complaint ready to give it to
    Kevin Knipfing about the discrimination and mistreated from Teresa A. Zantua. The recording
    emailed to Kevin Kninfing for "Investigation" as Report 7 on November 16.2018. See Exhibit 24

    Page 126.

    43)November 01.2018: The plaintiffreceived an email from Skvlar Testa with TWO-Page NDA.
    he never explained the content to her before because it was in English and he didn't give her a copy
    on January 31.2018 until this dav. The plaintiffread the first page where there was no provision
    affecting her, and on the second page, there was only her signature and the information of Kevin
    Knipfing without his signature. See Exhibit 12 Page 85: Exhibit 13 Page 87.

    The Plaintiff had attended bv Dr. Moisey Helman because she had pain in her back and neck as a
    result of the work and the last physical assault, giving her an X-rav order to be able to start the

    treatment according to the results because He couldn't prescribe anv medication without the results.
    This query was through the Employer's Health Insurance.The last physical assault is in the medical
    records bv Dr. Moisev Delman. See Exhibit 28 Page 133.

   44)November 02.2018: The PlaintiiBr starts to get worse her emotional health without being able

   to handle the long-term stress,the chronic stress since February 2018 has increased the symptoms
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    E.     The facts of my case are as follows.AttachmentIIIcontinuation

    affecting her physical health such as headaches, stomach pain, sleeping problems, illnesses and
    depression reason whv Ms. Orrego decided to go to the Doctor again but this time Dr. Vladimir
    Morgoskv attended her,who also asked for the X-rav results gave her medications in minimal dose
    for the pain because the Plaintiffhad tachycardia according to the results ofthe electrocardiogram,
    also the Dr. Morgoskv signed the Medical Certificate and wrote the iniuries in the Medical Report.

    The plaintiff notified Stephanieanna Jameg-Knipfing and Skvlar Testa via text message that she
    would go to the doctor. Stenhanieanna Jamp-s-Knipfing replied asking ifThe Plaintiffwas fine and
    could take the time she needed. Skvlar Testa also replied to '*notify to Steff*. This evidence will
    be presented at the Work Compensation Hearing on October 28.2020 as evidence ofPERJURY
    perpetrated bv Steve Savitskv. Teresa A. Zantua and Skvlar Testa to the detriment of Justice
    ordered for Kevin Knipfinp and Stephaniftanna Tames- Knipfing. See Exhibit28 Page 133:Exhibit
    29 Page 134: Rxhihit 32 Page 139.

    At 2:37 pm -Ms. Rebeca Uzcategui called to Ms Orrego because S.S.K. knew she was sick, the
    girl wanted to greet her and know how Ms Orrego was. The Plaintiffholds Text Message and Call.
    See Exhibit 30 Page 136.                                                                          .

    Cristina Coimbra also sent a texted to the Plaintiff offering her help because she was reported to

    be ill from the iniuries via email and text message. See Exhibit 30Page 137.                      .

    As Rebeca Uzcategui did not fulfill her promise to make the complaint together,the Plaintiffsent
    the Complaint via email to Stephanieanna Tatnes-Knipfinp and Skvlar Testa about all direct and .
    indirect race discrimination, physical abuse/assault verbal abuse, hostile work enviroiunent
    harassment She suffered in the presence of their children for being Hispanic. Also, other abuses
    and victims that occur in the workplace according to the conversation with Rebecca Uzcategui on

    October 14.2018. See Exhibit I Page 45.

    After the Plaintiff placed her complaints via email at 2:30 pm Stephanieanna James-Knipfing in
    Emotional Distress attacking the Plaintiffand sabotaging her work or career with unfair treatment

    uniustified negative evaluations, humiliating and degrading her, using insensitive terms,
    coptipumg with discrimination and harassment. Stephanieanna James-Knipfing requested the
    Plaintiff via email the medical certificate of Ms. Orrejgo's reported iniuries at her woikplace. See
    Exhibit 26 Page 128: Exhibit 28 Page 133.
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    E.      The facts of my case are as follows.Attachment UIcontinuation

    Also, via text message demanded to the Plaintiffthe date and time to be able to fudge from camera

    footage where the last physical assault occurred in order to make the necessary reprimands as the
    Plaintiff offered in her Complaint and that she hoped that the Plaintiff is in good health. The
    Plaintiff never replied to anv ofthe hostile messages because she was surprised and only limited
    tn answering bv email and sen^linfy the Medical Certificate. See Exhibit 26 Page 128: Exhibit 29
    Page 134.

    45)November 06.2018 at 4pni: When the Plaintiff returned to work after finishinp^ the sick days
    according to her medical certificate and X-ravs done the dav before. Kevin Knipfing was waiting
    with two witnesses rristina rnimhra. the housekeeper,and Mike(Kevin Knipfing's friend).

    Kevin Knipfing admits that he knew about all the prnhlems between Teresa A.Zantua and Rebeca
    Uzcategui. because he had already witnessed fights between them and Rebeca Uzcategui said that

    she had already filed a complaint against Teresa A. Zantua. So Kevin Knipfing *thanked the
    Plaintifffor letting him know ofall the prnhlems'* thev had in the house and He was unaware that
    it involved the Plaintiff.

    Also. Kevin Knipfing asked the Plaintiff several times: *^vhat She wanted with the complaint?",
    every time Ms. Orrego answered she wanted to woik in a safe place without discrimination and

    the children to be safe because thev were in the middle ofall the fights,abuses and the environment

    was not healthy for anyone.

    Kevin Knipfing inform to Ms.Orrego that an investigation would be opened and according to the
    complaint the Plaintiff had evidence, so he needed she give him those evidence to do the
    Investigation. The Plaintiff offered Kevin Knipfing the statement ofthe witness to whom Rebeca
    Uzcategui shared all the information on October 14.2018 about disrriminatlon. abuse,complaints,
    restraining order against Teresa A.Zantua.

    Also. Kevin Knipfing asked the Plaintiff what "can be the solution?". Ms. Orrego replied that he
    would decide about the solution when the Investigation finished. Later.Kevin Knipfing intimidate
    the Plaintiffsaving **nobodv should know anything about her complaint** obviously concerned that
    it would become public that his sister-in-law is a racist also the indirect HiRcriminatinn and ahnse

    Kevin Knipfmg and Skvlar Testa(House Manager) mocked the Plaintifffor being Hispanic, they
    giving her SEVEN- Page NDA (Exhibit 14 Page 89). but initiallv. Skvlar Testa gave the Plaintiff
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    E.     The facts of mv case are as follows.AttachmentIIIcontinuation

    only TWO-Page NDA via email on November 01. 201            the front page and the signature page

    Exhibit 12 Page 85: Exhibit 13 Page 87V Kevin Kniofing promised to call her to see the results
    ofthe"Investigation** to decide who stavs and who leaves,(but he never didV

    Kevin Knipfinp suspended her from going to work until an investigation was completed but Ms.
    Orrego was the onlv employee suspended even though other co-woricers were involved in the
    complaint of Discriniinatinii and Abuse. The Plaintiff holds the recording with all the details of
    this conversation, fntimidatinn. deceotiop and fraud.

    46^ November 08. 2018: The Plaintiff sent via email to Kevin Knipfing all the evidence that
    supports her complaint Text Messages. Recordings with witnesses Report 1 and Report 2. See
    Exhibit 24 Page 115.

    47)November09.2018:In good faith the Plaintiffreported via email to Kevin Knipfing and Skvlar
    Testa more hours than she reported in the Timesheet and she will waited for their instructions to
    retum the money that did not belong to her. The Plaintiff holds recording, email and timesheet

    were where it appears "sick davs".this evidence will be presented also at the Work Compensation
    Hearing on October 28.2020 as evidence ofPERJURY to the detriment ofJustice. See Exhibit 32
    Page 139.

    48) November 11. 2018: Skvlar Testa. House Manager, bv order of Kevin KniplBng. texted Ms,
    Orrego to meet with Investigators in a Starbucks Coffee location in Rego Park. New York, the
    next day and she was ordered to return to her home and wait for them to contact her to indicate

    how the process will continue. The Plaintiff holds the text message.

    49) November 12. 2018: The Plaintiff met with the investigators named Tefta and Irma. Ms.
    Orrego reported Rebeca Uzcategui had been asking her to meet for a while to discuss the problems
    thev had with Teresa A.Zantua. The Investigators told the Plaintiff mavbe Rebeca Uzcategui also

    recorded the meeting and onlv report what was convenient for Ms. Uzcategui.
    The Plaintiff reported the Investigators that she did not want anv problems or that Rebeca
    Uzcategui will include her in the lawsuit against their employers. Ms.Orrego onlv wanted
    everything to be solved in the best wav as she indicated to her employer Kevin Knipfing.
    When the Plaintiff met with the Investigators was not phvsicallv or emotionally well,especially
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    E.      The facts of my case are as follows.AttachmentIIIcontinuation

    for the way she was treated bv her employer Stephanieanna James-Kniofing. after receiving her

    complaint The Plaintiff was very stunned and the Investigators asked if hurt her and Ms. Orrego
    answered "YES" because she only wanted well-being at work.

    The Investigators tellinp the Plaintiiffshe was a good person and Ms Uzcateeui was a bad person,
    and if Ms. Uzcateeui call her. *T)on't answer the call or the Plaintiff would have serious troubles"

    because Ms. Uzcateeui was olaving and piatiipiilatine everything against Ms. Oixego.

    The Investigators asked the Plaintiff if she ever saw the Complaint that Rebeca Uzcateeui wrote,
    her notes or videos. Ms. Orrego reported she never saw anv of that evidence, but that Ms.
    Uzcateeui told her about it all the time and threatens Teresa A. Zantua as in the recording on

    October 14.2018.

    The Plaintiff was also confused when The Investigators asked her ifshe would continue working

    with Rebeca Uzcateeui when Kevin Knipfinp told the PlaintifF that he would call her to find out
    who was stay or leave. Nothing made sense, but the Plaintiff hoped that with the evidence
    evervthinp would become clear. The Plaintiff has a recording ofthis meeting.

    Later, the Plaintiff thought the Investigators in deceptive wav avoided talk about discrimination
    and abuse thev focused more on the issues between her and Rebeca Uzcategui. Also, it was very

    strange that the Investigators had reached conclusions without seeing anv evidence.

    This was the only time the Plaintiff spoked with the Investigators, thev never called her again to
    check all the documentation or the recordings nr talked to the witness.

    Kevin Knipfing and Stenhanieaima James-Knipfing used private investigators to cover the
    complaint of discritnination and ohvsical assault and others abuses in addition to intimidating the

    PlaintifF.

    50^ November 14.2018: Messages from Skvlar Testa requesting the Plaintiff's Diarv.The PlaintifF
    holds text message.

    51) November 15. 2018: November 16. 2018: The PlaintifF emailed to Kevin Knipfinp^ the
    evidence.Reports 3 to 7 with Pictures. Videos. Voice Messages.Diarv with dates and times where
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    E.     The facts of my case are as follows. AttachmentHIconUnuaHon

    all acts of discrimination and abuses where thev can be corroborated with the recordings of the

    cameras of the Knipfinp's house to check the complaint and nothing was false. See Exhibit 24
    Page 117.

    52'> November 24. 2018: When the investigation was still in progress. Stephanieanna James-
    Knipfing texted to the Plaintiffa picture(meme)with the following: "Inasmuch as vou prav with
    all vour soul for the one who has slandered voil so much will God reveal the truth to them who

    have believed the SLANDER*'. The plaintiff, very distressed without knowing what it was, only

    replied "Amen" after two davs ofreceiving that text message. See Exhibit 31 Page 138.

    53) November 26. 2018: The Plaintiff texted to Kevin Knipfing. noting that a person named
    Teague Rvan wants to access the document she sent him via email for the investigation and ifshe

    must authorize. Kevin fCnipfing replies **Yes** and she authorizes access. Skvlar Testa also replied
    to Ms. Orrego that Rvan Teague is one the investigator's team. The Plaintiff holds text messages.


    Ms. Orrego thought that the investigatioii had not vet been completed because it was the first time
    that the investigators were opening the emails she sent to Kevin ICnipfinp;.

    54) November 27. 2018: The plaintitf received the Termination Letter and she realized that
    Stephanieanna James- Knipfing was callitiff Her"SLANDER"even though she presented all the
    evidence supporting her complaiiit. Intentional Infliction Hmotional Distress by the Employer.

    Kevin Knipfing from New York gave the order to Steve Savitskv, his business manager in

    California to manufacture the Termination Letter dated November 27.2018 under the name ofthe
    imlmnwn Kntitv Westburv LLC,company not registered in New York State or California. Steve
    Savitskv signed the letter as "Business Manager. Old Westburv LLC".Steve Savitskv never in the
    past had contacted or knew ofthe Plaintiff.(See Exhibit 3 Page 48).

    Steve Savitskv actively participated in retaliation and discrimination against Ms.Orrego producing
    a termination letter containing false allegations. The letter was issued bv the Old Westburv

    Company LLC with address: 2049 Century Park East Suite 1400.Los Angeles. CA 90067(See
    Exhibit 3 Page 48) but The Plaintiff received her payroll checks from Kevin and Stephanieanna
    Knipfinp. with address: 2049 Century Park East. Suite 1400.Los Angeles. CA 90067(See Exhibit
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                                                                                                   38


    E.       The facts of my case are as follows.AttachmentIIIcontinuation

    15 Page 97). The Hiscrepancv is to intentionally evade responsibility bv the employers from the

    Plaintiffs complaints ofdiscrimination, physical assault and other abuses.

    The Termination T^er States the following :"Old Westburv LLC" is ending vour employment
    effective immediately, this decision is based on several factors, including but not limited to this
    is FALSE because The Plaintiff has never received all         time she worked for her employers
    any written warnings or nerfonnance reviews related to the content ofthe Termination Letter and
    the reviews that she received from Stenhanieanna James- Kninfing via text messages from
    February 7.2018 to November 1.2018 describe the Plaintiffas "Fantastic" or"Hard Worker". The
    Plaintiff holds plenty messages. See Exhibit 25 Page 127.

    The Termination Letter stated that the Plaintiff /)"Breach YOUR NDA but in the two documents
    TWO-Page NDA and SEVEN-Page NDA(questionable/fraudulent)the Company Old Westburv
    T J.C TEntitv Inexistent in NYl is not listed as Employer. See Exhibit 12 Page 85: Exhibit 13 Page
    87: Exhibit 14 Page 89.

    Continuing with the Termination T.etter. the Plaintiff was being Terminate for 2) "Breach vour
    NDA""a- Recording a conversation with Rebeca Uzcatesui in the presence ofa member ofthe
    public    but the recording was intended to demonstrate the Plaintiffs complaint was not shared
    with a third nartv or disclosed. The recording was submit to Kevin Kninfing for "Investigation"
    see Exhibit 24 Page 115.


    Also.Rebeca Uzcategui disclosed information confidential about the Kninfing's Family in a public
    place and in the presence ofa third party,but the **Breach her NDA** was not applied to her as they
    did to the Plaintiff because she threatened to sue Kevin Kninfing and Stenhanieanna James-
    Knipfinp and thev keen or retain Rebeca Uzcategui. also Hispanic, only to cover their
    discrimination and abuses. The Plaintiffholds the recording dated on November 14.2018.

    The Plaintiff was terminated 2)"Breach vour NDA""6- Taking recordings and photoeraphs ofthe
    Knifins's House    the pictures refers in the Termination Letter belong to the photographs ofthe
    candies sent to Kevin Knipfinp hv email dated November 15.2018 that the Plaintiffcollected since
    April 2018 that prove the abuse against the ^rl S.S.K. was affecting her health where Rebeca
    Uzcategui and Teresa A.Zantua hlamed each other. See Exhibit 24Page 118.
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    E.     The facts of my case are as foUows.AttachmentIIIcontinuation

    The recordings was evidence about the Plaintiff *s Complaint was real, with the purpose of
    submitting to Kevin Kniofing these recordinps were never disclosed to third parties. In addition.
    Rebeca Uzcateeui also confinns that she also has recordings according to her statement dated
    October 14.2018 emailed to Kevin Knipfinp November 08.2018.See Exhibit 24 Page 115.

    The Plaintiff hnlHs plenty (600) pictures and videos taken with the authorization of her former
    employers, as part of her iob in the presence of her co-woikers and other witnesses as well as
    several pases of text messages and emails (See Fxhihit 21 Page 104: Exhibit 32 Page 1391. The
    Plaintiffhas texted and sent pictures and videos as their requests to her employers and supervisor
    since February 15.2018. All other employees also take pictures inside the Knipfinp*s House and
    publish on social platforms until today and they were never fired according to "Breach Their
    NDA".The PlaintifFhas all the evidence pictures, videos and text messages that supports this fact
    (See Exhibit 24 Page 1151.

    rnntiniiitiff with the Termination Letter, tb^ Plaintiff was terminated hv **2- Your Statement that

    vou were unwilling to continue working with Rebeca Uzcateeui" but according to the recording
    dated November 12.2018 was the Investigators who expressed in a very bad way against Rebeca
    Uzcateeui like was a"bad person""a olaver" so how could thev ask ifthe Plaintiff''would continue
    workinp with Ms. Uzcateeui?** Also. Kevin Knipfine on the recordine dated November 6. 2018
    stated only one will stay at work. The Plaintiff holds the recordine.

    The Letter nfTermination continued "Our conclusion that vou made statements in vour complaint
    that vou know to he false" but accordine to all the evidence presented bv the Plaintiff"Evervthine
    was TRUE".

    Another point noted bv the Termination Letter "fcwr payment of wa^es through today's date
    (November 27. 2018)will be paid on the regular payroll date and offset bv the nineteen (19)hours

    vou reported were paid incorrectlv" indeed, on November 9.2018 the Plaintiffreported in good
    faith to Kevin Knipfing and Skvlar Testa. who paid her more hours than the Plaintiffsubmitted in
    her email and Timesheet dated November 5.2018 to "cstan@savco.eom" belonging to Charles

    Stanislaus who processing payments(Payroll Company^ and the Plaintiff wanted return them the
    money but Kevin Knipfinp or Skvlar Testa never reply. The Plaintiff holds emails and timesheets
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    E.      The facts of my case are as follows.AttachmentIIIcontinuation

    The Plaintiffin late June 2020 was able to establish that this payment constituted "Severance Pay"
    and Ms.Orrego had been terminated even before submitting her evidence dated November 8.2018
    and interviewing investigators dated November 12.2018. See Exhibit 32 Page 139.

    The Termination Letter ends with ''You have Health insurance throush United Healthcare and

    the termination of vour health insurance is November 30. 2018. You are eligible for Cobra

    Continuation Coverage and vou will be contacted bv the carrier directly." Kevin Knipfing.
    Stenhanieatina Tfltnes-K^nipfing and Steve Savitskv discriminated and retaliated against the
    plaintiff bv immediately canceling her medical plan, denying the plaintiff work compensation
    benefits and COBRA benefits while unemployed and the cairier never contacted to Plaintiff. A
    Brazilian (speaks Portuguese^ co-worker Cristina Coimbra received the health benefits were
    denied to the Plaintiff to treat injuries she contracted on the iob. As evidence the PlaintifF holds

    text messages the dates ofthe injuries as well as recording. See Exhibit 23 Page 114.

    The termination Letter was Illegal because it came fi'om an unknown entity who was not the

    Plaintiffs employer. The allegations for the tenninatinn were false with the intent to intimidate
    and force Ms. Orrego to abandon her place ofemployment.

    Kevin Knipfing and Stenhanieanna James- Knipfing never called the Plaintiff to discuss the
    outcome of the investigation as Kevin Kninfing had promised according to the recording on
    November 06.2018.also never offer the PlaintiflFa copv ofthe'*Investigation Report**.

    551 November 29. 2018: Since the Carrier didn't contact with the Plaintiff, she called and The

    Health Insurance confirmed that emnlovers didn't snhniit the aoplication for COBRA so the

    Plaintiff can*t be covered hy itiRiiranee and be able to treat her injuries. The PlaintifF holds the
    letter and record.

    561 December 18.2018: Kevin Knipfing and Stephanieanna James- Knipfinp refiised to provide
    references so the plaintiff could get another iob ruining her opportunities and affecting her
    reputation. The Plaintiff has record.                                                             .
    571 Januarv 14.2019: The Agencv*s Owner confirms to the Plaintiffin her office at 3:40 pm that
    Skvlar Testa never answered the message. On that same date the PlaintifPs was applvine a iob in
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    E.         The facts of my case arc as foUows.Attachmentin continuation

    other Agency without Kevin Knipfin^ and Stephanieaima James- Knipfing's reference, the
    Plaintiff was unable to continue the selection process. This damaged the Plaintiffs reputation for
    Innldnp for a better job and being able to get health insurance to treat her injuries. The Plaintiff
    has record.


    581 March 02. 2019: After filing the charges with the EEOC through the lawyer, the Plaintiff
    received a texted Groun Text from Father Chabel which startled the Plaintiff. The message was
    addressed to the employer reporting that all the staff were at the house. Evidence as text message.

    591 June 13. 2020: The Plaintiff had a breaking point and took her first step to seek help and to
    treat her emotional distress illness. She contacted the Vibrant Emotional Health nroeiam. The

    Plaintiffhas record.

    601 August 26. 2019: Cristina Coimbra. the housekeeper, posted in her profile on Facebook a
    photograph inside the Knipfmg*s house in the room TV in the kitchen area. In this room took place
    the last physical assault and there are cameras. But Kevin Knipj5ng and Stephanieanna James-
    Knipfinp don't applied "Breach Her NDA" and allow her take photographs to post on Facebook.
    Exhibit 22Page 107.

    611 September 03.2019: After 8 months the misleading committed by her lawyer Mr. Alexander
    Cabeceiras see Exhibit6Page 57.the PlaintifFfiled the complaint with the WCB.As ofSeptember

    9. 2019. The Firm Pastemack Tilker Ziegler Walsh Stanton & Romano LLP be^an their
    representation and litigating Ms.Oirego's case. The PlaintifFholds complaipt emails,contract and
    letters.

    621 October 4. 2019: The Work Compensation Board's Inspector showed up at the Knipfin^'s
    house but the guard informed him that no one was in the house, which is very unusual hftranse the.

    house never runs out ofa person in charge especially on a working day. Also,called twice and left
    a voice message to Stephanieanna James- Kninfing the number(31015692458 belonging to Kevin
    Knipfjpg who never called back,for that reason the Inspector was unable to check the house and

    cameras. Record WCB File.

    631 October 16.2019: Another photographs on Facebook takin^y inside in the Knipfin^'s house for
    the 50 years ofCristina roimhra and Rebeca Uzcategui congratulates her in the post.The employer
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    E.     The facts of my case are as foUows.Attachmentin continuation

    don*t applied the "Breach Her NDA"see Exhibit 22 Page 107.

    64^ November 5. 2019: Kevin Knipfing and Stephanieanna Jaroes-Ktiipfing discriminated and
    retaliated apainst the Plaintiff bv denying her claim filed with the Work Compensation Board
    rWCBI even though according to the NOTICE OF DECISION.Judge Barrv Greenberg. Case No.
    Case #G258 4330 states: "I find prima facie medical evidence for the neck back right wrist both
    Icnees and maior depressive disorder**. The Plaintiff has the medical records and forms signed bv
    six(6)doctors from different specialties. See Exhibit 9 Page 79.


    651 March 19. 2020: Steve Savitskv cominitted PERJURY Under Section 210 ofthe New York
    Penal Code,when he testified in the Work Comoensatioii Case Hearing and stated under oath that

    the Plaintiffdid not suffer anv injuries on the iob. On November 2.2018 the Plaintiffemailed and
    texted Stephanieanna Tames-Knipfinpr and Skvlar Testa a leouest for a sick day. November 5»
    2018. for X ravs attaching to this note a letter of Complaint and Medical Certificate on the
    plaintifiT iniuries and other complaints. See Exhibit 1 Page 45: Exhibit 26 Page 128: Exhibit 28
    Page 133.

    There are also text messages from Rebeca Uzcategui and Cristina Coimbia. the Plaintiff's co-
    workers. who confirm thev were aware the Plaintiff she went to the doctor on November 2.2018

    because Stephanieanna Tames-KniDfing informed them. The Plaintiff holds the recording the last

    physical assault as evidence her iniuries. copy of mails, text messages and medical records. See
    Exhibit 29 Page 134: Exhibit 30 Page 136: Exhibit 32 Page 139.

    Also,in the WCB*s hearing on this date. Mr. Savitskv who lives in California- misstated that he
    saw the Plaintiffonce but could not set a date. The Plaintiffand Mr. Savitskv never met.

    661 April 5.2020: The Plaintiff! based on her medical results since January 2019. confirm that she

    contracted Primary Ovarian InsufSciencv(POD Disease as a consequence ofchronic stress(Maior
    Depressive Disorder. Pain Disorder and Post Traumatic Stress - PTSD1 anxiety and depression.
    The Plaintiff is at greater risk for several health conditions problems, this disease has terrible

    consequences and there is no treatment The Plaintiff holds medical records.
    671 May 28.2020: The Plaintiffcould no longer contain sn much anguish and siifiFering. she

    decided to report all that abuse and mistreatment to Child Protection Services. Due to Post
    Traumatic Stress she didn't remember plenty of details until now proceeding to declare and gave
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                                                                                                       43


    E.      The facts of my case are as follows. AttachmentHIcontinuation

    the evidence to the CPS Social Woricer. The Plaintiff asked her fonner lawyer bv email about
    reporting the abuses who never was give her a Legal Advice correctly and the answer was a
    TTiisleadinp explanation via email. See Exhibit 10 Page 81: Exhibit 11 Page 84.

    68"^ June 11. 2020: The PlaintijGf received the information she mav have been exposed to federal
    charges because she is "Mandatory Reporter. For this reason. Ms. Orrego sent to Social Worker a
    list ofall attorneys because thev not at all gave her any legal advice or encouraged her to the report

    the Child Abuse. See Exhibit 10 Page 81: Exhibit 11 Page 84.

    The Plaintiffbefore this date discharged these attorneys for misleading and misconduct in handling
    her case and filed the complaints and sued them in Court. Also. Ms. Orrego filed a second

    complaint in the Grievance Committee for this discovery about the CPS Report. See Exhibit 6
    Page 57. The Plaintiffdidn't receive a reply from anv ofthe attorneys about their misleadins and
    misconduct.

    691 June 16. 2020: The Plaintiff received a call from the Social Woricer of Child Protection

    Services informing her that she would be in contact with her former employers.

    701 June 23. 2020: Teresa A. Zantiia comtnitted PERJURY Under Section 210 ofthe New York

    Penal Code, when she testified in the Work Compensation Case Hearing under oath that she was

    not the PlaintifFs Supervisor and she never gave her orders. The PlaintifFs evidence shows text

    messages from Teresa A. Zantua giving her orders, requesting information, setting-up work
    schedules and activities, updating work schedules, etc. This evidence was also suhmitted to the
    Judge ofthe Work Compensation Case for the next Hearing on October 28.2020.

    Teresa A.Zantua misstated under oath that the Plaintiff did not suffer anv iniuries on the job, or

    the PlaintilT not reported about her iniuries. The Plaintiff hold the recording where Teresa A.

    Zantua was present in the last physical assault when the Plaintiffasked her for pain killers to relieve
    her from her physical discomfort and pain. The recording dated October 23. 2018 was also
    submitted to the Judge ofthe Work Compensation Case for Hearing on March 19.2020.

    Skvlar Testa fflouse Manager! committed PERJURY Under Section 210 ofthe New York Penal

    Code, when he testified in the Work Compensation Case Hearing under oath that He was The
    PlaintifiPs supervisor and she only worked 40 hours when she worked up to 70-88 hours according
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                                                                                                    44


    E.     The facts of my case are as foUows.Attachment niconHnuaiion

    to checks and Timesheets. but Skvlar Testa never knew the work hours because he was not the
    PlaintifPs supervisor. The work hours were emailed to Charles Stanislaus and Sam Santiago who
    work at the Company Payroll. Furthermore. Skvlar Testa stated,the PlaintijGFnever needed anyone
    to give her orders or directions and this is inaccurate.


    Skvlar Testa stated under oath the Plaintifif didn*t ask for pennission or went to the Doctor for
    consultation, but the Plaintilffhas text messages and emails about pennission to go to tiie Doctor's
    office on November 2.2018 and the Plaintiffsent the Medical Certificate bv email. There are also
    text messages from Rebeca Uzcateeui and Cristina Coimbra who confirmed thev were notified

    Ms. Orreeo went to the Doctor's office. See Exhibit 28 Page 133:Exhibit 29Page 134: Exhibit 30
    Pa^e 136: Exhibit 32 Pace 139.

    There was no report directlv to Teresa A.Zantua because that same dav the Ms. Orrego sent the
    complaint for discrimination and abuse afyainst her on November 2. 2018 before going to the
    doctor. This evidence will be presented at the Work Compensation Hearing on October 28.2020
    as evidence ofPERJURY. See Exhibit 1 Page 45: Exhibit 26 Page 128: Exhibit 28 Pace 133.

    The Plaintiffholds the Hearines's recording.

    Periurv is onlv one more example there are no limits to discrimination and retaliation bv Kevin
    Knipfing.Stephanieanna James- Knipfing.Steve Savitskv and Teresa A.Zantua in comnlicitv with
    others workers against the Plaintiff giving false testimonv with the intention to mislead the Coiut.
    resulting in miscarriages ofJustice.

    All the Exhibits attached to this Complaint represent onlv a small portion of all the evidence
    collected bv the Plaintifffrom Januarv 2018 to Julv 2020 such as: Pictures, videos, text messages,

    diarv. etc under The Emplovers and Supervisor knowledge and authorization. In addition the
    evidence to support her case such as: diarv. notes, recordinps. emails,financial documents, direct
    deposits. Government documents and letters, complaints,reports,forms and medicals records.

                   Date ofsigning: August       ,20lO

                   Signature ofPlaintiff
                   Printed Name of Plaintiff
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11/2/2018                                                      Gmail - MY SITUATION A WORK FOR 8 MONTHS                                                    45


            Gmail                                               Exhibit 1                                               Udia Orrego <Ilorrego@ginail.coni>
  MY SITUATION A WORK FOR 8 MONTHS
 1 mensaje

 Udia OfTego <[forrego@gmaD.oom>                                                                                               2 de novlembre da 2018,12:25
 Para: Steffiana Knipfing 1^ <stBfMeiacnjz@gmatl.com>
 Cc: Skylar Testa <skylaitesta@gmail.com>


   Good afternoon,
            1 am writing to you and to Skylar as house manager,about matters as i previously did on several occasions for different reasons and which I
   will expose In this email.. I apologize for any mistakes I may have.
           I am writing to you this letter because I have not had the opportunity to speak or explain personally to you because of all the restrictions I
   have to communicate with you Mrs Steffiana because all instructions I receive are through other persons which is affecting my performance as nanny
   about situations that affects the care of his daughter ^■■1.
           On October 14, i met with Rebeca to talk about everything that was happening in the house because she does not allow me to perform my
   job because she was always v/as giving me instruccionts or ways to do my job in wich i do experience,those days on her way out when i was taking
   my shift Ms. Rebeca was permanently creating situations to make SHicried because I think she feit jealous because a day before S^li wave her
   hands goodbye happy and telling her to leavj^o iwanttoaskhertoletmedealwithSMB|3"<'b'^P haiassingme regarding SflB care
   because i do know how to handle sweet SHBt the same time I want to discuss the mistreatment of words and discrimination of which i am
   frequently a victim of your sister Taz (Teresa) even in my days off when I am initially I sought was kind off funy sending me with racist jokes but It was
   going everyday day worse when it came up to the Insults and humiliations in front of strange people and your children, allowing your son
   sometimes comes to push me and humiliates me because of my Hispanic status o the way I do pronounce thewonds, some times mocking me in the
   car and sometimes even in public places calling stupid mexican and forbidding me to speak in Spanish with S||Hwich a prefer to do because it is a
   language that we both nannys speak. It is more the last week in the kitchen KflHViits me wiffi all his strength on my back twice wich cause pain
   until this day ,that happens in front o Miss Tass and she was laughing and minimizing the situation.
             In the opportunity that I meet with Rebecca I was with another person at the Dinner Old Westbury,she start the conversations telling me
   that she wants me to help me and promise solve the problem with your sister Taz and the discrimination issues we suffer both because she Is in
   control of all of you because you and your husband are afraid of a lawsuit she can do against you, because she has it has been documented with
   notes and recordings plus she has ail the names of other affected people who were teachers, one of them even got a restraining order against Ms Taz
   , that according to Rebecca Mr. Kevin has no knowledge about that She also mentioned me aout the testimony of a person named Gaby who never
   look for legal assistance because she was illegally working for you,she said that Gaby twice spoked with you Mrs St^ana regardind the
   discrimination and harassment matters she have ^m your sister Ms. Taz ibut that you never did anything about it
            On that occasion, Rebeca, always in the presence of the third person, speaks openly of the situations that concern the fomily of Mr. Kevin
   and Mrs. Steffiana, which I will detail here:

             1- First of all, she says that Mr. Kevin and you Mrs. Stefiana do not want to be with SflMpor a second or nothing to do with her,and she
   told me that's why SH||||'^ always very attached to us because she has no love and afecttion from her parents and that she will protect her from
   the bad influence of laz^
            2- That K|HH also treats her very bad her under the influence of Taz.
            3- That Taz once treat very very bad yours daughters^^^|and SH in front of you and Professor Shannon and that you did nothing to
   defend your kids from her and why she is worry about S|||||||||Derause you will not protec her.
            4- That you will never do anythinging about the discriminations matters and for that reason she has a note prepared to let Mr. Kevin know
   what is going on in the house because he is the boss and not you Mrs Steffiana, because talking to you is a waste of time and she is not interested in
   discussing tha matter with you./^ally 1 or 2 days ago in the playroom Ms. Rebecca told me that any moment she will give the letter to Mr. Kevin
   to help us.
            These are more important points that she mentioned at that time asking me to join her collecting evidence for a lawsuit between all affected
   people teachers and nannys including Gaby to go against your husband in this discrimination situation created by your sister Ms Taz. That day in the
   dinner me met we met for an hour and a half or soAlso mention that Gaby situation was very different because she was illegal but both of us not
   because we do have documents to works here in this country.
          From that date on, she mentions that she was going to speak with Mr. Kevin and that she was going to call me to give my testimony and
   corroborate what she says in that letter and the evidence she has endure an employment discrimination and harassment
            I let you know that I feel at this time devastated by everything that happened these days, because i work with such care and dedication
   sometimes r^essly always accommodating all the needs of the family with professionalism, often worried about SBH^r the excessive
   consumption of sweets,S|H|is very smart and at night In Ms. Rebecra's room she shows me where is the sweets telling me not to tell her dad
   about it because is a secret, couple of time I did let Skylar knows about the situations and he told me that you Mrs. Steffiana are full knowledge also
   Taz told me the same,this day Ms Rebecca where telling I can give to her 1 or 2 candies wich I do not agree with it because SfUMdepends of it all
   the time and her behavior also changes when I tell her she have enough sweets during the day.
            Even S^^Hshows me the sweets that she eats since 9 in the morning when she goes to school and in front of Ms. Rebeca, which Ms
   Rebecca tells me that Taz always gives them to smiin one opportunity Ms Rebecca told S^M that if she brush ther teeth she gjves her a bubble
   gum as a reward wich I don't agree with that pracora.Ms Rebecca also uses keywords In Spanish about the way she promess the candies to S|Hi
   so nobody will understand.
            One opportunity happening at noon,                  innocence came to me and shows me a bubble gum that Ms. Rebecca gave her at the
   moment Ms Rebecca shook sjWBvery hard yelling "NO" pushing her immediately into her bedroom and slammed the door on my fiace, Ms.
   Rebecca was furious with SlHI it got me very concern and worried because SHl|can be hurt ibecause she wass shook in such hard wayil This
   episode I communicate immeolately to Skylar because those days you restricted me to go to your room even to exchange a word with you Mrs

https7/mail.google.com/mail/u/0?ik=9e8fe57240&vi8w=pt&search=aIi&permthid=thread-a%3Ar7404013763705693053&slmpl=msg-a%3/^-197463654...                          1/2
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11/2/2018                                                    Gmail-MY SITUATION A WORK FOR 8 MONTHS                                                 45
    Steffiana and that happens around the time I asked you If I can have few words because I did not want to be responsible if something happens to

           These are some ofthe situations that for all this time I have been coping with and wonder what's happening in these days starting with your
   claim thatfor the first time 8 months that I was helping in housekeeping 1 have never mentioned the inconvenience that It caused the cleaning ofthe
   masterbedroom,that I have to clean your bedroom In 45 minutes that was something completely new and unexpected for me beside that I told Ms.
   Cristina few times that I really fell bad going into your bedroom to do cleaning without explainig to her of my real feeling the truth is that im very
   uncomfortable being In your room because of the way you treat me o look at me makes me feel miserable and uncomfortable and is a very stressful
   situation when I wasthere to clean and not to do other things and the other day when you Mrs Steffiana saw me texting that was a text for Ms
   Cristina to ask for a water bottle and Mrs Cristina mention it the phone usage,the phone i used when is need it as everybody in the house do to
   communicate,also I have a daughter and a sick mother that im responsible for and if they call I need to take the call wich rarely happens.
           After that, now my hours have change unexpecteiy, which doesn't allow me to do the hours I was promised thu the agency wit,wich it was
    guarantee when you Mrs.Steffiana hired me and it was 32 hours with the possibility of more hours to work even if they will not need or traveling
   traveling, now i dont know whatto expect because i receive instructions about the hours o days i have to work from Ms Rebecca because she told
   me that nov 6she will work my hours taking SHHto a birthday party and i think is not right and i expectto be paid what wasin the agreement you
   text me when the paper works to hire me was almost finished.
           And the last thing that happens is that you give special instruction(not me)no to have the wallet wich is fine but it is very strange if you have
   a doubt of me missusing or stealing your money please let me know because there is zero possibility for that to happens and Ms Recca told me not
   to take personally but I do take it in that way because I will never touch one penny of other people money or used for my benefit and I feel very very
   disappointed that all that is being tails on my back and the explanations Ms Rebeca tried to make me doesn't make sense at all.
            Ail this situations affects In ail the way me a lot of not knowing what Is happening and why.
            Mrs.Steffiana, I am an honest person who brings bread home every day with honest work without ever offending anyone,without abuse,
   insults or humiliation, neither I never gout of your house and talk about private things that happens in your house that is why I felt so surprise when
    Ms Rebecca start talk about you and your husband In front a third person in a public place saying your and your husband name very comfortable
   knowing that you both are know by the press and could generate I a very negative publications.
            As I told you Mrs Stefianna previously I pray so much for this to improve but not so sadly is getting every day worse,the harassment,
    humiliation and discrimination and harassment makes and unhealthy environment but going thru all this situations I have never missed a day of
    work because I need to bring food to my house,lots of time I work without taking even a break and everybody see that in the house,when I need a
    permission to be late always I was letting you know In advance by text
            All this that I write in this letter every word,EVERYTHING,is supported by evidence,documents and witnesses, which are irrefutable,for
    which I am fully responsible.
          If telling the truth is a reason to be fired vriil be not correct but I cant be quiet anymore and I don't like people to gossip on my back trying to
   ruin me in myjobs or my conduct at work less much to have issues over money,now writting this e mail trying to adress tiiis issues in the right way,
    because what I will not allow to continue talking behind my back with complaints and comments wthoutfondaments that surely will harm my go^
   name.




          Today again I will go to the doctor i dont feel well and will ask him a report to send you ,i will like to take for the firts time my sick days for
   today and tomorrow,reincorporating me again on Tuesday, November6 at 4pm.
           This letter is long I understand, but it is months of accumulation and it explaining all the situations i was going thru and i apologize for it.


            Any change that is made and affects me,please let me know as soon as possible.


           Regards,


           Udia Orrego




https://mail.google.com/mall/u/0?ik=9e8fe57240&view=pt&search-ail&permthld=thread-a%3Ar7404013763705693053&8lmpl=msg-a%3Ar-197463654... 2/2
    Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 48 of 145 PageID #: 363

7/14/2020                                              Gmatl-MY SITUATION A WORK FOR 8 MONTHS




  M Gmail                                               Exhibit 2 Lidia Orrego <iiorrego@gmail.com>
  MY SITUATION A WORK FOR 8 MONTHS

  Lidia Orrego <liorrego@gmail.com>                                                                      2de noviembre de 2018,19:28
  Para: Steffiana Knipfing i^ <steffdelacmz@gmail.com>
  Cc: Skylar Testa <skylartesta@gmail.com>


    Good evening this Is the doctor note and just to make dear I don't have any rough week at home just the normal routine.
    Thank you and have ai very nice weekend. Blessings^j^
    [Fl texto v:ilado esta oculto]



            CERTlFiCATE.pdf
          201K




https://mail.googIe.cofn/mail/u/D?llc=9e8fe57240&vi8W=pt&search=aI!&pennmsg!d=:msg-a%3ArS8824051359565g0202&simpl=msg-a%3Ar588240513...   1/1
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 49 of 145 PageID #: 364

                                                                                             48
                                   Exhibit 3
                                    OLD WESTBURY,LLC
                              c/o Savitsky Satin Bacon & Bucci
                             2049 Century Park East, Suite 1400
                                    Los Angeles, CA 90067


    November 27,2018

    VIA CERTIFIED iMAiL & VIA EMAIL

    Lidia M. Orrego
    95-08 Queens Boulevard. Apt 3E
    Rego Park, NY 11374

    Ms. Lidia Orrego,

   Did Westbury, LLC^is ending your employment effective immediately. This decision is
    based on several factors, including but not limited to:

       1. Breach of your Non-Disclosure Agreement,such as;

               a. Recording a conversation with Rebeca Uzcategui in the presence of a
                     member of the public, and

               b. Taking recordings and photographs of the Knipfing's home.

       2. Your statement that you were unwilling to continue working with Rebeca
          Uzcategui.

       3. Our conclusion that you made statements in your complaint that you know to be
            false.

    Your payment of wages through today's date (November 27, 2018) will be paid on the
    regular payroll date and offset by the nineteen (19) hours you reported were paid
    incorrectly.

    You have health insurance through United Healthcare and the termination of your health
    insurance is November 30, 2018. You are eligible for COBRA Continuation Coverage
    and you will be contacted by the carrier directly.

    Regard:




     business Managei( Old Westbury, LLC

    SS/ew
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                                                                                                                                                                              49

EEOCFatmS(11/OS)
                                                                   Exhibit 4
                      Charge of Discrimination                                                          Charge Presented To:             Agency(ies) Charge No(s):
             Thisform is affected by the Privacy Act of 1974. See endosed Privacy Act
                     Statement and other infbrmation before compiettng thisform.
                                                                                                              □fepa

                                                                                                                                                             and EEOC
                                                                            StalB or local Agency, if any
Name OnOcate Mr.. Ms.. Mrs.)                                                                                        Home Phorte (Ina Area Code)              Date of Birth


Ms. Lidia Orrego
Street Address                                                                   City, State and ZIP Code

95-08 Queens Blvd, Apt 3E                                                          Rego Park, New York 11374
Mamed ts the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, trst under PARTICULARS below.)
                                                                                                                    No. Employees. Members       Phone No. (Include Area Code)

OLD WESTBURY LLC                                                                                                           15+                   I/A
street Address                                                                   City, State and ZIP Code
                 P Sf>C\\n^ U:II                                               Old h/e,i-Hx,.                                       /1
                                                                                                                    No. Employees. Members       Phone N o. (Indude Area Corto)

    ,D WESTBURY EDDIE. LLC
             »
Street Address                                     j>                            City, State and ZIP Code .                    >             t t C* /"
             P                            //r//                               Olrl                                       A/^             // J 6 ^
DISCRIMINATION BASED ON (i             appropriate l>ox(es).)                                                             DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                    Earliest                     Latest

   \ X {race          I [color oEX           ELIGION [x>                                        lATIONAL ORIGIN                     2018                        2019
                 ETALIATION 13GE 3 ISABILITY        3ENETIC                                         INFORMATION

                 I     |OTHER (Specify)                                                                                             [x>IONTINUING ACTION
THE PARTICULARS ARE (tf addtSond paper is needed, attach extra sheet(s)):



   ♦♦♦SEE ATTACHED CHARGE^^^




 want this charge filed with Irath ttie EEOC and the State or local Agency, if any. I wit!     NOTARY-When ne                Staitejr^Jkdcal Agency Requuements
advise the agencies if I change my address or phone number and I will cooperate ftrdy
with them in ttie processing of my charge in accordance with their procedures
                                                                                                swear or affirm th^l haw read the above charge and that it is true to the
 declare under penalty of peijury that ttie above is true and correct.                         tiest of my knowlpdge, informaflbn and iieiief.
                                                                                               SIGNATURE Q^doMPLAINANTV-xj|                    ( '\f

                                                                                              SUBSCRIBED AND SWORN TO
                                                                                              [month, day. yei
                                                                                                            ew)                                  lltfilBERO
                                                                                                                             Notary PttbKc - Stttt of Ntw York
             Data                                 Chargmg Party Signature                                     M                      NosOaHonisiro
                                                                                                                               QoallBad in Now Yerti Covinty
                                                                                                                             My Commlitldft fclWfW
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 51 of 145 PageID #: 366


                                                                                                         50


                      OBDEREK smith
                                   LAW GROUP, PLLO
                                   Employment Lawyers Representing Employees Exclusively



    January 31,2019


    Via Fax (2121336-3790 & Certified Mail/Return Receipt
    Equal Employment Opportunity Commission
    33 Whitehall Street, 5^ Floor
    New York,NY 10004



                                         CHARGE

    Re:    Our Client            :       LIDIA M.ORREGO
           Nature of Complaint:          RACE DISCRIMINATION,NATIONAL ORIGIN
                                         DISCRIMINATION,HOSTILE WORK
                                         ENVIORNMENT,RETALIATION

                                                                  Claimant,

                                                 -against-

                                         OLD WESTBURY,LLC,OLD WESTBUR'
                                         EDDIE,LLC,KEVIN and STEPHANIEANNA |
                                         KNIPFING


                                                                  Respondents.

    Dear Sir or Madam:

           The following is a charge of discrimination based on race, national origin, and retaliation
   that this office is filing on behalf of LIDIA ORREGO against all ofthe above Respondents OLD
   WESTBURY, LLC, OLD WESTBURY EDDIE, LLC, KEVIN and STEPHANIEANNA
   KNIPFING ("Respondents").

   Ms. ORREGO's address and telephone number are:

          95-08 Queens Blvd, Apt 3E
          Rego Park, New York 11374
          347-453-2234

   The name and address of the business(es) against whom the charge is made is:

          OLD WESTBURY,LLC
          c/o SAVITSKY SATIN BACON & BUCCI
              NYC Office: One Penn Plaza, Suite 4905, New York, NY 10119
                                                                       | (212) 587-0760
       Philadelphia Office: 1845 Walnut Street, Suite 1600, Philadelphia, PA 19103 j (215) 391-4790
                 NJ Office: 73 Forest Lake Drive, West Mllford, NJ 07421|  (973) 388-8625
                          Website: www.discrimlnationandsexualharassmentlawyers.com
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                                                                                                     51




            2 Spring Hill Lane
            Old Westbury, NY 11568

            OLD WESTBURY EDDIE, LLC
            c/o SAVITSKY SATIN BACON & BUCCI
            2 Spring Hill Lane
            Old Westbury, NY 11568

            KEVIN AND STEPHANIEANNA KNIPFING
            c/o SAVITSKY SATIN BACON & BUCCI
            2 Spring Hill Lane
            Old Westbury, NY 11568


     The exact number of employees at the above entity is unknown,but upon information and belief,
     there are well more than the statutory minimum.

     A Statement of Facts is as follows: Upon information and belief. Claimant alleges as follows;


     1. At all times material. Claimant LIDIA ORREGO ("Claimant" or "ORREGO")was and is an

        individual woman residing in the State ofNew York, County of Queens.

     2. At all times material. Claimant is ofParaguay descent and speaks with a Paraguayan accent.

     3. At all times material, OLD WESTBURY,LLC was and is an unknown entity operating in the

        State ofNew York.

     4. At all times material, OLD WESTBURY EEDIE,LLC, was and is a domestic limited liability

        company duly existing by the virtue and laws ofthe State of New York.

     5. At all times material, KEVIN AND STEPHANIEANNA KNIPFING(KNIPFING's) was and

        is an unknown entity operating in the State ofNew York.

     6. At all times material. Respondents were joint employers ofClaimant.

     7. In or around January of2018, Respondents hired Claimant as a Nanny and Housekeeper.

     8. At the time of her hire. Respondents gave Claimant a Non-Disclosure Agreement (NDA)

        which consisted of2 pages.
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    9. At all times material. Claimant worked closely with TERESA A. ZANTUA, a/k/a Taz

       ("TAZ"),sister ofSTEPHANIEANNA KNIPFING and sister-in-law ofKEVIN BCNIPFING.'
    10. At all times material, Claimant worked closely with REBECCA UZCATEGUI

        ("UZCATEGUI"). a fellow nanny.

    11. Throughout her time ofemployment.Respondents subjected Claimant to constant verbal abuse

        on the part ofRespondents' Supervisor TAZ,who would discriminate against Claimant on the

        basis of her race and national origin, saying, among other things,"Why do they hire nannies

        who only speak Spanish?"and that"Mexicans who work in this country should speak English."

    12. Throughout her time of employment. Respondents' Supervisor TAZ would refer to Claimant

        as "Mexican" and "Stupid Mexican."

     13. On or about September 6, 2018, Claimant asked Respondents' Supervisor TAZ if she had

        apologized to UZCATEGUI over an argument they had earlier. TAZ replied that she would
        never apologize to "the Mexican."

     14. On or about September 20, 2018, Claimant was playing with one of the children and referred
        to Respondents' Supervisor TAZ as "grande,"(Spanish for *big'), in terms of height, which

         TAZ took as an insult regarding her weight. She became enraged and told the children that

        "Ms.Lidia is bad," and that she is a "stupid Mexican." She went on to yell at Claimant,stating,

         among other things, "I don't care about you stupid Mexicans. You are not in your country.

         You are in America and here it is a bad word." Claimant tried to apologize to TAZ and explain

         that she was referring to her height in comparison to the child's but TAZ would here none of

         it.


     15. Throughout her time ofemployment,TAZ would mock Claimant's face and facial expressions.



    'At all times material, Kevin Knipfing uses the stage name "Kevin James.
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        send Claimant pictures and emoticons of blank, expressionless faces and silly faces, to imply

        that this was how Claimant looked.


     16. On or about October 14, 2018 Claimant and her mother met with UZCATEGUI at a diner.

        UZCATEGUI told Claimant that she was in possession of recordings of TAZ making racist

        comments and further told Claimant that she has evidence of TAZ being mentally and

        emotionally abusive to the children and verbally abusive to the staff.

     17. At the conclusion of this conversation UZCATEGUI and Claimant came to an agreement that

        they would bring the abuse they and the children endured to the attention ofthe KNlPFING's.

     18. On or about November 2,2018, Claimant decided to send the KNIPFING's an email to shine

        light on some the issues going on in the house. Claimant reported (i) Respondents' Supervisor

        TAZ's racial and insensitive comments; (ii) TAZ's mistreatment of the children as well as

        TAZ's reckless driving with the children in the car; and (iii) overall abusive nature towards

        Claimant and the rest ofthe staff.

     19. On or about November 6,2018,Claimant spoke with KEVIN KNIPFING and two others about

        the email. At this point in time Claimant was given an NDA with several more pages than were

        given to Claimant at the beginning of her employment. Respondents never asked Claimant to

        re-execute the NDA or discussed the terms of the revised NDA with Claimant. Additionally,

        Respondents told Claimant an internal investigation will be conducted in regards to her claims.

     20. On or about November 12,2018, Respondents instructed Claimant to meet with investigators

        in the parking lot of a Burger King.

     21. At this meeting,the investigators urged Claimant to stay away from UZCATEGUI and to turn

        in all pictures, recordings, text messages and emails with UZCATEGUI or anyone else

        regarding Respondents' Supervisor TAZ or any of the abusive and discriminatory practices
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                                                                                                          54




       going on in the house.

    22. Over the next few days, Claimant sent all relevant information to KEVIN KNIPFING via
       email.


    23. In a letter dated November 27,2018, Respondents' terminated Claimant.

    24. The termination letter stated that the reasons for termination was for breaching the NDA by

       recording a conversation with UZCATEGUI and a member of the public, taking recordings
       and photographs of the KNIPFING's home. Claimant's unwillingness to work with
        UZCATEGUI, and KNIPFING's conclusion that Claimant made false statements in her

       complaint.

    25. At all times material. Claimant was often asked to take pictures and videos of the children in

        which she cared for. These pictures and videos were requested by Respondents for the purpose

        ofsaving them to a family album.

    26. At all times material, taking photos and recordings was common practice amongst

        Respondents' employees. These employees would often publish these photos on social media
        or other internet platforms.

    27. The above are just some examples of the unlawful discrimination and retaliation to which
        Respondents subjected Claimant.

    28. As a result of Respondents' discriminatory and intolerable treatment. Claimant suffered and

        continues to suffer from anxiety and severe emotional distress.

    29. Because ofthe acts and conduct complained ofherein. Claimant has suffered and will continue

        to suffer the loss ofincome,bonuses,benefits and other compensation which such employment

        entails. Claimant has also suffered pecuniary losses, emotional pain, suffering, inconvenience,

        loss ofenjoyment of life, and other non-pecuniary losses.
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      30. As Respondents' conduct has been malicious, willfiil, outrageous, and conducted with full

          knowledge of the law. Claimant demands Punitive Damages against all Respondents jointly
          and severally.

      31. The above are just some of the examples of the unlawful employment practices that
          Respondents subjected Claimant.



     Please contact me if you have any questions or require any additional information. Thanking you
     for your courtesy and cooperation in the matter.

     Date: New York, New York
           January 31, 2019


                                                        Very truly yours,

                                                        DEREK SMITH LAW GROUP,PLLC


                                                        /s/Alexander G. Cabeceiras
                                                        Alexander G. Cabeceiras Esq.
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                                                              Exhibit 5
                                           U.S. Equal Empi oyment Opportunity Cgmmjssion
                                                                                                                                                        56



                                         Notice of Right to Sue (Issued on Request)
I'j       Lidia Orrego                                                                     From;     New York District Office
          C/0 Alexander G. Cabeceiras Derek Smith Law Group. Pile                                   33 Whitehall Street
          One Penn Plaza, Suite 4905                                                                5th Floor
          New York, NY 10119                                                                        New York. NY 10004




      □           On behalf of perston(s) aggrieved whose identity is
                  CONPIDHNTIAL (29 CFFl §1ti01 7(a))

F £OC Ciiarge No                                          EEOC Ropresenlative                                              Telephone No.

                                                          Debra L. Richards,
 520-2019-01738                                           Investigator                                                     (212) 336-3768
                                                                                       (See also the additional information enclosed with this form.)
Noricc TO THE Person Aggrieved;

Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue. issued under Title VII. the ADA or GINA based on the above-numbered charge. It has
L(i(!n issued al your roguost. Your lawsuit under Title VII. the ADA or GINA must be filed In a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suil based on a claim under
si,lie law may be diHnront.)

      IX]         More Hian 180 days have passed since Ihe filing of this charge
      □           Less than 180 days have passed since the filing of this charge, liut I tiave determined that it is unlikely that the EEOC will
                  be able to complolo its administralive processing within 180 days from Ifie filing of lliis charge.

      XI          The EEOC Is terminating its processing of this charge.
      I     I     The EEOC will continue to process this charge.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA al any time from 60 days after the charge was filed until
'JU l.^ys after you receive notice that we have completed ar.tlnn on the charge. In this regard, the paragraph marked below applies to
your case;

      I     I     The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Othenflrtse, your right to sue based on Ihe above-numbered charge will be lost.

      □           The EEOC is conlinuiiTg its handling of your ADEA case However, if 60 days have passed since the filing of the charge,
                  you may file suit in ffxloral or slate court unrior the ADEA at this time.

Equal Pay Act (EPA); You already have the right to sue under the EPA (filing an EEOC charge is nol required.) EPA suils musi be broughl
in federal or slate court within 2 years (3 years for willful violations) of the alleged LPA underpaymenl. This means lhat backpay due for
any violations thai occurred more than 2 years f3 years) before you file suit may not be collectible.

f! yuu tilii suil. b;i.SHtj on this t.harge. please send a copy of your court complaint lo this office.

                                                                           On liehalf of the Commission




                                                                                                                                09/20/2019
                                                                                                   >
Lnclosuresi's)                                                                                                                   (Dale Mailed)
                                                                           Kevin J. Berry,
                                                                          District Director


                Kevin Knipfmg/Owner                                                       Alexander G. Cabeceiras, Esq.
                OLD WESTBURY EDDIE, LLC                                                   DEREK SMITH LAW GROUP. PLLC
                c/o Savitsky Satin Bacon & Bucci                                          One Penn Plaza, Suite 4905
                2 Spring Hill Lane                                                        New York, NY 10119
                Old Westbury, NY 11568
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                                     Exhibit 6                                                            57




                                                                                        June 15,2020

    Via First-Class and Electronic Mail

    Mr.Derek Smith,Esq.
    Mr. Alexander Cabeceiras,Esq.
    Derek Smith Law Group,PLLC
    One Pennsylvania Plaza, Suite 4905
    New York,NY 10119
    Tel:(212)587-0760
    email: derek@dereksmithlaw.com
    email: alexc@dereksmithlaw.com


           Re: Remove an Invalid Lien for misconduct and discharge for Good or Just Cause
    According to my email dated October 29,2019 the Firm Derek Smith Law Group,PLLC was fired
    for "Good Cause" breach ofa contract for the following reasons:

       -   Mr. Alexander Cabeceiras, Esq., and Derek Smith Law Group, PLLC violated Rules of
           Professional Conduct Failed to file a claim with the EEOC since I had informed them that
           there were no more than 6 employees at my workplace. Mr. Alexander Cabeceiras, Esq. -
           Derek Smith Law Group,PLLC with all tl^ information decided to fill out the Complaint
           indicating that in my wor]q)lace there were more fiian 15 employees, which was not true
           and it was not necessary to file the complaint in the EEOC and wasted more than 9
           months without making anv tvne of strateev. negotiation, plan or preparing any
           lawsuit despite my constant request via email in pursuit of my claims or in defense of my
           interests without having the minimum capacity or interest to negotiate according to the
           facts that support my case, totally apathetic and poor representation. Also file a claim for
           $ 975k in the EEOC when the Limits on Compensatory and Punitive Damages only allows
           up to$50k which also shows that Mr.Cabeceiras was lying to me the whole time according
           with Remedies for Employment Discrimination - EEOC. All this was corroborated by the
           lawyer who reviewed my case, document and information from the EEOC that supports
           this information and em^s.. For this reason, Mr. Cabeceiras had threatened by email to
           not contact the EEOC without his consent See American Bar Association's Rules of
           Professional Conduct: Rule 1.1: Competence; Rule 3.2 Rule 1.3 Diligence

       -   Mr. Alexander Cabeceiras, Esq., Mr. Derek Smith, Esq. and Derek Smith Law Group
           PLLC acted Unethical Behavior,failure to present all the facts in my case handling in order
           for me to obtain the fiill advantage of legal system such as Lost wages and Benefits,
           Compensatory and Punitive Damages(no caps)and Attomey's Fees under Section 1981 -
           Race Discrimination in violation ofthe American Bar Association's Rules ofProfessional
           Conduct. See Rule 1.1: Competence; Rule 3.2 Rule 1.3 Diligence

       -   Mr. Alexander Cabeceiras, Esq. and Derek Smith Law Group, PLLC has put my Work
           Compensation case is in seriousjeopardy,because until on August20,2019 Mr.Cabeceiras
           never told me that I should look on my way for an attorney to help me in that case,seriously
           damaging the case which until today has been denied. On date 01-29-2019 I request by
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         email to include my injuries in the EEOC Charges which Mr. Cabeceiras have refused to
         include them and now the attorney for die Insurance Company has used the EEOC charges
         against me sa)dng why I am claiming my lawyer that included those injuries, for all this
         they are denying my benefits and payment of my medical expenses having a temporary
         disability of 100%. Also, because of all these injuries I have acquired a disease whose
         treatment is cost to be able to reverse this disease without guarantee offull recovery.

          I have submitted to the WCB Judge all emails and documents showing that Mr. Alexander
         Cabeceiras has been aware ofall ofthese injuries since January 2019 and has never referred
         me to a WC attorney as promised and all ofthis is specified in die emails and documents
         for the next hearing this June 2020. This was also one ofthe reasons for the first complaint
         to the Grievance Committee.

         Mr. Alexander Cabeceiras, Esq., Mr. Derek Smith, Esq. and Derek Smith Law Group,
         PLLC failed to recommend report and inform me the Forgery Crime (Deceive with the
         creation of false or fi'audulent documents) about the Termination Letter Date November
         27,2018 to containing false information, it also contains a false Company name, because
         The Legal Name is OLD WESTBURY EDDIE LLC under registration in New York State
         and being mailed this false document in the United States it becomes a Federal Crime. Also
         failed demonstrate the creation of the false W2 document in the name of Old Westbury
         Eddie LLC as an employer but all other documents such as NDA,Direct Deposit Checks
         and Bureau Credit Report point Kevin and Stephanieanna Knipfing as an employer. See
         Forgeiy; Termination Letter under NYC law;DOS Department ofState with the Company
         Legal Name;Right to Sue Letter- EEOC with the Company legal name and Owner Kevin
         Knipfing; Checks and emails with the Company Legal Name; NYC Law Section 195. See
         Rule 1.1: Competence; Rule 3.2.

          Mr. Alexander Cabeceiras, Esq. - Derek Smith Law Group PLLC when I informed you
         about the Child Abuse and Maltreatment, and, YOU, the Firm did not make the
         REPORT for me and You did not tell me that Fm Mandated Reporter and had the
         obligation to report all the facts to the Child Protection Services, now the Report has been
         made to this Government Institution and is imder investigation, they already have the
         evidence and my statement as well as the list of firms and attorneys who have never
         advised me or been alerted to commit a CRIME BY OMISSION. On the other hand, this
          would be Complaint No.2 you to the Grievance Committee.

         Alexander Cabeceiras and Derek Smith Law Group PLLC HAVE BREACHED "Provision
         3 ofthe Employment Law Retainer Agreement" by refusing to pay the cost of Copies of
         my Medical Records,very important documents that are conclusive evidence ofthe injuries
         I have suffered in the workplace and that I declare in my Complaint to my former boss in
         Date November 2,2019. All this to ensure that I was a victim of Discrimination and
         Retaliation and the Firm promised to cover those expenses. The lawyer never informed me
         that they refused to pay for these copies which I discovered by Collecting all my documents
         from the different doctor's offices after I discharged Derek Smith Law Group PLLC. The
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                                                                                                   59



           expensive cost ofthe copies was only $ 35.00, which shows no interest in filing a lawsuit
           in Court.


    Consequently,the Lien the firm Derek Smith Law Group PLLC imposed irregularly in the Letters
    dated October 15,2019 is Invalid Under New York's statutory charging lien, see N.Y. Judiciary
    Law § 475 (McKinney 1983) Derek Smith Law Group PLLC who was discharged for "Good
    Cause or Just Cause" lose the right of Charging Lien. See, eg, McDermott v. Great Am.
    Alliance Ins. Co., No. 5:02 Civ. 0607( NAM / DEP), 2006 US Dist. LEXIS 52878, 2006 WL
    2038452, at ♦ 2(NDNY July 18,2006); Hill v. Baxter, No. 98 Civ. 4314(SJF)(ASC),2005 US
    Dist. LEXIS 7157,2005 WL 465429,at ♦ 2(EDNY Feb. 7,2005); Petition ofHarley & Browne,
    957 F. Supp. 44,48(SDNY 1997); Rankel v. Tracey, No.84 Civ. 3412(KMW ), 1991 US Dist.
    LEXIS 10673, 1991 WL 156324, at ♦ 7(SDNY Aug. 2, 1991); Klein v. Eubank,87 NY2d 459,
    663 NE2d 599,600,640 NYS2d 443(NY 1996).

    Until the process ofGrievance Committee and Child Protection Services,review ofyour work and
    legal advice have finished, Derek Smith Law Group PLLC MUST COMPLETELY REFRAIN
    fi*om claiming any amount on which you can reach a settlement before or after any litigation,
    otherwise,Derek Smith Law Group,PLLC will be committing excessive abuse professional in the
    relationship between lawyer and client, continuing violating American Bar Association's Rules of
    Professional Conduct See DR 2-106 -Fees for Legal Services; Rule 1.5; Rule 1.5a.

    When the investigations fi*om the two Government Organizations are finalized a JUDGE will
    decide whether I owe you or you owe me and how much for all your negligence,BAD FAITH,as
    well as serious violations of professional conduct and economic / health damages that You have
    caused me.



    Regards,




    Lidia Orrego
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 61 of 145 PageID #: 376


                                                                                                              60




                                                                                       June 15,2020

    Via First-Class and Electronic Mail

    Michael J. Borrelli, Esq.
    Matthew J. Famworth,Esq.
    Boirelli & Associates,P.L.L.C.
    910 Franklin Avenue, Ste. 200
    Garden City, NY 11530
    email: mjb@employmentlawyemewyork.com
    email: mjf@employmentlawyemewyork.com


                                   Re: Lidia Orrego*s Statement

    About your "Statement", In any case, according to my letter dated 06-04-2020, I discharged
    Borrelli & Associates PLLC with "Good or Just Cause" N.Y. Judiciary Law § 475 (McKinney
    1983)(see attach) which means that you are the ones who should pay me for all the damage you
    did to me and this amount is nothing comparing the risk of Federal Charges that YOU exposed
    ME when I did informed you about the Child Abuse and Maltreatment, and, YOU, the Firm
    Borrelli & Associates PLLC did not make the REPORT for me and You did not tell me that I'm
    Mandated Reporter and had the obligation to report all the facts to the Child Protection Services,
    now the Report has been made to this Government Institution and is under investigation ,they
    already have the evidence and my statement as well as the list of firms and attomeys who have
    never advised me or been alerted to commit a CRIME BY OMISSION. This also constituted
    damage to my case ifI filed the lawsuit without having made the report to the authorities.

    Mr. Matthew J. Famworth, Esq. on February 10, 2020 by phone told me that supposedly I had
    recant the abuse ofchildren when that was absolutely a lie since in the charges ofthe EEOC is the
    complaint, also in the email date Febraary 11, 2020 after asking him with all the arguments to
    see all the evidence in the case, I asked him if he should report the Child Abuse, this was also
    requested by phone but he never answered me. Again in the email Febmary 19,2020,1 mentioned
    to him that I never retracted the abuse of children in addition to sending him text messages where
    it can clearly be indicated that I was reporting the abuse as well as the notes with all the details of
    what was happening that were evidence of my complaint, again I never received a response. Now
    I understand why your Firm's attomey(Mr. Matthew J. Famworth) wrote me in his email dated
    March 4, 2020 about EXTORTION instead of filing a legal claim for the real damages, your
    behavior shameful and wasted 6 months of my time.

    I could no longer contain so much anguish and suffering to report all that abuse and mistreatment,
    because it is horrible what they do with them even more now that I remember many more things
    that were blocked by PTSD and Major Disorder for everything they did to me and now I *m
    recovering to be able to defend those children and defend myself also fi*om so much damage they
    did to me and you never helped or advise me correctly on making the report to Child Protection.

    I do not imagine what kind oflawsuit you were going to present or defend me if you do not have
    the minimum Compassionate Empathy or values to protect children fi-om abuse and mistreatment,
    even less would you have the empathy to claim my rights and defend me, I was the victim of
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                                                                                                            61




    discrimination, retaliation and even physical and emotional abuse that have left me a sequel for
    life for having acquired a disease that can cause me even heart problems and many other problems
    and that treatment is very expensive to be able to reverse my deteriorating health condition.
    Pursuant to "Provision 14. Con^dentiality ofDispute Between Client and Firm"ofyour"Retainer
    Agreement", you violated the Law by Not Reporting and not giving me notice ofpossible federal
    charges by Not Reporting Child Abuse and Maltreatment. Also, you violated provision 14 when
    you directly gave information about my case to the Peter Romero Firm behind my back and without
    my consent as this firm ratifies in the note that I have in my possession because I never hired this
    Law Firm to represent me and they gave me instructions diat I should not inform you of our
    conversation or meetings until defining if they would take the case and I would accept the terms
    ofthe representation becausejust like you they were also lying to me about my case. This call was
    before I fired you with "Good or Just Cause".

    According to "Provision 17. Severability", the provisions 9-15 (but no are limited only this
    provisions) are INVALID because they are absolutely UNETHICALS, UNENFORCEABLE,
    UNFAIR and EXTREMELY ABUSIVE and NO ONE is above the LAW.

    Also,the"Provision 10: Existing Liens"this is totally false because in the initial consultation dated
    October 21,2019,1 gave Mr. Matthew J. Famworth, Esq. the copy ofthe Lien ofthe Derek Smith
    Law Group,PLLC dated October 15,2020,so it was not true that I declared that there was no Lien
    and the copy I sent by email on November 08, 2019 to Pablo E. Martinez Case Part 20. Derek
    Smith Law Group,PLLC's Lien is also INVALID because they were fired just like you for Good
    or Just Cause.


    On the other hand,this would be Complaint No.2 y No.3 against you to the Grievance Committee.

    Borrelli & Associates PLLC continues with this Harassment, I am going to file a lawsuit with
    Small Claim Court for $ 10,000.00 by Intentional Infliction of Emotional and Financial Distress.
    In fix)nt ofthe Judge we will see ifI have really "distorted" the facts and"is not worth it" for you
    to explain your unethical behavior, deliberately misleading, morally reprehensible and violating
    the basic principles ofhonesty.

    When the investigations firom the two government organizations are finalized a Judge will decide
    whether I owe you or you owe me and how much for all your negligence and BAD FAITH, as
    well as serious violations of professional conduct and economic / health damages that You have
    caused me. Until then, STOP the harassment.

    "Do the right thing because it is right.(W. Clement Stone): Hypocrisy of Borrelli & Associates
    PLLC"


    Regards,




    Lidia Orrego
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 63 of 145 PageID #: 378

                                                                                                         62




                                                                               April 6,2020

    Via First-Class and Electronic Mail

    Mr.Peter A.Romero
    Mr.David D.Bamhom
    email: promero@romerolawny.com
    email: dbanihom@romerolawny.com

    Good afternoon Mr.Romero and Mr.Bamhom,

    According to our meeting dated March 05, 2020 and my records our meeting was confidentid
    since you and Mr.Bamhom had to review all the evidence to determine the value ofthe case. After
    the meeting, you assured me that everything was kept confidential, according to my records.
    On March 10,2020 at 12:35 p.m. YOU called to let me know that you could get the case but for
    the sum of200k(which was not what we talked about at the beginning), I told you that I will let
    you know my decision about hiring you because I had never confirmed anything, not even my
    decision to fire the Borrelli & Associates PLLC.IfI did not hire you,i^viiy you call Mr.Famworth
    fi-om Borrelli & Associates PLLC? Again, I wasn't even considering hiring you for giving me
    contradictoiy infomiation according to Federal Court Legal Advice.

    On the morning ofMarch 10,2020,1 proceed to send the Letter to Borrelli & Associates PLLC on
    the firing ofthe firm for JUST cause as indicated by Law.
    On March 16,20201 received the Letter fi*om the Borrelli Associates PLLC Firm (with the name
    Peter Romero Law Firm in the letter). Same day I sent you the email with the copy of the letter
    and you never answered me until March 23,2020, but without giving me a clear explanation of
    why you call the other firm without my authorization and since I had never hired you. Without
    my consent, you contacted the Borrelli firm,and neither ofthe 2firms was authorized to share any
    information about my case.
    Ifyou were not representing me in my case as indicated in your Letter of March 23,2020, why you
    called to Mr. Famworth and why Did Borrelli & Associate send you a copy ofthe letter that they
    sent to me ifI never accept your representation? Your letter does not make any sense, when now
    after having violated the rule of Confidentiality, you intend to make believe that you do not want
    to represent me.

    In conclusion, Peter Romero Law Firm breached of American Bar Association's Rules of
    Professional Conduct: Rule ofClient-Lawyer Confidentiality by exchanging information between
    both Firms without my knowledge or authorization, what is a violation ofRule 1.6 Confidentiality
    ofInfonnation,Rule 1.4: Communications; Rule 8.3; Rule 8.4: Misconduct(c)engage in conduct
    involving dishonesty,fi:aud, deceit or misrepresentation - Comment according to ABA.



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                                                                                                                                                           63
                                          Exhibit 7                                         WYC
                                                                                            HEALTHS

AFTER VISIT SUMMARY
                                                                                            HOSPITALS                           Elmhurst
Lidia Orrego mrn:5468706                                              Q 6/14/2019              Elmhurst Psychiatric ED 718-334-3680

                                                                             tassasaBSfs»»^•   uskt*vaycr.tzAisapatiSzfl'A.'Xtf.xs.:Jk




Instructions                                                                     Today's Visit
     FoljpvfMjp with EHS Ambulatoiy Beha^rai                                     You were seen by Maria de Pena-Nowak,
                  Service                                                      ^MD,JKRISTIfsJE RENDAL-SAHEM, RN,
          bntact: 718-334-1503                                                 ;; and lulian CoriStantin UngureanU, LCSW
                 80-02 41st Avenue, Elmhurst, NY 11373
                 H Area 3rd Floor Room 145                                    vReason for Visit
                 Appointment on 6/19 @ 8:30am                         /      ^^Psychiatric Evaluation
                 Priority IIB    T         .
                      -                                        I,«rrn I
                                                                                 ^:Your End of Visit Vitals
                                                                                        Blodd;¥           Temperature
                                                                                                Pressure                                   (OraD
What's Next                                                                                     140/91                                     97:6 "F
You currently have no upcoming appointments scheduled.                                                                                   «£) Respiration
                                                                                                                                            18

General Emergency Department                                                                   Oxygen
                                                                                               Saturation
Discharge Instructions                                                                         98%
We appreciate that you chose us as your healthcare provider.

This form provides you with information about the care you received in
our Emergency Department and instructions about caring for yourself
after you leave the Emergency Department. If you have ftjrther
questions conceming this visit please call us at the included phone
number above on this form. Please keep this form and bring it with you
should you need additional treatment. If your symptoms become worse
or you are not improving as expected and you are unable to reach your
usual health care provider, or get to your follow-up appointment, you
should retum to the Emergency Department immediately. We are
available 24 hours a day.                                                             flC
                                                                                      M8A1.TM+
                                                                                      KOSPITAIS            Vr CHART

/t is important that yo.u keep appointments that may have been                   With MyChart, you can... Message your
scheduled. Ifyou are unable to make an appointment, please cad die              doctor... Requart refills... See test results...
corresponding clinic to reschedule your appointment                             JSee your visit summaries and upcoming
                                                                                appoihtrrients and much much more...

Home Medication Information                                                 Iplb sign up go to http://
The list of your home medications is based on the information provided    i^
by you (or your representative) during your Emergency Department visit, g  click "Sign Up Nbw",and enter personal
and/or the information contained in your medical record. In addition,   llactivation  code: V654W-W7TSN
some of your home medications may have been changed by the                 Expires: 12/11/2019    9:56 PM.
Emergency Department provider who evaluated you. These changes
may include:                                                               Additional Information:

 • New medications                                                         If you have questions, you can go to
 • Changes to the amount or how often you take a medication                https://epfcmychait.nychhc.org/heip
 • Discontinuation of a medication                                         to contact our MyChart staff. Remember,
                                                                           for emergencies, always call 911 - do not
                                                                                 use MyChart.


Lidia Orreqo(MRN:5468706)• Printed at 6/14/19 9:56 PM                                                                                    Page 1 of 3
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 65 of 145 PageID #: 380

Home Medication Information (continued)                                                                                 64
Please review the information below carefully. Continue ail your current medications as you are presently taking,
with the exception of the following changes below. If you have questions about any of the medications or the
changes, please contact your Primary Care Physician,the Provider who prescribed the medication, or your
Pharmacist.




Changes to Your Medication List
You have not been prescribed any medications.


Additional Information
If you, your child, or someone you know are struggling and need to speak to someone immediately, call 1-888-NYC-
WELL They can provide phone support, resources, and treatment options or request a Mobile Crisis Team. The Mobile
Crisis Team serves any person in NYC who is experiencing or at risk of a psychological crisis. The Mobile Crisis Team
provides urgent assessment, crisis intervention, supportive counseling, information and referrals, linkage with
appropriate community based mental health services for ongoing treatrhent, and follow up. You can also reach out
anytime (24/7)to a crisis helpline;
    • The National Suicide Prevention Lifeline: 1-800-273-TALK (8255)or text CONNECT to 741741
    • NYC Well counseling line at 1 -888-NYC-WELL or text "WELL" to 65173

For additional resources in your area contact Hitesite.org, or go to your local Mental Health Association of New York
City Family Resource Center(www.MHAofNYC.org).


Your Treatment Plan
The treatment you have received during your visit was provided on an emergency basis only and is not meant to be a
replacementfor ongoing medical care.The information provided in these discharge instructions. Including follow up
Information,should be followed in order to ensure proper treatment of your condition.

Thank you for being a patient at ELMHURST PSYCHIATRIC ED today. If your prescription was sent to the internal hospital
pharmacy, please keep this paper for your records and provide to the pharmacist when you arrive. Thank you again!

  Patient EMPI: 100277019-For Internal Pharmacy Use Only




      100277019




       10100277019




Lidia Orreqo(MRN:5468706)• Printed at 6/14/19 9:56 PM                                                  Paqe 2 of 3
  Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 66 of 145 PageID #: 381


                                                                                                                    65

 Acknowledgement of Discharge instructions
    I understand the treatment received during this visit was provided on an emergency basis only and is not meant to
    be a replacement for ongoing medical care. I also understand the information provided in these discharge
    instructions, including follow up information, should be followed in order to ensure proper ongoing treatment of
    my complaint/diagosis.

    A member of the Emergency Department staff has reviewed the discharge instructions provided to me and has
    ans>^re^ny questions I may have had regarding these instructions.


  Patient/Repif^entative Signature


  Relationship to Patient

   g-jikUg,
  Date                                           Time



  \^tn€sC^

  Date                                           Time




  Lidia Orrego
  CSN:23032400
  DOB:3/10/1977
 female
  MRN:5468706
  Adm Date: 6/14/2019




Lidia Orreqo(MRN:5468706)• Printed at 6/14/19 9:56 PM                                              Paqe 3 of 3
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 67 of 145 PageID #: 382


                                                                                66




                        Exhibit 8
     Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 68 of 145 PageID #: 383

                                                                            STATE OF NEW YORK                         SERVICE PRQMOeOIMER WC8PREFERRED
  ATTENDING PSYCHOLOGISTS REPORT                                  WORKERS'COMPENSATION BOARD                           PROVTOER ORGANIZATION tPPO)PROGRAM?

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            (First Namo)~               (MddteMial)'                  {LostNsm)
 INJURED
 PERSON         Lidia Orrego                                                              ReooParic NY        11374                                       (347)453-2234
                                                                                                                                                           PATENTS DATE OF BIRTH
EMPLOYER*
                                                                                                                                                            03/10/1977
INSURANCE       New York Marine and General Insurance Co                                  412MtKemb8lAve SteSOOC
 CARRIER                                                                                  Morrlstown NJ       07980
                                                                                                                                                               TELEPHONE1^
REFERRING
PHYSICtAN

■if treatmant was under flu VFBL or VAWBL Straw as ■EOtployei' the SaUo pcSSeal subdivision and dieek one:               VFBL                   VAWBL
                                                                                                                            and contplste Items 3 to 16. If not, complete ALL Bems.
If you have fled a prates report, selfing fbrfli a history of the injury, enter Be date     09/16/2019
     1. Descnoenctoein or occupatfonsinistoiy mat prectetisted onset or related symptoms;
     SEE INITIAL SUBMITTED NARRATIVE


    2. Has patent ghmn any hlsbry of pre-oxbting psychological impajmwnrr n so, cascnoe spectticasy.
       NO


     3. Referral was fOn □PvgkgiHnaOnly(CcinnteteBBfna) □Treatment Only (CcmpiBte Bam t>-1,2) XJEvaiuaSon and Treatment (Cwnptete Bams a and 6-1,2)
     a. Your avaiuauon:

     Psychological Injury as a consequential result of the incident


     b.tlJPaSenffecom&tionandprogreaa:
     F32.2 Major depressive disorder, single epbodo, severe w/o psychotic features F46.42 Pain disorder with related psychological rectors


     b. (2) Treetment and ptanned future treatmenL if an authorization request Is required (soe Eten»4 & 6 on reverse), diedt bo* Q and oqrtaln below, if addiSonal spaco is
            necessary, piaase attech rc^ua^
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     4. bais(B) or visits on ntticn ms repoft is DaseS"        PaieolhfBtVteit                  Wai patient bo seen ^afai? H*®®                lfy8a,when: 10/16/2019
         09/16/2019                                              09/16/2019                     [f no. was patient refertBd back to allendina doctor: n Yes nwo
     6. Is patient worWng? DYes gNo H yes, date(s) patient: resumed Bmited work of any kind                               resumed ragular work
     6. Wee the ooeunence desctteed above {or In yorgprevtoue report) ifto competent producing cause of the injury or dteabfl^Qfaiy) sustained?



     6. [Kasnosis or nature of iSsease or tnjuiy (Rotate items 1,2,3 or4 to item SE liy Bno.) Enter     and describe nature off tnlury
            F32,2 MAJOR DEPRESSV D1S0RD, SIN6I£ EPSD, SEV W/O P^. j
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                                                          RegoPark NY 11374                              Great Neck, NY 11023                                    PAY THIS
                                 10/16/2019                                                                                                                        BILL.
     16. signature of TfesSngPsydMBoglsl Date (516) 466-0444                                             (516) 468-0444
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 PERSON           Udla Orrego                                                                                                                                     (347)453-2234
                                                                                              ReacPark NY            11374
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afPLOYBT
                                                                                                                                                                   03/10/1977
INSURANCE         New York Marine and Genera!Insurance Co                                     412 Mt Kembel Ave Ste 300C
 CARRIER                                                                                      Morristown NJ 07860
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     SEE INITIAL SUBMITTED NARRATIVE
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     3.Retenal\(»aslon □EvahiaBonOnly {Complete Rein a) □Treatment Only {Comptete Bern tHl.2) ffl EvaiuaSon and Treatment (Complela tens a and l)-1,2)
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     b. (1) PaUenfs comflkm and pregress:
      F32.2 Major depressive disorder. sRigle episode, severe w/o psychotic features F45.42 Pain disorder wtih reiated psydioiogical factors
     b. (2) Treatment and planned future IreBhnentffanauOKMizattonrequeetIs required (see Remsd&S on revei8e),clwckliox □ and explain belOMr.lfadditioRd space is
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     S. la patient worldng? □Yes jg]No If yes. date(8)pafiente resumed limited worit of any Wnd                                     resumed regular work
CR                                                                                                                                                           QVes ONo
       Enter here addlBonal per&ient InfomiBllon
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     B. Diagnosis or nature of ffisease or inJuiy(Relatafleins 1.2,3 or 4 to Item SEIiy line.) Enter code and              nature Of iniury.
     1.1    F32.2 MAJOR DEPRESSVDiSORD, SINGLE EPSD.SEV W/O P%.L
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PS-4(1-11)                                        SEE REVERSE SIDE FOR IMPORTANT INFORMATION                                                                           MwiY.web.dy.goY
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     Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 69 of 145 PageID #: 384
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 70 of 145 PageID #: 385


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          <r                          310 East S1mw« Itood I Snste 100
                                                                   |   Oreat Slack,SIY 11023
                              S!bone C^IO)400-70771 Fax C510> 400-04501 vircvw.behaveinad.com



               Client Infonnatian
               GientNaine: LidiaOnego                                                 Accoimt: 118720

               Encounter Information
               Setvice Date:9/30/2019 at 11:30 AM
               Accident Date: 10/23/2018


 □ Continoe monthly plan of care              OlX          •IX    04X                                           •adult OCtflLD


 Patient's Current Functfoning (0 -10):                                 8      Distress                  9     Disabili^
 Symptoms Status (0 -10):
    Sleeping                                           Panic Attacks                             Suicidal Ideation
 8    Fean                                        9    Employment Adj                            Concentration
      Memoiy                                           Avoidance                                 Loss of Physical BfiOciency
      Anger                                            Depressed                                 Interpersonal Conflict
      Headaches                                        Flashbacks                         8      Hypervigilance
      Fatigue                                          Social Withdrawal                  8      Aniue^ in vehicle
 8    Grief                                      8     Anxiety as Pedestrian                     Loss of Sexual Actlvily/Eqjoymeiit
 8    Persistent Physical Pain                   8     General Anxie^                            Anhedonia



 Degree of Disability:



 □ PT. IMPROVED                     DPT. WORSENED                □ NO CHANGE REPORTED                 MMlDYes        ONo


 Clinical Interventions Provided:
 IS Siq>poit                                                                         □ Examined the evidence
 □ Elidted activity scheduling                                                       □ Biofeedback
 □ Conducted Hypnodiexapy                                                           □ Provided educational materials (audio, reading)
 □ Trained in rehocation                                                            □ Engaged in parent counseling
 □ Trained in distraction trainiiig/attention refocustng                            19 Thenqieutic imagery
 □ Taught coping techniques                                                         □ Assisted in ccnttngency management
 □ Assisted in identitying and releasing of affect                                  □ Rehearsed coping techniques
 □ Encouraged habit modiflcation                                                    □ Educated in decision malring and problem solving
 □ UtiUzed cognitive lesttucturing                                                  □ Provided tii» about mood control
 □ Assisted in emotional rqnocessing                                                □ Provided asseriiveness training
 □ Provided mood elevation strat^es                                                 □ Trained in graded etqiosure On vhro/tmagined)
 □ Taught diou^t stopping                                                           □ Engaged pt in critical incidence debriefing
 □ Monitored gains                                                                  □ Reinforcing past gains
 □ Discussed blocks in progress                                                     □ Trained in memoiy loss coping strategies
 09 Develop therapeutic alUance                                                     □ Identificatioa ofresouice people
 □ Aided in dcvdopmeat of list of environmental stress triggers                     □ Taught cmiflict resolution
 □ Enhanced self control                                                            □

 □ Psydiiatric Re&nal                                            MDName

 □ Psydiiatric Consult         Date:                             MDName:


 Notes:
 Develop dter^wutic alliance with client, spoke about hnmssment at work, her prove s on the phone. Listening of her story was part of session. Spoke about
 lady only wanted client to speak English, ^roke about ho-distress, thriving to get better.


 Diagnosis:                                                                                                                    Rule Out
                                                                                                                                 □
                                                                                                                                 □
                                                                                                                                 □
                                                                                                                                 □




                                                                                 on 09-30.2019




 Client: LidiaOiTegof/118720                                                                           Form Revision Date: 2/26/2016       Page 1 of 1
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                                 BEHAVIORAL MEDICINE ASSOCIATES

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    October 1,2019

    TO: Dr. Rosner

                       PSYCHOSOCIAL EVALUATION AND CONSULTATION


    R£: Lidia Orrego

    DATE OF ACCIDENT: 10723/2018

    DATE OF INITIAL INTAKE/EVALUATION: 09/16/2019


    INTAKE INFORMATION
    (CPT 90791-PSYCHIATRIC DIAGNOSTIC INTERVIEW EXAMINATIO]^
    Lidia Oirego, a 42-year-old female, was seen for an initial psychosocial evaluation ofemotional
    distress following sustaining injuries m a work-related incident. Ms. Orrego is married and has
    one daughter(age 6). She currently resides in Rego Park, NY with her husband, daughter,
    mother,and god&ther.Her highest level ofeducation is some college.

       .Orrego reported that the following incident occurred on October 23,2018 while working as
    a nanny:'Date 10/23/2018,around 7pm I was in the kitchen ofthe house, vdiere there were
    cameras and the 7-year-old child hit me twice in the back (tiiis was the last time it happened from
    various occasions that occurred within 8 months).I fell on the floor because ofpain and I asked
    Teresa A ifshe has something for pain. During those days, almost in the last months I worked
    up to 15 hours daily. I lifted a lot ofcouches, boxes,and all the heavy jobs in flie house." She
    went on to state that the "child practices wrestling' the abuse from child went on for months.I
    will tell the aunt about the abuse,she will answer me,'you Mexicans eat too much com and your
    bones are not hard enough'(note: this client is not flom Mexico, but from Paraguay)." Ms.
    Orrego indicated that she "never spoke with anyone about all the problems of discrimination,
    abuse, and physical lesions" due to being"scar^ to speak up."^en she did complain to her
    boss,she was reportedly told,"that no one should know anything because[she] also signed a
    contract


    Ms. Orrego indicated that she experiences pain in her back, hands, wrists, arms,shoulders,
    knees, and neck.To date, Ms.Orrego has received pain medication and physical therapy for h^
    back pain. She also has received psychological treatment(including medication)to help with her
    symptoms ofanxiety and sleep difficulties. Records fix)m Elmhurst Hospital indicate that Mr.
    Orrego received a psychiatric evaluation on 06/14^019. She was prescribed Lexapro(5mg)and
    Atarax(lOmg)and referred for individual therapy.

    Following the work incident, she has been experiencing ongoing pain and headaches. She
    reported that she has difficulty with the following:"cannot lift objects, cannot lift my 6-month-
    old baby,cannot stand up for long p^ods,cannot clean regularly cannot drive;in pain; cook;
    cannot exercise walk long distances; I don't want to have sex or converse wifli my partner." Ms.
    Orrego indicated that she did not retum to herjob due to being "fired." She stated that Ibis is
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    when things"got worse'* because she "fell into a deep depression" and "couldn't find anoth^job
    with the injury." However,Ms. Orrego was able to eventually get anotherjob and b^an thisjob
    as of02/23/2019.

    Emotionally, Ms. Orrego reported experiencing a variety ofpsychological concerns. Symptoms
    endorsed included; disturbance in mood (i.e., depressed, irritable, anxiety),tearfulness, mood
    swings,panic attacks, disturbance in sleep (i.e., initial/t^minal insomnia,firequent waking),
    fatigue, flashbacks,avoidance (i.e.,talking about incident),sense ofguilt, decreased appetite,
    decreased libido and worthlessness. She reported seeing a decrease in motivation and interest.
    She indicated that she feels as though she has become more argumentative,seclusive, and
    fearfiil. Lastly, Ms.Orrego noted fiiat it now takes h^ longer to do things and has difficulty
    initiating/completing tasks.

    Ms. Onego was interviewied by Dr. Maria Sesin, who conducted a Mental Status Examination.
    During the examination, Ms. Orrego was pleasant and cooperative. Her mood was sad/depressed
    and worried, which was consistent with her affect Her speech was within normal limits. She was
    alert and fiilly oriented. Overall,thought process was goal-directed. She denied experiencing
    current suicidal or homicidal ideation. There was no evidence ofa thought disorder and she
    denied hallucinations and delusions during the interview. Memory was intact Insight was fair,
    judgment was good,and impulse control was good.

    Review ofprior history is unremarkable. There is no evidence of prior physical, intellectual,
    emotional, social or vocational history which would account for the current symptoms.
    Therefore,the symptoms reported as well as the results ofthis evaluation are consequentialfy
    related to the incident which occurred on October 23,2018.

    PSYCHOLOGICAL ASSESSMENT
    (CPT 96101-PSYCHOLOGICAL TESTING;6 UNITS)
    PTSD CHECKLIST
    Ms. Orrego completed the PTSD checklist, which provides a global measure ofposttraumatic
    stress and other psychological sequelae oftraumatic events. Overall, Ms. Orrego's responses
    highlighted symptoms such as: repeated, disturbing dreams and memories ofthe stressful
    experience; suddenly feeling or acting as ifthe stressful e>q}erience is happening again; avoids
    external reminders ofthe stressfiil experience; having strong reactions when reminded ofthe
    incident; feeling upset when something reminds her ofthe incident; avoids memories,thoughts,
    and feelings related to the stressful experience; irritability; decreased interest; being watchfiil;
    difficulty concentrating;trouble fiilling and/or staying asleep; and other alterations in arousal and
    reactivity.

    BECK DEPRESSION INVENTORY-n
    On the Beck Depression Inventory, Ms. Orrego's score is in the severe range. Symptoms reported
    included: sadness, discouragement about the future,sense offidlure, loss of pleasure,feelings of
    guilt, feeling of being punished,loss ofconfidence,increased self-criticism,tearfulness,
    restlessness,loss ofinterest, indecisiveness, worthlessness, loss ofenergy, changes in sleep
    pattern, irritability, changes in appetite, concentration difficulties, fiitigue and decreased libido.
    BECK ANXIETY INVENTORY
    On the Beck Anxiety Invmtory,Ms. Orrego's score was in the severe range. Symptoms endorsed
    included: numbness^gling,feeling hot, wobbliness in legs,inability to relax,fear ofthe worst
    happening, dizziness/lightheadedness, heart pounding/racing, unsteadiness,terror, nervousness.
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    choking sensation,trembling,shakiness,fear oflosing control, difficulty breathing,fear ofdying,
    feeling scared, abdominal discomfort,feeling faint, &ce flushing, and sweating(not due to heat).

    BECK HOPELESSNESS SCALE
    On the Beck Hopelessness Scale, Ms. Orrego's score is in the severe range, which is cause for
    concern. This is a significant findng.It indicates a need for fi^uent monitoring and justifies a
    continuing course ofpsychological treatment. Ms.Orrego has become desperate and the need for
    treatment on a regular and consistent basis is strongly recommended.

    BRIEFSYMPTOM INVENTORY
    Ms. Orrego completed the BriefSymptom Inventory, which provides a Global Severity Index
    (GSI)ofher overall level ofpsychological distress. The GSI is a concise, quantitative indication
    ofthe patient's current level or d^th ofpsychological dysphoria and is fiie single best indicator
    ofthe patient's overall emotional adjustment. Ms. Orrego's GSI is at the 99^ percentile, which is
    an indication ofsignificant distress. The average range for cut-offis at the 50*'' percentile.
    The BriefSymptom Inventory also has three dimensions vddch measure somatization,
    depression and anxiety symptoms. Ms. Orrego's results indicated that all three domains were
    elevated,signaling psychological distress.

    SCL-90-R
    On the SCL-90 Ms. Orrego's profile reveals a pattern and magnitude to be considered in the
    clinical range, and qualifies her as a positive clinical case. The intensi^ ofMs. Orrego's
    psychological distress is extremely high, as a large number ofpsychological symptoms were
    endorsed.

    The SCL-90-R is a psychological evaluation tool that reflects the p^chological symptom pattern
    ofpatients. It is ba^ upon data vfbich has the advantage ofderiving from the person actually
    experiencing the psychological problems. Clinical interviews are limited to reporting versions of
    the patient's experience based upon the behavior and verbal report ofthe patient The SCL-90-R
    is a measure ofcurr^t point-in-time psychological symptom status; a series ofstandardized
    objective statistical analyses are used to arrive at conclusions about patienfs psychological
    conditions. The SCL-90-R can be used as a screening device as well as an outcome measure. It
    has high levels ofreliability and Validity; it has been standardized on a large sample. There are
    internal validity scales which assess int^tional distortions to provide a measure ofthe patient's
    response patterns. The global indices ofthe SCL-90-R facilitate an understanding ofbasic
    information about the response style and problems being experienced by the patient. When used
    with additional sources of data the SCL-90-R provides a powerful instrument to assess a patient's
    current condition and to make recommendations for treatment.

    QUALITY OFLIFE INVENTORY
    On the Quality ofLife Inventory, Ms. Orrego's responses indicate fiiat her ov^all satisfaction
    with life is in the Pbry Low range. This indicates that she is extremely unh£5)py and unfiilfiUed in
    life. Individuals with scores in tiiis range lack enthusiasm for life and feel that their lives lack
    meaning or purpose. They cannot get their basic needs met and cannot achieve their goals in
    important areas oftheir life. People with scores in this range may lack important skills needed
    for achieving their goals in life. Therefore, Ms. Orrego wUl benefit fix)m treatment vhich aims to
    increase the overall quality of her life.

    COGNITIVE DISTORTION SCALES(CDS)
    The Cognitive Distortion Scales assesses five types ofcognitive distortions. Ms. Orrego's level
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    ofself-criticism is in the clinical range,indicating a tendency to criticize or devalue oneself, both
    internally and to others. Levels ofhelplessness are in the clMcal range, which is associated with
    one's perception ofbeing unable to control or influence important,typically negative, aspects of
    one's life. Levels ofhopelessness are in the clinical range and suggests Ms. Orrego believes that
    the future is bleak and that she is destined to suffer or &il. Ms. Orrego's level ofself-blame is in
    the clinical range, which suggests she has a tendency to blame herselffor negative, unwanted
    events that have occurred in her life. Lastly, her re^onses indicate that her preoccupation with
    danger is in the clinical range,vduch suggests that Ms. Orrego has a tendency to view the world
    as a dangerous place, especially in the interpersonal domain.
    These distortions/cognitive dys&nctional thinking patterns interfere with optimal hmctioning
    and result in emotional distress. The results ofthe CDS will be used to remediate these &ulty
    attributions and will provide a series ofcoping skills and cognitive restructuring exercises that
    will enable Ms. Orrego to become more effective in her daily life and help her avoid and
    remediate emotional distress.

    GENERALIZED SELF-EFFICACY SCALE
    On the Generalized Self-Efficacy Scale, Ms. Orrego's results signaled a decreased sense ofself-
    efficacy. She lacks confidence in her ability to exert control over her life and environment She
    requires psychological treatment that will highlight her strengths and capabilities to help increase
    her sense ofself-efficacy and confidence.

    Self-efficacy refers to the beliefin the ability to deal with challenging encounters. It is one's
    beliefthat they have the capacity to organize and execute the necessary course ofaction to
    manage situations as they come up.Low self-efficacy affects thought patterns, actions,and
    physical and emotional states ofarousal. Individuals with low self-efficacy experience anxiety,
    hopelessness,and anger. They find it harder to bounce back after adversity. Therefore,
    psychological treatment is critical to highli^t strengths and challenge negative attributions that
    are made about the selfto increase die level ofself-efficacy.

    PSYCHOLOGICAL INFLEXIBILITY IN PAIN SCALE(PIPS)
    On the Psychological Inflexibility in Pain Scale(PIPS),the following items were endorsed as being
    ^'always true."

    "I say things like,"I don't have the energy","I'm not well enough" and/or "I have too much pain;"
    I need to understand what is wrong in order to move on;I avoid doing things when there is a risk
    it will hurt or make things worse; it is important to understand what causes my pain; I don't do
    things that are important to me to avoid pain; I postpone filings because of my pain; I would do
    almost anything to get rid of my pain; It is important that I learn to control my pain; and, it's not
    me that controls my life, it's my pain."

    PAIN EXPERIENCE SCALE
    On the Pain Eiqierience Scale, Ms.Orrego r^rts frustration, irritability, anger and depression
    as a result ofpain. She feels anxious and overwhelmed. She thinks about h^ pain getting worse
    and is afiaid that it will get worse over time. She wonders what it would be like to never have
    any pain, wonders how long it will last, finds it difficult to think about anything other than her
    pain, and thinks '^it is so hard to do anything when I have pain." She feels sorry for herself and
    feels disappointed with herselffor giving into the pain. She feels impatient with others,feels like
    everyone is getting on her nerves, and thinks the pain is driving her"crazy." She worries about
    her family. Lastly,she wonders whether life is worth living.

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    MDLTl-DIlVDEa^SIONAL PAIN INVENTORY
    The Multidimensional Pain Jnventoiy,a standardized psychological test, consists of12 pain
    empirically derived scales which assess the impact ofpain on the following issues: pain severity,
    perceived interference ofpain in life activities, affective distress, perceived control over life,
    support from significant others,responses by significant others,and the performance ofa set of
    common activities. The multidimensional pain inventory required the patient to re^ond to
    numerous questions specifically related to their current pain problem &ese responses were
    statistically compared to a normative sample of patients experiencing similar symptoms. On the
    Multidimensional Pain Inventory, Ms.Omgo's responses indicated that she is experiencing a
    decrease in general activity level.

    CEIRONIC PAIN ACCEPTANCE QUESTIONNAIRE
    The Chronic Pain Acceptance Questionnaire assesses for a patient's global acceptance ofchronic
    pain, which includes two fiu:tors: activity ofengagement and pain willingness. Ms.Orrego's
    responses indicate that she has a decreased ability to engage in and pursue valued life activities
    as a result ofpain. Additionally,she has a decreased ability to recognize that avoidance and
    control are unsuccessful in managing chronic pain. These results suggest that Ms. Orrego has not
    fully accepted her chronic pain.

    SUMMARY
    Lidia Orrego is suffering firom symptoms ofdepression since sustaining injuries in a work-
    related accident She is ^so e^qjeriencing pain and disability. She is unable to function the way
    that she would like to in h^ daily life due to ongoing difticulties. Psychological will focus on
    providing supportive care, coping skills training,cognitive restructuring, relaxation training, and
    other techniques needed to help her take steps towards moving forward in her life.
    The symptoms reported, as well as the results ofthis evaluation, are consequentiaUy related to
    the incident which occurred on October 23,2018.

    Therefore, Dr. Sesin will continue to provide a full course ofpsychological treatment to Ms.
    Orrego for symptoms ofdepression.

    DIAGNOSIS
    F32.2    Major Depressive Disorder, Single Episode Severe w/o Psychotic Features
    F45.42 Pain Disorder with Related Psychological Factors

    Chronic pain/disability




    Maria Sesin,PhJ3.
    Psychologist


    Tarryn Mdet,Psy.D
    Psychologist



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                                                                                                                  75
                                       Rationalefor Testing and Test Selection

    For clinical psychologists,assessment is second only to p^chotfaerapy in terms ofits professional
    importance. There is significant clinical value in a multimethod assessment. Use ofonly a clinical
    interview to obtain information fiom a patient is likely to lead to an incomplete understanding ofa patient
    and faulty conclusions.In combination widi a clinical interview, psychological testing assists in the
    clearer identification ofsymptoms that patients are suffering fix)m,as well as patients who may be at
    higher risk. By using different modalities ofassessment,distress is identified more readily which thereby
    leads to improved medical treatment outcomes, patient satis&ction,and decreased treatm^ lengtii.
    Undetected p^chological distress leads to worse outcomes,poor treatment response, and potential for
     increased somatic complaints.

    The goal ofevaluation and assesmient is to identify therapeutic needs,highlight p^chological issues and
    their severity, describe currentfunctioning,recommend forms ofintervention, and formulate an
     empirically informed working treatment plan.

    Te^ included in this report are psychometrically sound,and normed and standardized allowing for more
    precise measurement of p^chological/^otional/behavioral problems for the purpose identified above.
    PTSD Checklist(PCL-5)
     The PCL-5 identifies key symptoms ofPosttraumatic Stress Disorder.It clarifies what symptom criteria
     are met,as well as provides a severity level ofthe current symptmns.

    The PCLrS is considered the gold standard for monitoring symptom change during and after treatment,
    screen patients for Posttraumatic Stress Disorder(PTSD)and for the purpose ofmaking a provisional
    PTSD diagnosis. PCL-5 has been validated for assessing for the emotional sequala ofcivilian trauma and
    PTSD.


    Beck Depression Imentory-U(BDI-U)
     The BDI-II assesses tiie presence ofdepressive-related symptomology,as well as the severity level of
     associated tymptoms.

     The Beck Dq)ression Inventory-II is an effective measure ofdepressed mood whose utility has bera
     repeatedly demonstrated anoss clinical and research populations.Its use is widespread both clinically and
     as a dependent meffiRire in outcome studies ofp^chotherapy and antidepressant treatment. The BDI has
     been used univers^for over 35 years.
     P^chometric properties the              ere sound. Coefticient alpha estimates ofreliability for the BDI-U
     with outpatients was.92 and               the non-clinical sample. The test-retest reliability coefficient
     across tiie period ofa week WSS              at.93. Concurrent validity showed moderately high correlation
     with simile measures ofdqm|ion(r =.71).

     Beck Anxiety Inventory(BAI)                                  '^
     The BAI assesses tiie presrace ofanxiety-related symp|si^D||ofy,as well as the severity level of
     associated symptoms.

     The Beck Anxiety Inventory consists ofherns measuring pibysiological and eogohive aspects ofanxiety.
     The BAI has been found to discriminate well between anxious and non-anxious diagnostic groups in a
     variety ofclinical populations.It has also been demonstrate to be responsive to change over time among
     both psychiatric populations and medical populations.

     The BAI has an excellent internal consistency(Cronbach's alpha=.92)and a one-week r^st reliability
     coefficient of.75).In terms of validity. The BAI is moderately correlated with similar anxiety measures
    (.51).

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    Beck HopelessnessScale(BBS)
    The BHS assesses the affective, motivational, and cognitive aspects ofhopelessness. The Beck
    Hopelessness Scale has been the mostfrequently used instrument for measurement ofhopelessness in the
    past40 years. Research on the BHS consistently supports a positive relationship between BHS scores and
    measures ofdepression and suicidal intent/ideation. This measure is also used to assess diose individuals
    at risk for committing suicide.

    The BHS has a Kuder-Richardson-20 internal consistenQ^ coefhcient of.93 and correlates well(.63)with
    the pessimism item ofthe Beck Depression Inventory.

    BriefSyn^tom Inventoty-lS(BSI-18)
    The BSI-18 assesses overall psychological distress. The BriefSymptom Inventory is a highly sensitive
    assessment ofpsychological distress and p^chological disorders in medical and community populations.
    It has been validated in both community and medically complex samples.It is designed with a high
    degree ofreliability in mind as well as to support clinical decision-making and to monitor progress
    throughout treatment. The BSI-18 is used in clinical settings to assess for psychological problems at
    intake, measure progress/change during and after treatment,support treatment planning,and provide
    outcome measures for treatment programs.

    The BSI-18 is composed ofduee tymptom scales-somatization, depression,and anxiety. It also
    provides a Global Severity Index, which helps measure overall psychological distress level. The symptom
    scales and global scores correlate highly(> .90) with alternative measures of ptychological distress

    The psychometric properties ofthe BSI-18 have been investigated cross-culturally.In each study,the
    BSI-18 Global Severity Index has shown excellent internal consistency.

    Symplom Checklist 90'Revlsed(SCL-90'R)
    The SCL-90-R evaluates the psychological tymptom patterns of psychiatric and medical populations, as
    well as non-patient populations.It is highly usefrl in case identification, case conceptualization and
    treatment planning.

    The psychometric properties ofthe SCL-90-R have been thoroughly researched and each offiie nine
    symptom categories have exhibited good internal consistency(coefficient alpha from .77 to .90)and high
    concurrent validity      the MMPI.

    The assessment ofcajhodivis/affective depression has excellent internal consistency of.89 and the
    assessment ofsomatic dqnessiqifhQS adequate internal consistency of.62. Validity correlations range
    fi:om .1S-.72 for depression^       anxiety and .44-.71 for interpersonal sensitivity.

    Quality ofL^e Invetttotyi{
    The QOLI assesses die indivhhiai's perceived quality and satisfaction with their life. The QOLI is
    theoretically grounded in the perspective that life satisfrunion is based on the discrepanrty between what
    an individual has and what the individual desires in vati^ areas oflife. This measure has been used
    extensively in well-being outcome,descriptive, and case studies widi both clinical and non-clinical
    populations.

    Quality oflife is an important aspect to assess, particularly for treatment planning.It helps identify the
    patient's sources offulfillment The concept ofquality oflife has been understood to be related to both
    physical and emotional well-being and therefore can help increase die likelihood ofsuccessful treatment
    outcomes.




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    The QOLI has been ibund to be p^chometrically sound, with good reliability and validity.It has also
    demonstrated sensitivity to change following treatment The QOLI has concuirent, discriminant,
    predictive and criterion-related validity in clinical and non-clinical populations.

    Cognitive Distortions Scales(CDS)
    The CDS assesses for the presence ofcognitive distortions that may interfere with optimal functioning.
    Dysfunctional thinking patterns include: self-criticism,self-blame, helplessness, hopelessness, and
    preoccupation wifo danger. Assessing and understanding cognitive distortions and/or unhelpful drinking
    patterns that an individual may hold will enable the provision ofappropriate treatment planning. A
    patient's emotional reactions to events are often affected by the mechanisms with which information is
    processed and negatively biased cognitive processes lead to maladi^tive emotional and behavioral
    consequences. Challenging and eventually altering distorted thinking patterns are an essential component
    ofcognitive-behavioral therapy.

    The CDS is a valid and reliable measure that has been used in clinical and non-clinical populations to
    assess for a patirafs thinking patterns. Reliability coefficients for the CDS scales among a normative
    sample ranged from .89 to .97, with an overall mean CDS scale alpha of.93. The scale alphas for the
    clinical sample ranged from .94 to .98, with an overall mean alpha of.96. Alpha values ofthis magnitude
    indicate very high internal consistency reliability. The CDS was also found to have construct,convergent,
    and discriminant validity in foe general population and clinical samples.

    Generalized Self-Efficacy Scale(GSE)
    The GSE was administered for the purpose ofassessing an individual's beiiefo related to their ability to
    respond to various life circumstances and cope with adversity or setbacks. Perceived self-effica(ty
    facilitates goal-setting, effort investment, persistence in foe foce ofbarriers, and recovery from sefoacks.
    Recent pain literature research focuses on the role ofself-efficacy in one's ability to manage stressful life
    experiences.

    Identification ofthe beliefin one's ability to react to and control environmental demands helps gain an
    understanding ofa patient's sense ofconfidence in their ability to successfully manage an illness and/or
    follow through with behavior change.

    In samples from 23 nations, Cronbach's alphas ranged from .76 to .90, with the majority being foe high
    .80s. Criterion-related validity has been documented in numerous correlation studies where positive
    coefRcients were found with favorable emotions, dispositional optimism,and woik satisfaction. Negative
    coefficients were found with depression, anxiety, stress, burnout,and health complaints.
                             y
    Pain Experience Scale(PES)
    The PBS provides qualitative information regarding foe individual's pain-related emotional reactions.
    More specifically,foe PES provides a direct personal account offoe individual's reaction to their physical
    pain and highlights foe fie<|[uency ofwhich this occurs.The PES also allows for a better understanding of
    foe individual's specific affective/cognitive responses to pain to help guide p^chological care moving
    forward.

    PsychologicalInflexibility in Pain Scale(PIPSO
    The PIPS assesses a patient's psychologic^ inflexibility in foe context ofpain. The PIPS focuses on two
    factors ofp^chological inflexibility: avoidance of pain and cognitive fusion with pain. The concept of
    p^chological flexibility theorizes that p^chologic^Iy flrndble individuals are able to pursue foeir values
    and goals despite pain and ofoer discomforts. Research has found thatfoe PIPS mediates foe relationship
    between pain and disability The PIPS is theoretically grounded in Acceptance and Commitment Therapy,
    which has long demonstrated the effectiveness oftreatment chronic pain.



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    The PIPS has demonstrated good internal consistency widi Cronbach's alphas of.90(avoidance,.75
    (fusion)and .89(total scale). The intercorrelation between the subscales wasfound to be .46. Concurrent
    validity was also found to be good.

    ChrotUc Pain Acceptance Questionnaire(CPAQ)
    The CPAQ assesses a patient's global acceptance ofchronic pain. Acceptance of pain is associated with a
    reduction in unsuccessful att^pts to avoid or control pain. Behavioral treatment for chronic pain
    encourages die development ofvarious p^chological processes sudi as acceptance to help patients focus
    on value-driven behavior and pursing meaningful goals. CPAQ results help to identify fear and
    avoidance, which are central p^chological mechanisms underlying chronic pain and has been shown to
    predict depression and disability.

    The CPAQ is comprised oftwo factors and demonstrates veiy good to excellent internal consistency with
    alphas of.82 and .78. The CPAQ also demonstrates moderate to high correlations with measures of
    avoidance, distress, and daily functioning. The two foctors that comprise the CPAQ have been found to
    significantly predict pain-related disability and distress,thus demonstrating predictive validity.

    MultidimensionalPain Inventory(MPI)
    The MPI assesses the impact of pain on various domains ofan individual's life. Responses are
    statistically compared to a normative sample of patients experiencing similar symptoms.This comparison
    provides the healfii care provider with information regarding the patient's perception of pain,as well as
    highlights situations wherein an individual's affective distress may impact their response to the treatment
    oftheir physical healdi.

    The MPI is one ofthe most commonly and widely used instruments ofpain-ielated variables in medical
    settings. It has been used both clinically and in research.In clinical settings,the MPI allows clinicians to
    identify primary issues within the specific chronic pain patient that is being treated.

    The median internal consistency ofthe scales that make up the MPI is .77 and the median 2-week test-
    retest reliability is .84 in initial validation studies. The subscales have internal reliability coefficients
    ranging from .70 to.90 and test retest reliabilities ranging fixrm .62 to .91. These scales were also
    significantly correlated with several criterion measures ofanxiety, depression, marital satisfoction, pain
    severity and health locus ofcontrol.




                                                     Page 9of9
 Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 80 of 145 PageID #: 395
                                                                                                                                         24380268



                                                    Exhibit 9
                                                         STATE OF NEW YORK
                                                                                                                                  79



           NEW                                   WORKERS'COMPENSATION BOARD
           YORK
                      Workers'                                 PO BOX 5205
               TATE   Coinpensation                 BINGHAMTON,NY 13902-5205
                                                               www.wcb.ny.gov
                      Board
Clarissa M.Rodifgua                                           (877)632-4996
       Chair




                                    State of New York - Workers' Compensation Board
                                   In regard to Lidia M Orrego, WCB Case #G258 4330

                                                      NOTICE OF DECISION
                                                             keepfor your records


           At the Workers' Compensation hearing held on 10/31/2019 involving the claim of Lidia M Orrego at the Queens
           hearing location. Judge Barry Greenberg made the following decision, findings and directions:
           DECISION: Claimant did not appear at the hearing, or was otherwise not prepared to proceed.

           Form(s)C-8.1 which raised issues relating to treatment and/or disputed medical bills are resolved in favor of the
           carrier without prejudice to establishment ofthe claim. Place on notice- Cannon Cochrane Management services
           inc po box 1127 Neptune NJ 07754 as third party administarotor (T#)100134.1 find prima facie medical
           evidence for the neck back right wrist both knees and major depressive disorder. Claimant is alleging an
           occupational disease claim, not an accident claim. Claimant to produce C-3 reflecting current claim. The claimant
           was present, but was not prepared to prosecute the claim. No further action is planned by the Board at this time.




           Claimant -              Lidia M Orrego                       Employer -            Kevin & Stephanieanna
           Social Security No. -                                        Carrier -             New York Marine & General
           WCB Case No. -          G258 4330                            Carrier ID No. -      W156665
           Date of Accident -       10/23/2018                          Carrier Case No.-     18P05J084317
           District Office -        NYC                                 Date of Filing ofthis Decision- 11/05/2019

                                                                  ATENCION:

           Puede liamar a la oficina de la Junta dc Compensacion Obrera,en su area correspondicnte, cuyo numero de telefono aparece al
           principio de la pagina y pida informacion acerca de su reclamacion(caso).

           EC-23(4/98)                                                                                                      Page 1 of 1
     Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 81 of 145 PageID #: 396
                                                                                                                     miii


(48S0IS847B367-1



                                                                      Copies To:                    Case #0258 4330
                                                                      Claimant:                     Lidia M Orrego
                                                                      Carrier:                            .XorV Marino ^
                                                                      Employer:                         Levin & Stephanieanna
                                                                      Other                         Pasteriiack, Tilker, Ziegler
                                                                                                    Cannon Cochrance Mgmt Servs
                                                                                                    Yi Luam
                     Lidia M Orrego
                     95 08 Queens Blvd #3E                                                          Jeffrey Rosner
                     RegoPark, NY 11374                                                             Stephen Rose!)




                                                      NOTICE TO INJURED WORKER

               1. Any compensation due will be sent to you by check by the employer or insurance carrier.

              2. Keep a careful record ofthe payments received in order that you may have evidence of payment or
                   nonpayment in case of dispute.

              3. Do not pay anything to anyone representing you. If you hire a lawyer or licensed representative, the fee will
                   be set by a W.C.Law Judge. The fee will be deducted from your award and paid by separate check directly
                   to the lawyer or licensed representative by the employer or the insurance carrier.

              4. Except for Volvmteer Firefighters' and Volunteer Ambulance Workers'claims, no lost wage benefits are paid
                 for the first seven days ofdisability unless the disability extends beyond 14 days.
              5. If your case was continued and the Judge directed that your benefits are to continue, the insurance company
                   or self-insured employer must keep paying you until:

                   (a) you have another hearing and the Judge stops or changes your benefits

                   or



                   (b) your employer or insurance company has evidence that you have retumed to work at regular pay or a report
                   from your doctor stating you have no disabilit>' and submits this evidence to the Workers' Compensation Board.
              6. If you wish to apply for administrative review ofany part or all ofthe Judge's decision, your application must be
                  in writing and received by the Board within 30 days ofthe filing date ofthis decision. The filing date is on the
                  other side of this form in the lower right-hand comer. You may deliver your application in person to the District
                   office or send it by mail.

              7. If you have any further questions, you may contact your district office by mail or by telephone. The address of
                   your district office is:

                                                         STATE OF NEW YORK
                                                    WORKERS'COMPENSATION BOARD
                                                                 PO BOX 5205
                                                      BINGHAMTON,NY 13902-5205

                                                        Phone Number: (877)632-4996




              EC-23(4/98)                                          OVER
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7/13/2020                                                   Gmail - CASE REPORT DATE 05-28-2020                                         gI


  M Gmail
                                                       Exhibit 10                                  Lidia Orrego <liorrego@gmail.com>



  CASE REPORT DATE 05-28-2020

  Lidia Orrego <liorrego@gmail.coni>                                                                           11 de junio de 2020,16:33
  Para: debra.karpf@hhsnassaucountyny.us
  Cc: Lidia Orrego <liorrego@gmail.com>


    Good afternoon, Mrs. Debra,

    My name is Lidia Orrego and I was the one who reported on the Knipfing Family in Old Westbury.

    I am fluent in Spanish so I will do my best with the translation.

    I give you a detail of the people involved:

    Parents/Nannies:

    - Kevin K.(father)
    - Stephanienna K.(mother)
    - Teresa A. Z.(TAZ)(my supervisor- nanny children's aunt - Sthephanienna K.'s Sister) She threatens Rebecca with showing
    videos of her abuse with the 3-year-old gid.
    For this reason Teresa discriminates against her as well as me in daily fights in the presence of children. All of this was also
    entered into my EEOC complaint,
    Teresa A. Z's abuse of children.
    - Rebeca L /U (other nanny, my coworker, who has a long list of other victims, witnesses, recordings, photos, videos, also told
    me that Teresa A. Zantua
    has a restraining order from another person whom she also discriminated against and abused. All of this I have recordings as
    evidence. In addition, my mother is also a
    witness when Rebeca comments on all the abuse and mistreatment.)

    People who knew about abuse and mistreatment:

    - Skylar T.(house manager)
    - Cristina C.(housekeeper)
    - Shannon S.(teacher)
    - Guest Priests who confessed to the childrer
    There were guest priests who came to stay inside the house for weeks.

    Other people who have knowledge of some events or witnessed fighting and threats:

    - Gerardo G.(chef)
    - Steve S.(manager)
    - Mike D.(friend)

    People who know of abuse and mistreatment but they never gave me advice that I should make the report to Child
    Protection Services:

    - Tefta and Irma (employer's investigators)

   •These people even told me that everything was confidential, they did not even allow me to speak to anyone unless they
    authorized me.
   - Alexander C.(former lawyer)
   - Derek S.(former lawyer)
   - Danny M.(former paralegal)
   - Matthew F.(former lawyer)
   - Michael B.(former lawyer)
   - Pablo M.(former paralegal)
   - Peter R.(former lawyer)
   - David 8.(former lawyer)
   - Deborah R.(Investigator EEOC)
   - Debra R.(Investigator EEOC/ Mediator)


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    Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 83 of 145 PageID #: 398

7/13/2020                                                  Gmafl - CASE REPORT DATE 05-28-2020                                             g2
    I will be sending you emails with all the reports, pictures, recordings, text messages, notes with dates which you can check with
    the cameras of the house where
    you can see many details and which I indicated to investigators in November 2018. About the recordings, many are in Spanish,
    so I could tell you what it says especially where
    it talks about child abuse and mistreatment. I also have the recording of what was discussed with the investigators. Even the last
    assault and battery I suffered as of October 23, 2018
    that I told Stephanieanna that she could check in the cameras by text message and email.

    All of these abuses and mistreatments were reported by my attomey to the EEOC on 01-31-2019, but they never told me that I
    should report to CPS, even the EEOC Investigator, Debra R.
    also did not tell me in mediation that I had to report all this so that all the abuses could be investigated and corroborated,
    attached the EEOC complaint see points 16-17-18.

    I attach the formal complaint on November 2, 2018 and EEOC Charges on January 31, 2019.

    Childrens: aoe in the year 2018

    -                            whom they gave sleeping pills, tranquilizers, pills for bruises and for constant stomach pain, all over
    the girl was used to taking pills. When I started
    working at home,the giii already had cavities because no one was brushing her. Furthermore, Rebeca told me that no one had
    ever told her that she should brush her teeth,(see report of the dentist).
    Rebeca L. constantly told me to prevent the mother from giving her pills and she also always informed me when the mother
    gave them, on one of those occasions I was able to record
     this statement that I also presented to Mr. Kevin K. for the investigation.
    The girl disappeared 6 hours a day(so as not to disturb the parents) with the other babysitter Rebeca and when she retumed to
    the the girl was sick at home, vomited, had panic attacks,
    anxiety, I had also reported bruising on occasions but no one asked why she had the bruises.
    The other Nanny Rebeca,gave her candies all day and so that the girl would obey, she would tell her in Spanish that she would
    give her candies if she obeyed like that, the other employees
    did not understand that she was training the girl. Rebeca L. told me all the time that Teresa A. Zantua was doing something to
    th6||m||||||girl and we should protect her, several times
    she even cried because she told me that something very bad was happening and that we should report to Kevin K. that we were
    going to waste time denouncing the mother because she
    also participates in these abuses and makes her aware. I always had to check the girl several times when she fell asleep, if she
    breathed normally or not because I was afraid that something
    would happen to her if they were given so many pills.
    Everything bad that happened to the girl, Rebeca reported to me that she was Aunt Teresa. But in reality it was both who
    mistreated the girl. Rebecca even cried desperately saying that we
    must protect the girl.
    The girl also confirmed that the candies were in Rebecca's car and she always showed me where the candies were hidden in
    the house in Rebecca's room or in the girl. Which I removed and
    threw away because it could harm the girl and make her prone to illness.
    The Aunt Teresa A. Z. told me that she should give the girl sweets as Rebecca does. Nobody or her mother cares that they give
    her sweets, so I should do the same. But on the contrary,
    I kept her from eating the candies, so the girl became depressed and cried, so the mother gave her pills that she brought from
    her room.




       ie boy was violent and had no compassion when he intiicted any pain, he always hit me and Aunt Teresa A.Z.justified all this
    with racist comments when I asked him to stop hitting me.
    I also taught her to discriminate saying that they should not allow me to speak in Spanish and she told the child to watch me if I
    recorded what she was saying, but I have a recording and other
     text messages where she orders me not to speak Spanish even when she is not present. Ail of these abuses were in the car.
    But one of the abuses occurred in the house and I denounced so
    that th^could corroborate the cameras on 10-23-2018 and I have the recording of this last phvsical assault.
                  Teinfi^o^sTe^nrT^galnnT^Sffe^ryln^unT^ai^Te couldn't tell me anything.
    The dentist had to extract the teeth because they were rotten because the teeth were never cleaned. The dentist has an office in
    Jericho Gardens.

                     1: This girl had panic attacks and depression, she cried without reason, several times she was mistreated in my
    presence by her aunt. She always locked herself In her closet with the
               sister. According to Rebeca's statement, her aunt abused and mistreated ail the time in front of Shannon (teacher)
    an^ierrnother, nobody defended her or her sistersm

httpsy/man.google.cofn/ma3/u/0?tk=9e8fe57240&vi8w=:pt&search=al!&pennmsgid-m8g-a%3Ar-68847708503531295&dsq^1&8impl=msg-a%3Ar-588...        2/3
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7/13/2020                                                   Gmall-CASE REPORT DATE 05-28-2020                                               g3
    - SHHH||||||||||H According to the statements of Rebeca L.                                                   Teresa's abuse. This
    had also bee^ol^o me by Cristina Colmbra
    who found the bed wet in the morning. When I was working helping the housekeeper I also found SH|'sH|BB||H|
             She also hides in the closet.

    The mother Stephanieanna for days did not take care of the children, especially them^^^m whom she avoided all day.
    so she preferred that the girl not be in the house.Stephanieanna was
    locked in her closet every day, nobody knew what she was doing because she doesn't work.

    Auntie Teresa A. Z. also encouraged the childrens to discriminate against us and call us "Stupid Mexicans" and other racial or
    degrading insults all the time and made fun of Hispanic nannies.

    Also in that investigation it had denounced that Teresa A.Z. was the driver who repeatedly endangered the children and me for
    driving with excessive speed, texting or talking on the phone,
    crossing a red light, a stop sign and even confronting and cursing other drivers, putting everyone in the vehicle at risk. On one
    occasion, the police stopped us and she avoided charges against
    him saying that she was Kevin K.'s sister-in-law.

    As I was also a victim of discrimination, physical and emotional abuse in the Knipfing house, I have pending cases in Court I am
    until today under physical and emotional treatment
    of which I have documentation, my previous lawyers never told me that I had to report all this to the contrary, they were harming
    me and pressuring me that no one should know
    anything about this, everything should be handled confidentially.

    The Judge in my Work Compensation case has determined that there is physical evidence of my injuries and all the doctors
    have determined that my injuries also agree with what happened.
    I was diagnosed with PTSD and Major Depression for this reason, a lot of information was blocked or I didn't remember until I
    started making notes with my psychologist.
    Much of this information was given in writing to my former lawyers but none of them encouraged me to make the Report, also
    They did not report it on my behalf because the abusers
    were still with the children.

    I could no longer contain so much anguish and suffering to report all that abuse and mistreatment, because it is horrible what
    they do with them even more now that
    1 remember many more things that were blocked by PTSD and for everything they did to me Now I'm recovering to be able to
    defend those children and defend myself.
    If I as an adult have affected me so much, imagine what some children who stay with these abusers can do throughout this time.
    They also fired me, the person who made
    verbal complaints all the time until I had to get to the complaint in writing to stop those abuses. I got fired with false statements
    to cover the discrimination and abuse I suffered
    as well as the abuse and mistreatment of children intimidating me with investigators and even a false NDA (Non-Disclosure
    Agreement)telling me that nobody could see the
    complaint I sent by email about this whole situation on Nov 2, 2018. All of this will be exposed in my Lawsuit in Federal Court.

    Best regards,

    Lidia Orrego

    2 adjuntos
    cgh 11-02-2018 Gmail - MY SITUATION A WORK FOR 8 MONTHS 11-02-2018.pdf
    ^ 131K
        01-21-2018 EEOC CHAR6ES.pclf
     ^ 4151K




https://ma!l.googIe.com/maiI/u/0?ik=9e8fie57240&view=pt&search=ail&permmsg!d=msg-a%3Ar-58847708503531235&dsqt=1&sfmpl=msg-a%3Ar-588...       3/3
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7/12^020                                                                  Gmail - Email 2                                             g4



           Gmail                                  Exhibit 11 Lidia Orrego <liorrego@gmail.com>
  Email 2
  1 mensaje

  Lidia Orrego <liorrego@gmail.oom>                                                                           19 de junio de 2020,11:06
  Para: debra.karpf@hhsnassaucountyny.us
  Ck:: Lidia Orrego <IicrFego@gmail.com>

    Good morning Ms. Debra, i send you Email No.2- 3-4- 5 and 6 with all the information, if you have any questions please let
    me know. CASE KNIPFING FAMILY

    I apologize if there is any error in the translation, I did my best

    Warm regards,

    Lidia Orrego

    3 adjuntos
    ^ CPS NOTE 2.docx
    ^ 16K
    ^ CPS NOTE 1.docx
    ^ 14K
         MESSAGES FROM SKYLAR T.pdf
     ^ 796K




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      Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 86 of 145 PageID #: 401

11/10/2018                                                      Gmail - Fwd: New Nanny... Lidia



              Gmail                                          Exhibit 12                                 Lidia Orrago <iorrego^mali.com>



    Fwd: New Nanny... Lidia
    2 mensajes

    Skyfar Testa <sl(yfartesta@gnfiail.oom>
    Para: Lidia Orrago <ncrrego@ginail.com>

      Udla.

      Hera Is a copy of your NDA(Non Oisdosura Agraement).

      Best,

     Skylar
     310.926.7236
      SkylarTesta@gmail.com

           2018-01-31 22-20.pdf
      ^ 5461K


    Lidia Orrago <!torrago@gmal.com>                                                                           1 de noviembra de 2018,18:52
    Para: Skylar Testa <skylartesta@gma!l.com>

     Thank you I Only the paystubs ara missing.
     [B (exto dtado estd ocuflo]




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©
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 87 of 145 PageID #: 402

                                                                                                              86

     Two-Page NDA : Document attached email dated Nov 01,2018 from Skylar Testa



                        SERVICE raOVroEB fONWDEWTIAUTY AGRBBMEWT

                TM«              U         imil         InM rfllmiw      nf I,           CA"
         20IS bctwcca Kevin Katpfing (sIl/s Kevin Juno)tndSlcpliBiK3aiuJtineS'4Ciapiing<a/M
         StcJ{iuia dc li CiuzXcotlccnvdy the "Employer),on the one huui. utd
                                             ("Em^oyec");on the otjier hmd((omctimo caltectivdy
         Fcfcncd to t> the"Petio")

         1.     CONDITION OF RF.NDF.Rn<« SERVICES

                 As a condition of and in contidaaUon fot Employee's employracnt with,and for good
         and valuable coosidctaiioa and benefits, the receipt of which is hueby acknowledgeiL Employee
         agrees to the terms ofthis Conndcntiality Agreement CAgreement'^ and to strictly comply with
         each ofits terms and conditions

         2.      CON'yinENTIAI.INKORMATION

                A.              DEFINED TERhl

                Employee acknowledges and agrees that in connection ssiih Employee's tendcnng
         setsices for the limployet. Employee may obtain, overhear or otherwise become aware of
         informatiun atuEut documents constituting or concerning

                        (i)     business and'or pcrveial int'ormalirxi absiul the Employer, family members
         ofthe Employer, the Employer's pavi and present friends and avvociucs. and the past and present
         represcntaiises and employees of the Employ ci and any companies the Emptoycr owns or
         controls(including but not limited to Still ltddic, Inc i. whether individually « collectively,and
         the oflicers. directors, shareholders, mcmlviv. managers, agents, and employees ofany such
         ctHnpaaics(referred to coHectisdy as the'(Employet-Rcliicd Parties").
                        (ii)    private and confidential mailers cinccming Kevin Knipfmg.
         Stcphoiieaima James-Knipling and'or any of ihc Employei-Rclaled Parties.
                        (iti) financial, businesv. mcvbcal. legal and comiaetual matters of.or pcnaiitii%
         to. Kevin Knipling. Stcphanieanna Jamcv-Knipfmg. the Employer,and'or any ofthe Employer-
         Related Parties.

                        <iv)                                                      ipfing. Stcphanieanna


                      tiv)     persons or ouuncss cmiiio wish wmau wssim niu|>iii.B.
        James-Knipfing.the Employer,and/or any ofIhc Elmployer-Rclalcd Paitics hav e any past or
        present legal, contractual. Dnancial. professional or other business rdationsbip; and
                      (v)      bsisincsa records,personal rocrads. letters,roeroonnda.faxes,cattails.
        eonaaets. photographs,films,videotapes, round recordings,audio tracks or doeumewsa other
        writtngs.including any negatives, prints, or copies thereof, pcnuning in any way to Kevin
        Knipfiii^ Sttphanicanoa James-Knipfing.or any ofthe Employer-Related Patties.
               Employee agrees that for purposes ofthis Agreement,lefcieuces to"Kevin Kiupfisg
        and "Stcphanicaima James-Knipfing'* include tcfctcnces to both the private indtviduals to named




                                                              Kevin Kttipfing




                                                      Print Isttme                OiV
                                                      Addiets
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 88 of 145 PageID #: 403

                                                                                                          87
                                     Exhibit 13
                                                                      TWO-PAGE NDA
                   SKRVICE PROVBDgR CONFTOKNTlALrn^CTEEMENT
            This Agreement is created and entered into efPgtivfi.as-«f:. I
    2018 between Kevin Knipfing (a/k/a Kevinjames)^^
    Steffiana de la Cruz)(collectively tlwjiElSjployer), on the one hand, rad
                                     ^^^mployee"),on the other hand (sometimes collectively
    referred to as the "Parties").

    1.      CONDITION OF RENDER                    SERVICES
           As a condition ofand in consideration for Employee's employment with, and for good
    and valuable consideration and benefits, the receipt of which is hereby acknowledged. Employee
    agrees to the terms ofthis Confidentiality .Agreement("Agreement')and to strictly comply with
    each ofits terms and conditions.

    2.      CONFIDENTIAL INFORMATION

            A.              DEFINED TERM

            Employee acknowledges and agrees that in connection with Employee's rendering
    semces for the Employer, Employee may obtain, overhear or otherwise become aware ot
    information and/or documents constituting or concerning;
                   (i) business and/or personal information about the Employer,family members
     ofthe Employer,the Employer's past and present friends and associates, and the past and present
     representatives and employees ofthe Employer and any companies the Employer mvns or
     controls(including but not limited to Still Eddie, Inc ), whether individual y or col ectively and
    the officers, directors, shareholders, members, managers, agents, and employees ot any such
    companies(referred to collectively as the '[Employer-Related Parties ),
                    (ii) private and confidential matters concerning Kevin Knipfing,
     Stephanieanna James-Knipling and/or any ofthe Employer-Related Parties;
                   (iii) financial business, medical, legal and contractual matters of, or pertatning
     to. Kevin Knipfing. Stephanieaima James-Knipfing. the Employer, ani'or any ofthe Employer-
     Related Parties;

                     (iv) persons or business entities with whom Kevin Kmpfmg,Stephanieanna
     James-Knipfing,the Employer, and/or any ofthe Employer-Related Parties have any past or
     present legal, contractual, financial, professional or other business relationship; and
                    (v) business records, personal records, letters, memoranda,faxes, e-mails,
     contracts, photographs,films, videotapes, sound recordings, audio tracks or docume^ or other
     writings,including any n^atives, prints, or copies thereof, pertaimng m any way to Kevin
     Knipfing, Stephanieanna James-Knipfing,or any ofthe Employer-Related Parties.
            Employee agrees that for purposes ofthis Agreement, references to''Kevin Knipfing"
     and "Stephanieanna James-Knipfing" include references to both the private individuals so named
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                                                                                88




     Dated*                           By:

                                            Kevin Knipfing



                                      'EMPLOYEE'




     Dated:   /   '3/ l>JI'           By:

                                      Print Name:
                                      Address: QS-O^ A.ueg.^S

                                      Phone: "h^X, <^5 3 1   ^
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 90 of 145 PageID #: 405

                                                        Exhibit 14
                                                                                                           89
  SEVEN-Page NDA modified and submitted to the Plaintiffon Nov.06,2018
  from Kevin Knipfing and Skylar Testa.
           ^ SERVICE PROXTOERCONFTOENTIAUT^^GREEME^                                               ^
           This Agreement is created and entered into effectivfi.as-^f^
   ^018   between  Kevin(collectively
    Steffianade la Cruz) Knipfing (aA/a   KevinJamcsr^Stephanieanna
                                      the^iEtSiployer), on the one hand, andJa^    „.,
                                 ___^^"Employee''), on the other hand (sometimes collectively
    ^.referred to as the "Parties").

                             'OFRENDERINC SERVICES
             As a condition ofand in consideration for Employee's employment with, and for good
    and valuable consideration and benefits, the receipt of which is hereby acknowledged,Emp oy^
    agrees to the terms ofthis Confidentiality Agreement("Agreement")and to strictly comply with
     each ofits terms and conditions.

     2.      CONFIDENTIAL INFORMATION

             A.               DEFINED TERM

            Employee acknowledges and agrees that in connection with Employee s rendering
     services for the Employer, Employee may obtain, overhear or otherwise become aware of
     information and/or documents constituting or concerning

                     (i)      business and/or personal information about the Employer,family members
     ofthe Employer, the Employer's past and present friends and associates, and the past and present
     representatives and employees of the Employer and any companies the Employer owns or
     controls(including but not limited to Still Eddie, Inc ), whether individually or collectively, and
     the officers, directors, shareholders, members, managers, agents, and employees of any such
     companies(referred to collectively as the [Employer-Related Parties ),
                     (ii)     private and confidential matters concerning Kevin Knipfing,
     Stephanieanna James-Knipilng and./or any of the Employer-Related Parties;
                   (iii) financial, business, medical, legal and contractual matters of, or pertaining
     to, Kevin Knipfing, Stephanieanna James-Knipfing, the Employer, and-'or any ofthe Employer-
     Related Parties;

                     (iv) persons or business entities with whom Kevin Knipfing, Stephanieanna
     James-Knipfmg,the Employer, and/or any of the Employer-Related Parties have any past or
     present legal, contractual,financial, professional or other business relationship, and
                    (v) business records, personal records, letters, memoranda,faxes,e-mails,
     contracts, photographs, films, videotapes, sound recordings, audio tracks or documents or other
     writings,including any n^atives, prints, or copies thereof, pertaining in any way to Kevin
     Knipfing, Stephanieanna James-Knipfmg,or any ofthe Employer-Related Parties.
            Employee agrees that for purposes ofthis Agreement, references to Kevin Knipfing
     and "Stephanieanna James-Knipfing" include references to both the private individuals so named
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    and their public pereonas and any dealings or undertakings rdating to Aem,including
    limited to the affairs of Kevin lames and/or Steffiana de la Cruz,
    acknowledges and ^ees that all ofthe information, documents and thiny descnbed
    hereinabove which Employee obtains,overhears,learns, has ac^to an^or acquires
    ("acquires")(herein collectively referred to as"Confidential Informabon )is pnvate and
    rortRdential that the EmployCT-Related Parties have a reasonable expectation of privacy
                    cSenCVormation,and that all ofsaid Confidential Informabon is solely
    and exclusively owned by the Employer Related Parties.
            B.             actffment not to disclose
           Employee expressly agrees that Employee shall not,dir^y or indirei^y, veiMly or in
    writing at any time after
    term ofEmployee's         the execution
                         employment         ofthis
                                       with the    Agreement,
                                                Employer's    whetherofbefore,
                                                           provision    servicesdunng
                                                                                 to theorFamily,
                                                                                           aftw the
     publish, disseminate, discuss, disclose(collectively "disclose")or cause                ^
    any Ccmfidential Information to any person,firm or entity whatsoever(including but not lim
    to the print or elecbonic media), without Mr. Knipfing's express written con^nf exwpt. (i)as
    necessary to carry out duties in the course ofEmployee's employm^t ijnth the E^P^yer »
    provision ofservices to the Family;(ii)if disclosure is required ofEmployee by Court Ordw,
    government decree, and/or subpoena;fni)in accordance with Employee s nghts
     federal or local law to communicate with or participate in a proceeding before government
     iMenci« or bodies, or to report possible violations offederal, state, or local law to
     toployee)need not provide notice to the Employer prior to exercising such nghts); (iv)to seek
     advice or information
     employment   provisionconceming
                            ofservicesEmployee's  rights
                                      to the Family] fromandanlegal oblig^ons
                                                               attorney.      relabrig
                                                                         Without limmngto Emp
                                                                                          the oyee s
     foregoing.Employee will not give or participate in any interviews or wnte or prepare,or assist in
     the preparation ofany books, articles, programs,or other oral or wntten communications,
     disclosing or refenring, directly or indirectly, to any Confidential Information, nor confirm or
     deny any information ofany kind(whether rumored or known in any way)relating to any ofthe
     Confidential Information. IfEmployee receives a subpoena for disclosure or rel^e ofany
     Confidential Information, Employee shall,to the extent permitted by law,promptly notify the
     Employer in writing and provide the Employer with a copy ofsuch subpoena
             Pursuant to 18 USC § 1833(b), an individual may not be held criminally or avilly liable
     under any federal or state trade secret law for disclosure ofa trade secret(as d^n^ by 18 U
     S 1839)-(i)made in confidence to a government official, either directly or indirectly, or to an
     attoraey, solely for the purpose ofreporting orinvestigating a suspected vidation oflaw; and/w
     (ii)in a complaint or other document filed in a lawsuit or other proceeding, if such filing is made
     under seal. Additionally, an individual suing for retaliation based on the reporting of a s^pected
      violation oflaw may disclose a trade secret to his or her attorney and use &e trade secret
      information in the court proceeding, so long as any document containing tiie trade secret is filed
      under seal and the individual does not disclose the trade secret except pursuant to court order.
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           C.             DTSCLOSUI^y- OF CONFIDENTIAL INFORMATION IS
                          WRONGFUL


           Employee acknowledges and understands that substantial efforts have b^n and will be
    dedicated to protect the privacy and confidentiality ofthe Confidential Informaticm, and to
    prevent the sometimes intrusive activities ofthe tabloid press, other media and oAer memb^ o
    the public to obtain confidential personal and business information about Kevin piipnng
    Kevin James, Stepfaanieanna James-Knipfing a/k/a Steffiana de la Cruz, and/or the Employer-
    Related Parties. Employee further acknowledges and understands that Employee s coven^t and
    agreement not to disclose, sell, or exploit any ofthe Confidential Information is an essential part
    ofthe Employer-Related Parties' efforts to maintain the privacy ofthe Confidential Moimation
    and a material condition ofthe Employer agreeing to employ Employee. Employee forther
    acknowledges that any disclosure by Employee to any third-party ofany Confidential
    Information, obtained as a result ofor in connection with Employee's emplo>^ent with the
    Employer or any dealings with the Employer-Related Parties, except as provided in Paragraph
    2(B)above, shall constitute a material breach ofthe terms ofthis Agreement, and may also
    constitute one or more ofthe following: an invasion of privacy, a disclosure of proprietaiy
    business information, a wrongful misappropriation of Kevin Knipfing a/k/a Kevin James s
    and/or Stephanieanna James-Krapfing a/k/a Steffiana de la Cruz's right of publicity, and other
    wrongful acts.

    3.      USE OF NAMK AND LIKENESS
            A.             AGREEMENT NOT TO USE NAME ANB/OR LIKENESS
            Employee acknowledges and understands that Employee shall not, directly or indirectly,
    verbally or otherwise, either during or at any time after Employee s employment with the
    Employer use, refer to, or exploit in any manner, Kevin Knipfing a/k/a Kevin James s and/or
    Stephanieanna James-Knipfing a/k/a Steffiana de la Cruz's name and/or likeness and/or identity
    (collectively referred to as"Name or Likeness")to promote, demonstrate, describe, display, or
    exhibit(collectively "promote")Employee's services or products and/or any services or products
    of any third-party, nor shall Employee disclose, or cause to be disclosed, any mention or
     reference to the foregoing Name(s)or Likeness(es)to any person,firm or entity whatsoever,
    (including but not limited to the media), with regard to the use ofor to promote any products or
     services whether it be in a purported editorial use,interview, advertisement,"advertorial" or any
     other use, in any print or electronic media(including the internet) without the Employer s written
     consent. Without limiting the foregoing. Employee will not give or participate in any interviews
    (whether oral or written)or write or prepare, or assist in the preparation ofany books,^cles,
    programs, or other oral or written communications(including but not limited to dissemination
     over the Internet), mentioning or disclosing or referring, directly or indirectly, to the Employer s
     Name(s)or Likeness(es), nor shall Employee confirm or deny any Confidential Information of
     any kind (whether rumored or known in any way).
            B.              USE NAME AND/OR LIKENESS IS WRONGFUL
            Employee acknowledges and understands that the Names and Likenesses of Kevin
     Knipfing and Stephanieanna James-Knipfing have substantial commercial value in promoting
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 93 of 145 PageID #: 408

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   ^
   be dedicat^ to piotect the value ofthese Names andandLikenesses.
                                                          fiat substantial effortsfurther
                                                                     Employee       have been and will
                      undOTtands t^Employee's compliance with the obligation not to use or
   nr ofany thirf-pa^,
   or              diesewhether
                         Naines or
                                 in Likenesses  in promoting
                                    an advertisement,         anyorservices
                                                       interview            or products
                                                                     any other manner orofinEmployee
                                                                                             any
            Pr^jb'ted use"), is m essential part ofthe Employer-Related Parties' efforts to protect
   the value ofthese Names and Likenesses. Employee further acknowledges that each such
   E^hJiwi^c                    ®°™niercially
    mployer s express vmtten consent           use either
                                       shall constitute    ofthese breach
                                                        a material  Namesoforthe
                                                                              Likenesses
                                                                                 terms ofwithout
                                                                                          this the
                               institute a wrongfiil misappropriation oftheir statutory and/or
  rXZinS^f                                                                     Act,false advertising,
   4-     PROPERTY RlfiHTS


  rinhfs anH!Sh°» ^acknowledges the[Employer-Related Parties' substantial and valuable property
  Coiffidennal Infomi^on,including
                           "1*®.^'®such Confidential
                                    regarding         Information
                                              their exclusive     acquired
                                                              ownership andbyuse
                                                                              Employee
                                                                                 ofthe in the
     urse of^ployee s employment with the Employer and/or related dealings with the
                                                       ""^terial (including without limitation all
     pynghttradem^k, patent, and other rights therein)relating to Kevin Knipfing a/fc/a Kevin
  Jam« and/or Stephanieanna James-Knipfing a/k/a Steffiana de la Croz, whS^Sl^T
  Employe or otherwise ciMing into Employee's possession, shall remain the Employer's soL
  md excliKive prop^ and shall not be used by Employee, other than as may beLSin L
                   ofEmployees employment with Employer. EmployeeSerXT^^
  p omptly aftw the term ofEmployee's provision ofservices to the Employer or nrior bv anv
 S'dle?o                           Parties, Employee shall return to the Employw-Relat^ Parties
 itsA.?                                  [Employee/ContractorJ's possession or contol wS
  hwf«                        iT-®                       '^P®-      or otherwise record any

        damages and ni.SGORGKMF.lVT nir MOMirrg

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 piird-Party and/or anyAgrrementby
                        prohibited useEmployee's disclosure
                                       ofthe Employer's     ofConfidential
                                                        Name(s)            Information to anv
                                                                 or LikenessteU^TnaX
 bTteiSSS                                         fcr            (Umav.md
 profits, or other consideration or benefits, which Employee has received or may receive from anv
                                                                   Information md/or from any
 Lnwt- I I           Employer s Name or Likeness, all without prejudice to any other rights or
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 94 of 145 PageID #: 409

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     6.     LIQUIDATED DAMAGES

             Employee agrees that any material breach or violation ofthis Agreement by Employee's
     disclosure ofConfidential Information to any third-party and/or any unauthorized exploitation or
     prohibited use ofthe Employer's Name(s)or Likeness(es)shall result in substantial damages and
     injury to the Employer-Related Parties, the precise amount of which would be extremely difficult
     or impracticable to determine, even after the Parties have made a reasonable endeavor to
     estimate fair compensation for such potential losses and damages to the Employer-Related
     Parties. Therefore, in addition to disgorgement ofthe full amount of all monies or other
     consideration received by Employee in coimection with any unauthorized disclosure of
     Confidential Information and/or any unauthorized exploitation or prohibited use ofthe
     Employer's Name(s)or Likeness(es)in violation ofthe terms hereof. Employee further agrees
     that he/she shall also be obligated to pay, and agrees to pay to the Employer-Related Parties,the
     total sum ofOne Hundred Thousand Dollars($100,000)as a reasonable and fair amount of
     liquidated damages to compensate the Employer-Related Parties for any loss or damage resulting
     from each individual material breach ofthe terms hereof by any unauthorized disclosure of
     Confidential Information and/or any unauthorized exploitation or prohibited use ofthe
     Employer's Name(s)or Likeness(es). The Parties hereto further agree that such sum bears a
     reasonable and proximate relationship to the actual damages which the Employer-Related Parties
     will or might suffer from each material breach ofthe terms ofthis Agreement and that this
     amount is not a penalty. The foregoing shall not, however, release any third-party from liability
     for participating in or inducing a breach ofthis Agreement, or otherwise violating any rights of
     Kevin Knipfing a/k/a Kevin James, Stephanieanna James-Knipfing a/k/a Steffiana de la Cruz, or
    the Employer-Related Parties.

     7.     INJUNCTIVE RELIEF

            Employee acknowledges and agrees that any breach ofthis Agreement due to the
    unauthorized disclosure or threatened disclosure by Employee to any Third-Party of any
    Confidential Information and/or any prohibited use ofthe Employer's Name(s)or Likeness(es)
    will cause irreparable injury to the Employer which cannot be adequately compensated by
    money damages. Therefore,the Employer-Related Parties shall be entitled to obtain provisional
    Preliminary Ihjunctive Reliefto prevent the breach or further breach ofthis Agreement
    ("Injunctive Relief), enjoining and restraining(a)any prohibited use ofthe Employer's Name(s)
    or Likeness(es)and/or(b)any unauthorized disclosure or use of any Confidenti^ Information
    protected by the terms hereof^ until all such claims for legal and equitable relief have been
    adjudicated. Resort to such equitable relief, shall not, however, be construed to be a waiver of
    any other rights or remedies which the Employer-Related Parties may have for damages or
    otherwise.

    8.      CONFIDENTIAL NATURE OF THIS AGREEMENT

             Employee agrees to keep this Agreement, including all ofits terms and provisions,
    strictly confidential, and not to disclose the same to any third-party, except as otherwise provided
    in Paragraphs 2(B), and 10(C)herein. Employee agrees to treat this Agreement as constituting
    and containing Confidential Information subject to the terms hereof.
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    9.      INTENDED THIRD PARTY BENEFICIARIES
            Each ofthe Employer-Related Parties, as defined hereinabove, is an intended thiM-party
     beneficiary ofthe terms ofthis Agreement regarding any unauthorized disclosure ofConfidential
     Infonnation pertaining to any such Employer-Related Party, which disclosure is prohibited by
     the terms hereof.

     10.    MISrELLANFOlJS PROVISIONS
             A. Attorneys' Fees: In the event ofany breach or anticipated breach by Employee of
     any ofthe terms ofthis Agreement,the prevailing party(s)in any resulting proceeding shall be
     entitled to recover said party's reasonable attorney's fees and costs incurr^ in connection with
     or arising out ofany such breach, including but not limited to the attorney's fees and costs
     incurred in any resulting legal action or proceeding.
             B.     New York Law: This Agreement and any dispute or controversy relating to the
     existence, validity, meaning,interpretation, or alleged breach or threatened breach ofthis
     Agreement, shall in all respects be interpreted, enforced and governed by the laws ofthe State ot
     New York.

            C. Employee has read this entire Agreement and understands it. Employee is
     entering into this Agreement freely and voluntarily. Employee has had the opportunity to
     consult with legal counsel before signing this A^ment Employee has further had an
     opportunity to discuss diis agreement,to ask questions, and clarify its meaning and interpretattons
     with die Employer.

            D. In the event that any provision hereof is deemed to be illegal or unenforceable,
     such a determination shall not affect the validity or enforceability ofthe remaining provisions
     thereof, all of which shall remain in full force and effect. In the event that such any provision
     shall be deemed invalid due to its scope or breadth, such provision shall be deemed valid to the
     extent ofthe scope or breadth permitted by law.
             E. This Agreement does not alter in any way the fact the Employee is an employee at
      will and that Employee's employment may be terminated by Employee or the Employer for any
      reason or no reason at all.

             F.      This Agreement may be executed with one or more separate counterparts, each of
     which, when so executed shall, together, constitute and be one and the same instniment. A
     facsimile or other copy of a signed counterpart ofthis Agreement shall be deemed an original. A
      photocopy or facsimile shall have the same force and effect as ifit were a signed original.
            By their signatures below,the Parties hereto have approved and executed this Agreement
      as ofthe date first written above.

                                                    "EMPLOYER"
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     Dated:                           By:

                                               Kevin Knipfing



                                      'EMPLOYEE'




     Dated:   /'/?/                   By:

                                      Print Name:
                                      Address: QS-O^

                                      Phone:            ^53 UP'A
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 97 of 145 PageID #: 412


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    Two- Page NPA sent bv emaii on November 1.2018from Skvlar Testa




                       SERVin:PROVIDER CONRPENTIAUTY AGREEMENT

               Tlas AgrcetRcnl i* oesied And cnjcrod into offecow as of If 'CAt!"V
        2018 btfween Kevin Kttipfing (a/k/a Kevin James)and Stcphonicanaa JameS'Kiupring(alcm
        StcfTiana dc ia Cniz)(collectively the"Employer), on the one hand,and
                                            (••l-in^oyee"X on the other hand(sometimes collectively
        rcfened to as the"Parties")

        1.     CONPiTION OF RENPERiXC SERVICES

                As a condition ofand in consideration for Employee's employment with,and for good
        and valuable considcfatton and benefits, the receipt of which is hereby acknowledged. Employee
        agtees to lite tcirns of this Confidentiiility Agreement("Agreement")and to strictly comply svilh
        each ofits terms and conditions

        2.     COXKIPF.X n Al. IN FORM A i K)\




    Seven- Pace NPA Kevin Knipfinc cave the Plaintiff on November 6.2018




                        SERVICE PROVIDER CQNHPEX11

                This Ajpeemott is created and entered inu>
        2018 heitvtscn Koin Knipfing (a'k/a Kcvinjaawsrand Stephanicatma james-Kn»pttf\g(a'T<«
        SiclBan»delaCnu)(odtecttvcly tlre;ifetfiployw|.t«ithciin«haiid,aiKf         „       t
                                                  Employee"), on the other hand tsomctttncs c<alectjvciy
        rcfemad to as the "pjoiiei' I

        1.      rONPITION OF RF.XPEKINC;SF.R\ ICKS
               Asa ccsnditKOT ofand in con«drral.'o,'j for En:!>Jc»fc'>cmpicvmcnt with, and for^ood
        and valuable ctmisderatioo ar.d In-neJlts. the receipt of wliich is hereby askriwlcdgcd.
        agrees to the terms of lh:s < «>nfidential;tv Agreement r Agjccfncm")and to stncily comply win
        each of its terms and conditions

        2.      rOXKiPEX1 l.\l. iXFORMAnON

                A.               DEfIXFP IFRM
      Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 98 of 145 PageID #: 413

                                                         WAOESTATEMBIT ExMbit 15                                                                   97
Direct Deposit Account Infomuitlon
Category                                                  Routing Number    Account Numtier           Account Type                          Amount
710                                                                                                                  Personal             2,062.42




                                                                                                                      UDIA M ORREGO
fB=BtENCENO       DATE           BIPbOYGEID      SSN               PAY FREQUBtCY         PAYPBBOD              RUNG STATUS         KETPAY
  8DD   340        07-13-2018        44838                               Weekly            07/02710-07/08/18   8      000               2,062.42

EMPLOYBl                                                                    CATEGORY                                   THIS CHECK       YR TO DATE
KEVIN AND STEPHANIEANNA KNIPHNG                                             (M)SS WAGES                                   1,200.00        23,799.90
ClO SAVITSKY SATIN BACON BUCCI                                              TIME & 1/2                                    2,193.75        25,229.70
2049 CBUURY PARK EAST, SUITE                                                IXXJBIE TIME                                        0.00         469.80
lLOS ANGELES OA 90067                                                       FIT                                               711.11-       9,387.15-
                                                                            SOC SEC                                           210.41-       3,068.96-
                                                                            MEDI                                               49.21-        717.74-
                                                                            NEW YOPK SIT                                      221.61-       3,022.55-
CATeGORV-EAFM        DeSCnPTION          THIS CHECK      HOURS     RATE     NEW YORK SDI                                        0.60-         12.00-
GROSS WA££S          Regulcir Earnings        1,200.00   /3BTM 30.0000      NEW YORK PAID FAMILY LEAVE ACT (NY)                 4.28-         62.37-
TIME & 1/2           Time & 1/2               2,193.75   V^S.Ty 45.0000     NEW YC»K CITY TAX                                 134.11-       1,901.45-
                                                                             DIRECT EEPOS TO CKG                             2,062.42




GROSS EARflNGS THIS CHECK                     3,393.75   Sa^5^
GROSS EAIOIINGS YTD                           49,499.40 1,3^
CATEGORY-OTHER           DESCRIPTION                       THIS CHECK




                                                                            LEAVE TYPE(HRS) AVAILABLE CURRBIT ACCRUED CURRENT USED


MISCBJLANEOUSITBIIS THIS CHECK                                    0.00
Miom IAMI30US ITEMS YTD                                           0.00


EMPLOYS NAME                    UDIA M ORREGO
BIIPLOYBE ADDRESS:              95-08 QUra^S BLVD. #3E

                                REGOPARK NY 11374
       Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 99 of 145 PageID #: 414

UOIAORREGO-Experian                                                                           a®"       98
                                                                                              ?expenan.
Date of Report: Mar 19,2020
                                         Exhibit 16
                                         Account Summary
                                          My Personal information

Name                                                   Personal Slatemefit(s)
UDIAORREGO                                             No Statement(s) present at this time

Also Known As

Birth Year
1977


Addresses
9508 QUEENS BLVD SAPT3E
RE60 PARK,NY 11374-1151


958QUEENSBLVD«3E
RE60PARK,NY11374

6420 WETHEROLE ST «APT 3
RE60 PARK.NY 11374-3043


Em|doyer(8)
KEVIN STEPHANIENN

KEVIN STEPHANIENNA K




        Summary               Accounts     Collections           Inquiries           Public Records   Credit Score
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 100 of 145 PageID #: 415


                                                         Exhibit 17                                               Safe, accurato,                                   ViSil Ihe IRS vwbs^te al
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                                            8 Employee's soc^i seeurfty nomber                                                             IRS e-flle
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                                                                                                       1 Wages tips, othc corrpeosat'on              2    Fedefai income tax withhold
 b Empioyaf iCsmrfication rumoof(EIN)
                                                                                                                             97,111                                       18,310
 XX-XXXXXXX
                              i"nli"ini-Tir''ii                                                        3 Social secunty wages                        4 Soaai security tax withheld
                                                                                                                                 97,111                                      6,021
 OLD WESTBURY EDDIE LLC
                                                                                                       5 Modica'e wages ano tios                     6    Medicare tax withheld

                                                                                                                                 97,111                                      1,408
 10880 WILSHIRE BLVD STE 2100
     ANGELES              CA  90024                                                                    7 Social secunty hps                          8 Allocated tps


 d Cowol numbsf                                                                                        9 veiilicaliori code                          10 Dspeodenl care tienefits

                                                                                                                                                     12a See instrixtoris for box ^2
 0 Empioyee's f.rsl name and initial                         Last name                         Suff   11 Nonqualified plans

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                                                                                                             fmpfczyi'C   pian          vctk pay
  LIDIA M                                  ORREGO
                                                                                                            n             n             D—
  95 08 QUEENS BLVD                                                                                    14 other

  REGO PARK                                                       NY         11374




  f Employee s address and ZIP code
 15 Slate    Employer's state lO nutroer          16 State wages, tips etc    17 State income tax     I 18 Local wages, ties, etc       19 Local income tax         20 Locality name

  NYi 320467229                                              97,111                     5,901 I                     97,111                           3, 722           NYC




                                                                                                                                            Ocpytmcnt of the Troasufy-lntemal Roxenue Service

Fomi
                2 Statement
                  VVage and Tax                                                   2018
Copy B - To Be Filed With Employee's FEDERAL Tax Return.
This information is being furnished to the Internal Ret/enue Service
EEA
  The info:T.'at icr. or. '.he Form Vl-2 was used Lc prepare Lhe Laxpa'yer's 2018 .-ece                                                 tax recurn by AFC 5USI.\r.S;
                                        Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 101 of 145 PageID #: 416

                                                                                                                                                                                                                        sbDiia
  Foftn   1095-B                                                                                                                                                 □ void
                                                                                Health Coverage                                                                                                         OMB No. 1545-2252


  Department of the Treasury                                  ^ Do not attach to your tax return. Keep for your records.
 Internal Revenue Service                                                                                                                                        □ CORRECTED                                I® 18
                                                     ^ Go to www.lrs.gov^mt109SB for instrttctions and the latest Information.

                 Responsible Individual
  1 Name of responsible individual-Find name, middle name, last name
  UDIA                                     M                                      ORREGO                             1r2^TO^^TCUTity number (SSN) or other TIN                3 Date of birth (if SSN or other TIN is not available)



  4 Street address (including apartment no.)                      5    City or town                                      6    State or province                               7     Country and ZIP or foreign postal code
  95-08 QUEENS BLVD APT 3 E                                       REGO PARK                                              NY                                                   UNITED STATES 11374

                                                                                                                         9 Reserved

  8 Enter letter identifying Origin of the Health Coverage (see Instructions for codes): . . . h | q |
                 Infonnation about Certain Employer-Sponsored Coverage (see instructions)
  10 Employer name                                                                                                                                                            11 Employer identification number (EIN)
                                                                                                                                                                              XX-XXXXXXX
  OLD WESTBURY EDDIE LLC

  12 Street address (including room or sffite no.)                13    City or town                                     14    State or province                              15     Country and ZIP or foreign postal code
^2 SPRING HILL LANE                     /                         OLD WESTBURY                                           NY                                                  1 11568
                ■ tsDuor-o^-©g^r Coverage Provider (see instructions)                                                                                                                                                                  m
  16 Name
  Oxford Health insurance. Inc.
                                                                                                                         17 Employer identification number (EiN)
                                                                                                                         XX-XXXXXXX
                                                                                                                                                                               18    Contact telephone number
                                                                                                                                                                              800-444-6222
                                                                                                                                                                                                                                       X
  19 Street address (including room or suite no.)                 20    City or town                                     21    Stale or province                              22     Country and ZIP or fore^n postal code
  601 Broolter Creeic Btvd                                        Oldsmar                                                FL                                                   UNITED STATES 34677

                 Covered Individuals (Enter the information for each covered individual.)
   Part IV
                                                                                                                                                                                                                                       O"
    (a) Name of covered indivldual(s)           (b) SSN or other TIN    (c) DOB (If SSN or other   d) Covered                                       (e) Months of coverage
  Rrsl name, middleinitial, last name                                   TIN is noi available)      ail 12 months
                                                                                                                   Jan        Fob      Mar         Apr     May      Jun       Jul       Aug       Sap       Oct      Nov       Dec

  1 LIDIA                         ORREGO
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                                                     ■■                                                □           □ □ 0 0 0 0 0 0 0 0 0 0
  For Privacy' Act and Papcnvork Reduction Act Notkc, sec separate instructions.                                                         Cat. No                                                           t-'orm 1095"B (201«)




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        Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 102 of 145 PageID #: 417


       ■ NEW Department of Labor Exhibit 19
          YORK ^                                                                                                      Fecha de Envio:        01/27/20
                                                                                                                                                              -| 101
       s STATiALBANY NY 12212-5130
                                                                                                                #de Seguro Social:
                    www.labor.nv.aov
                                                                                                      Fecha Efectiva/de Comienzo:            01/20/20

                                                                                                          Fin del Aho de Beneficios:         01/24/21
SEGURO FOR DESEMPLEO
Determinacidn Monetaria de Beneficios                                                                                   Tasa Semanal:        $504.00


                                                                                              LIDIA N ORREGO
 Si la direccidn a la derecha no es su direccion
 actual, perfavor llame al(888)208-8124.Si usa                                               95-08 QUEENS BLVD 3E
 equipo TTYrTDD. per favor llame al(888)783-1370.                                             RE60 PARK NY 11374




                                                   lEsta NO es una decision sobre su eiegibilidad para benencios del Seguro por Desempteo. Este aviso
 iPor que he recibido este aviso? jie indica la informacldn sobre trabajo e ingresos que tenemos archivada en el estado de Nueva York. Por fi
                                                   fasegurese de que esta Informacldn es correcta. ya que su tasa semanal de beneficios se basa en esta
                                                   pnfoimacidn.
                                                   iNuestros archives indlcan que usted tiene los Ingresos necesarlos para callficar para los beneficios del
                                                   |Seguro por Desempleo. 81 usted cumple todos los demds requisites y es aprobado, recibird la Tasa Semar
                                                   (indicada arriba. Si no es aprobado, recibira un aviso escrito por separado que le explicard la razdn.
                                                   |Siga reclamando benencios por cada semana en la que esta desemplead:);
                                                   I          • En internet en www.ij
                                                                    Llame al Tele-Servicio al1-8e8-581-5812



    Periodo Basico                                        Su Perfodo Bdsico es;                     octubre 01,2018                   Hasta sepb'embre 30,2019

                                                          Revise la informacldn abajo siobre sus patronos e ingresos que tenemos archivada.
                                                        Trimestre de     Trtmestre de    Tr mestre de      Trimestre de     Trimestre
                                                                                                                                                          INGRESOS
                                                        Periodo Bilsico Perfodo B^sIco   Periodo Bdsico    Periodo Basico    Alterno
  NOMBRE DEL                                                                                                                                             TOTALES DEL
   PATRONO                                               10/01-12^1 01/01-03/31           C4/01-06/30 07/01-09/30 10/01-12/31                           PERiOOO bAsico
                                                            2018           2019              2019              2019            2019

 OLD WESTBURY EDDIE LLC                                    22592.25           .00             .00              .00                                       22592.25
                                                              .00          2860.00         8580.00           13901.78                                    25361.78




 INGRESOS TOTALES DELPERiODO BASICO                         22592.25       2880.00          8580.00          13801.78                                    47954.03




^Coino se determino mi Tasa                              Se calculd su Tasa Semanal de Beneficios usando los ingresos del trimestre mds alto de arriba.
Semanal de Beneficios?
                                                           Tasa semanal de beneficios bnita =                                                              $ 504.00
Aviso: SI quiefe ifsar los ingresos del                    Menos Reduccidn de Pensldn                                                                        - 0.00
Trimestre ARemo,ttene que compfefar y                      Menos Reduccidn de Compensacidn al Trabajador                                                     - 0.00
devolver el fomuilarlo *^oltcttiid
                                                           Tasa semanal de beneficios neta
del Periodo BSsico ARemo"                                                                                                                                  $ 504.00
(vea el Manual del Reclamante}                                Todaslas Tasas Semandes de Benaliaos qua han srdb c^culadas aparecan en dHares comfHetos.
                                                             Consulto el Ap6n(ice o ef manual dairedamante para defies sobra c6mose cdcula su tasa da beneSdos.




^.Cual es la cantidad maxima de                        i Su reclame dura un afto {su t fto de beneficios). Durante ese afio usted puede reciblr ha^a 26 veces
benefLciQ.s,qMe.puedo.recibii:?    1 su tasa semanal de beneficios neta.                                                                 ^                     _
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      tiene preguntas sobre este aviso, llame al       Para inlbrmacidn adtcional, vaya a nuestro sitio web;1^^ Para ayuda. lea su Manual del
afel(888)209-8124.                               ^^>httD://labor.nv aov/unemDtovmentassistance.ahtin ms|| Reclamante.
S402B(10/16)
      Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 103 of 145 PageID #: 418

                                                                                                           102



                                          Exhibit 20

NYS Department of State

Division of Corporations


£ntity Information

The information contained in this database is current through March 12,2020.

                                 Selected Entity Name: OLD WESTBURY EDDIE,LLC
                                             ■Selected Et
                        Current Entity Name: OLD WESTBURY EDDIE, LLC
                              DOS ID#:             4761312
                       Initial DOS Filing Date: MAY 20,2015
                                County:         NASSAU
                             Jurisdiction:         NEW YORK
                             Entity Type:          DOMESTIC LIMITED LIABILITY COMPANY
                        Current Entity Status: ACTIVE

                                             Selected Entity Address Information
                    Process (Address to whfph DOS will mail process if accepted on behalf of the entity)
              OLD WESTBURY EDDIE, LLC
              ATTN: STEVEN SAVITSKY
              2049 CENTURY PARK EAST, #1400
              LOS ANGELES, CALIFORNIA, 90067
                                                      Registered Agent
              NONE



                              This office does not require or maintain information regarding
                                   the names and addresses of members or managers of
                                 nonprofessional limited liability companies. Professional
                                 limited liability companies must include the name(s) and
                              address(es) of the original members, however this information
                               is not recorded and only available by viewing the certificate.

                                                    "^Stock Information


                                # of Shares        Type of Stock         $ Value per Share
                                              No Information Available
     Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 104 of 145 PageID #: 419

                          *Stock information is applicable to domestic business corporations.                103

                                                   Name History


                             Filing Date Name Type       Entity Name
                            MAY 20,2015 Actual     OLD WESTBURY EDDIE,LLC

 A Fictitious name must be used when the Actual name ofa foreign entity is unavailable for use in New York State. The
            entity must use the fictitious name when conducting its activities or business in New York State.

                     NOTE:New York State does not issue organizational identification numbers.

                                             Search Results New Search


Services/Programs| Privacy Policv|Accessibilitv Policv|Disclaimer|Return to DOS Homepage|Contact Us
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 105 of 145 PageID #: 420


                                                                                                      104

                                Exhibit 21
    PHOTOGRAPHS.VTOEOS AND TEXT MESSAGES REQUESTED BY EMPLOYERS

    The Plaintiff holds plenty(600)FAMILY photographs, videos in the Knipfing's House were
    requested and authorized by employers,sent via text messages to Stephanieanna James-
    Knipfing,Kevin Knipfing and Teresa A.2^tua.
    All the Plaintiffs co-workers also took photographs and videos inside the Knipfing's house.
    February 17,2018 at 6:15 pm:The first picturess and videos were taken in the girl's room S.M.K.
    and S.J.K.




                      Roslyn




                                                                  jI
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 106 of 145 PageID #: 421


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                                                        "A
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 107 of 145 PageID #: 422


                                                                                                       106


    October 23,2018:
                       Last Video 46 seconds at 6:12 pm.The last video requested by Kevin Knipfing
    (the day Kevin Knipfing*s son hit for the last time the Plaintiff)in the classroom. Plaintiffs took
    photographs and videos inside the Knipfing's house where are cameras.This is one of plenty recordings
    the Plaintiff holds plus photographs since Febniaiy 2018 authorized by her Employers.
    The Plaintiff has never received all along time she worked for her employers any warning and never
    they applied"Breach HER NDA" until She file the Complaint emailed dated November 2,2018
    about the horrible environment for discrimination and abuse.


                            Roslyn Heights
                                                               Edit
                         October 23, 2018 6:12 PM




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     I —- ..
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 108 of 145 PageID #: 423

                                                                                                        107



                           Exhibit 22
    CMSTINA COIMBRA-HOUSEKEEPEB(Brazilian-Speaks Portuguese)

    August 18,2019 and October 16,2019 Cristina Coimbra taking photographs inside
    the Knipfing's house and posted on her Facebook. The Plaintiff has photos dated
    earlier. The Knipfing*s don't applied "Breach her NDA".


                                                           Cristina Coimbra updated her profile
          Cristina Coimbra updated her profile             picture.
          picture.                                         October 16 •0
          August 18, 2019 •0




                                                       ©O 87                             110 Comments


          77                             41 Comments                    ^ Share
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 109 of 145 PageID #: 424

                                                                                            108
      October 16.2019
      Rebeca Lugo or Rebeca Uzcategui congratulating to Cristina Coimbra in her Post




                                                      Rebeca Lugo
                                                      Happy Birthday amiga querida. Todas
                                                      las bendlciones parati


                                                      37w



                                                            Cristina Coimbra
                                                            Rebeca Lugo muchas gracias
                                                            amiga queridall
                                                            37w
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 110 of 145 PageID #: 425


                                                                                               109




    R£B£CA UZCATEGUI OR REBECA LUGO-NANNY(Hispanic)
    May 21,2018 Rebeca Uzcategui,taking photographs ofS.S.K. sent via text message.
    The Employers also always authorized her to take photos and videos inside the Knipfing's
    house to text them like they did with the Plaintiff. The Knipfing's don't applied
    "Breach her NDA".

    Kevin Knipfing and Stephanie James - Knipfing keep Rebeca Uzcategui woiidng
    because she threatens to sue them for discrimination and abuse. Recording on
    October 14,2018.

      12:37-e


                 Miss Rebeca >




       Claro




                                            12:37 V




                                                      e quena saiudar

                                             A algunas veces le puedes
                                             hacer las saichichas que a eila
                                             tegusta.c^v^
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 111 of 145 PageID #: 426

                                                                                                   110




    SKYLAR TESTA-HOUSE MANAGER (Italian - American)

    September 28,2018 Skylar Testa taking photographs like everyone inside the
    Knipfing's house and sent by text message.
    The Knipfing's don't applied "Breach his NDA".

      10:27 V                                      111 V
                                                           10:27 V                           III


                         Skykar>                                         Skykar>
                     f'ri. Snp ?o,   ■ ■■i t'!vi


       Playroom is fixed.

       I made a big change the Apple
       TV Is now in the room by the tv.
       So next your there hook your
       phone to it like a remote.

       Even directlV is fixed but takes
       a few sees to go on




                                                                     Sat, Sep 29, 9:2,' AM
                                                                                                                                                                                111
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 112 of 145 PageID #: 427




                                                                                     GERARDO GUARINO-CHEF(ItaUan - American)
                                                                                     December 17,2017 Gerardo Guarino taking photographs and videos inside the
                                                                                     Knipfmg's house and post on Facebook or Instagram.
                                                                                     But the Knipfing's don't applied "Breach his NDA".
                                                                                      ^Album Pizza Napoletana con Marra Forni          7:47-?                          LTE i:
                                                                                            Gerardo Guarino added a new photo — with              OeFardo's Post
                                                                                            Marra Forni and Francesco Marra.
                                                                                            December 17, 2017
                                                                                                                                        DJ Like    O Comment       ^ Share
                                                                                                                                                                    1 Comment
                                                                                                                                                   CP Comment      ^ Share
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                                                                                                 112




    GROUPS MESSAGES EXCHANGING PHOTOGRAPHS
    Photographs taken inside the Knipfing's house and sent to all employees bv the Employer.
     Teresa A.Zantua is "TAZ".


       4:08                                 4:05                                       .1 *9'm


     ^               5People:                                    5 People >
                         iMc.-.r.qo
                   Ocl    2(}]'6 \ >



          Looking for my wireless Bose
          Headphones in case anyone
          spots them.Taz will reward you
          with a shoulder massage if you
          turn them in



          My eyes are peeled!


          1 knew Skylar would step up!


          Pretty soon Skylar will be
          hiding them just to find them
          again

              Are these them?




                                               Taz tried, I tried...

                                               Sloffinn.'i Knipfing      , ■ i '0 t'
                                                             Jun 17, 7018 ~ ;:3 P




                                               It just keeps coming up


                                                          .I
                                                           . . ....•
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                                                                                                                                                  113




    LIDIA ORREGO-NANNY(Hispanic)
    March 29,2018 and October 1,2018 photographs taken inside the Knipfing's house by the Plaintiff
    and sent via text message Stephanieanna James-Knipfing and Teresa A.Zantua.The Plaintiffnever
    received any warning or notice about any "Breach ofNDA" agreement because it was part ofher
    job.

    The Plaintiff sent pictures (See Exhibit 24 Page 132 candies and tapes to the Investigation to
    demonstrate discrimination and abuse. These photographs, videos and recordings were never
    shared with third parties or published on social platforms.
    Kevin Knipfing and Stephanieanna James-Kninfing applied a "Breach her NDA" agreement to
    the Plaintiffthrough OLD WESTBURY LLC(entity does not exist in New Yoik State and is not
    listed as an employer on the Two-Page NDA)to terminate her employment re-enforcing the
    discrimination to which die Plaintiff was subjected before she submitted her Complaint dated
    November 2,2018.



      5:55 V                            .(tlLTEs:       4:34

                 Steffiana Krapfing >                 /
                                                                        2 People;
                   Uv] M:;r : 1



      Hola Ms Lidia! Where Is
      ev^yone?

                                        lavioom                       Oct 1, 2018, 2




       Wtth




                                                    Teresa A.Zantoa


                                                                                           . ■       ■ ■^         V


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Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 115 of 145 PageID #: 430

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                                  Exhibit 23
    June 8,2018: Texting from Cristina Coimbra,when she went to the doctor for back
    pain and could hardly move or walk for the excess and hard work in the Knipfing's
    house.



        8:17


                      Ms Cristina >

                     Jim 8, 2018 G 50 /G


       Good morning Ms LIdia, I just
       want to remind you that today i
       have a Doctors appointment at
       8:30 am,so I probably won't be
       there when you coming.
       When you go to the master
       bedroom today just make the
       bed and take the dirty clothes
       to the laundry, do not clean the
       room or bathroom. You can
       start cleaning any of the others
       rooms.
       Thank you,see you soon.

                     UOIO




       Thank you!

                    JUM 18, 2018, ll- 58
   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 116 of 145 PageID #: 431

12/1/2018                                                                          Gmaa - REPORT 1                                                                 jj5


            Gmail                              Exhibit 24                                                                     Udia Orrego <liorrago@gmall.com>
  REPORT 1
  2 mensajes

  Lfdla Orreso <ioiTego@gmafl.com>                                                                                                   8de noviembre de 2018,12:16
  Para:fufl1d@gmall.com

    Good afternoon Mr Kevin, I sent this part 10-14-2018 Dinner Old Westbury Diner 10:30 am
    The conversation is in Spanish, if it translated into English it would take a long time, but I hope the the researchers or people you trust can translate it


     m 2018-10-14-10-24_2_1_2-1.wav

    Lidia


  KJ <futll^@gnrtail.com>                                                                                                            8de noviembre de 2018,12:33
  Para: liorTego@gmail.com

    This is great, thank youl
   [B texb)citado esUi ocutto]




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   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 117 of 145 PageID #: 432

11/8/2018                                                                      Gmafl - REPORT 2


            ^ppj0jI                                                                                                   Lidia Orrego <liorrego^mail.com>

  REPORT 2
  1 rnensaje

  Lidfa Onago <lfomego@gniafl.com>                                                                                           8 de noviembra da 2018,14:27
  Para: K J <fulIlg@gmail.coni>

    Mr. Kevin, I attached the screenshots of Ms Rebeca's messages via Whatsapp to meet with her to talk because for long time she told me to meet her
    out of the house,always telling me was the only person that can handle my situation at your house and no to talk with your wife about it beside that
    I was always afraid to said something to MrsSt^anna for many reasons.Rebeca was always showing that she has the power to confront and fight
    with anyone there and I was afraid ^her, I saw she was bossing around there and from the beginning she told me that was hired me thanks to her,
    Skylar was aware of all the situation saying that all the figths were normal happening always.
    At one point she told me that if I agree to meet her everything will get better forSHB)ecause she love us,she said that S^^|has nobody to
    protect her from Taz(l never understand why she said that)but she always was telling me that.
    I wasn't so sure about to do so but i got to the point of desperation all I wanted was to solve and continue working in peace that when I decided to
    meet her because everything was worse.
   Sometimes Rebeca was nice and ask me to tell her everything that was going on with Taz after she was gone and asking me why I never confront
   her,she told if I trust her everything she was going to tell you but and the end I saw things were not right and worried very much that she was
   turning the situation against me b^use she change her attitude I realized that tried to avoid me,when I ask her ifshe was available to let you know
   she just walked away just telling that she was one step away to give you a "letter.
    In my life I never expected to go thru all this situation and as everybody I do care about mi job and my reputation because I depend of myjob to take
    care of my femily,l wanted to walk out of your house nicely because God see our actions and our hearts and I decide to tell the thruth berause I
    realized her real intentions wasjust to use me.
   If you wonder why I did my record ofthings that was going on I did because in many occasion Rebeca was on top of me giving me orders,send me
   text after she left the house your sister in law told to keep track because something similar happens to Adam Sandier but my intentions was never to
    get into that kind ofsituations.
   Thank You.



    Lldia



    3archtvos adjuntos




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   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 118 of 145 PageID #: 433

11/1»2018                                                              Gmail - Report 3
                                                                                                                                     117


           Gmail                                                                                        Udia Orrego <liorrego@gmaILcom>



  Report 3
  1 mensaje

  Litffa Orrego <lforrego@gniall.oom>                                                                        15 de novlembre de 2018,14:24
  Para: K J <fuIIIq@gmail.com>

    Good afternoon. Mr. Kevin.
    I attached my diary and photos.
    I vv9l tie sending liy parts to avoid errors in the email.
    Please forward to the investigators.
    Thank you.
    Udia

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Report 2:Photographs **CANDIES''emai]ed to Kevin Knipfing for Investigation and which he mentions
in the Termination Letter dated November 27,2018 that the Flaintifr"BREACH HER NDA".




     DIAftlOdoc*
   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 120 of 145 PageID #: 435

12/1/2018                                                                 Gmail-REPORT 4                                                  119



            Gmail                                                                                         Udia Orrego <lioiTego@ginail.com>



  REPORT 4
  1 mensaje

  Lidia Orrego <norrego@gmafl.com>                                                                               16 de noviembre de 2018,8:14
  Para: K J <li(ni^@gmail.com>

   Good morning, Mr. Kevin,I attach the oonect PDF format of the diary.

   Thank you.

    Lidia


    DIARIOCORRECT.pdf
   "887K




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   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 121 of 145 PageID #: 436

12/1/2018                                                               Gmaa-REPORT 5                                                          120


              ^ppj0jI                                                                                        Lidia Orrego <tlorrego@gma!l.coin>

  REPORT 5
  1 mensaje

  Lidia Orrego <noirego@gmaH.com>                                                                                  16 de novfembre de 2018,8:17
  Para: K J <fuIII^@gmati.ooni>

    continuation


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   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 122 of 145 PageID #: 437

12/1/2018                                                             GmaB-REPORT 5                                                        121
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   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 123 of 145 PageID #: 438

12/1/2018                                                             Gmafl-REPORT5
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   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 124 of 145 PageID #: 439

12/1/2018                                                             GmaB-REPORT6                                                        123


            Gmail                                                                                        Udia Orrego <llorrego@ginail.com>



  REPORTS
  1 mensaje

  Lidfa Orrego <{{orrego@gnfia0.com>                                                                           16 de novtembre de 2018,8:17
  Para: K J <fuIUd@gniaQ.com>

   continuation


    19 archives adjuntos




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   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 125 of 145 PageID #: 440

12/1/2018                                                              GmaB-REPORT6
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   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 126 of 145 PageID #: 441

12/1/2018                                                           GmaS-REPORT6                                                        125




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   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 127 of 145 PageID #: 442

12/1/2018                                                                       Gmafl-REPORT 7                                                                  126


            ^pp0jI                                                                                                       Lidia Onrego <IIorrego@gmail.coin>

  REPORT 7
  1 mensaje

  Udia Orrego <(forrego@gmaa.com>                                                                                               16 de noviembre de 2018,9:22
  Para: K J <fuIIIq@gmai].com>

    Good momlng.

    Mr. Kevin & Mrs Steffianna

    With this recofdings I finish, 1 want to thank you Mr Kevin and Mrs Steffiana for giving me the oportunity to let you know what was happenig around the
    kids ail the time.
    i pray everyday as always por peace and love in your house because 1 was working as a part ofteam and no trying to compile with nobody or harm,!
    always tried to do my best doing my job but I end up in the middle of this war between Rebeca and Taz and both side tried to use me unfortunaly for their
    purposes.
    Have great day and weekend.ljove for the kids and many blessings.
    Lidia




        2018-08-15-16-17-39 Rebeca sobre MB.mp3


        2018-10-08 Rebeca pastillas para dormir.wav


        2018-10-08-05-18_2_1_3_0 Rebeca protegera S.wav


        2018-10-12-18-30-002_Rebeca conversacion.wav


        2018-10-22-15-07-001_0_1 Rebeca sobre problema.wav


        2018-10-24-09-09-001_0_1_1 Cristina conversacio...


        2018-10-31-15-52-001 1 0 Rebeca hablar con el S...




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Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 128 of 145 PageID #: 443


                                                                                                                127

                                          Exhibit 25
     Termmation Letter Dated November 27,2018

     l-"01d Westbury LLC is ending your employment effective immediately.
     This decision is based on several factors,including but not limited to:"
     The Plaintiff has never received working for the Knipfing's any written warnings or peifonnance reviews
     related to the content ofthe Termination Letter and feedback on their work consistent with Stephanieanna
     James- Knipfing text messages from Februaiy 7, 2018 to November 1 ,2018 describing the Plaintiff in
     these messages as "Fantastic" or "Hard Worker".

       5:52 V
                                                              Steffiana Knipfing >
                   Steffiana Knipfing >




                                                                     ■ ■ ■ ■"■ ■■■■   ' ■ ■   ■




                                                  Fantastic! Thank you ^.1^ I hope
                                                  we all don't still have blue
                                                  freckles tomorrow




       You are fantastic. Thank you,
       coming now



                                          '   I
                                                  iSSSli
       Thank you Ms LidiaHi! I will get
       her after I shower quckly.She
       will be fine since she justfell            Great! Now I know. It's
       asleep. Thank you so much!I
                                                  supposed to be washable
       will see you 8:00tomorrow,
       yes?                                       paint!
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 129 of 145 PageID #: 444

                                                                                                            128

                                    Exhibit 26
     November 02,2018: Text MESSAGES FROM STEPHANIEANNA JAMES-KNflPFING

     After the Plaintiff placed her complaints via email at 2:30 pm Stephanieanna James-Knipfing in
     retaliation sent a s^es of text messages and emails continuing the Intentional Lifliction of
     Emotional Distress attacking the Plaintiffand sabotaging her woik or career with unfair treatment,
     unjustified negative evaluations, humiliating and degrading her, using insensitive terms,
     continuing with discrimination and harassment. Stephanieanna James-Knipfing requested the
     Plaintiff via email the medical certificate of Ms. Orrego's reported injuries at her woikplace.


       9:57 V                               .ii:-?-*:   9:57 V                                 .11 "S? ■:


      ^             Steffiana Knipfing >                ^              Steffiana Knipfing >

                                                            Also, my suggestions to you
                                                            were to help you to be
                                                            professional. There are ways to
                                                            handle a family and be in their
                                                            private space and I believe you
                                                            needed guidance to do so.

                                                            Ail our staff are considered
                                                            family members. I am
                                                            saddened and disappointed
                                                            that anyone we ever open our
        Oh no, are you ok? Yes, please                      home to ever feels otherwise.
        take what you need. That's not                      We are guided daily by priests
        a problem.                                          and they have witness to our
                                                            home situations and know the
          Prayers for you                                   situations of all. We have a
                                                            conscience with God and pray
                                                            you have the same. God Bless
                                                            you,^
        Oh Ms Lidia, I read your email.
        My sympathy goes to your                            Also know your style of work
        interpretation of things. I think                   did not make us feel most
        there is definitely a                               comfortable. I think it is your
        misinterpretation, maybe it is a                    misinterpretation of things that
        language barrier and perhaps                        was coming out in your
        insecurities that fuel your                         performance.
        views.
                                                                    iH not wont tn ho w»ith
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 130 of 145 PageID #: 445


                                                                                                    129




      9:57 V                                .11 ^9   9:58V                              .*1 -9- •


     ^               Steffiana Knipfing >            ^          Steffiana Knipfing >
                                                                   ft I , Nc.

       SHHdid not want to tie wttii
       you,tliat's why I stayed away,                Also, give me dates and times
       otherwise your time here would                and we will judge from camera
       have been pointless.                          footage to make the necessary
                                                     reprimands. Hope your health
       Again, I am sorry how you                     is well, I heard you had a rough
       perceive things. Many prayers                 week at home.
       for us all.
                                                     I worried about you for a while.
       It's all nonsensical                          Your want of both shifts was
       troublemaking.                                too much. My decision was out
                                                     of mindfulness for your well-
       Why would you want to come                    being, and it wasn't good to me
       back on Tues after all the mean               for you to want housekeep
       things you said? Why would                    hours and then try to be a
       you want to come back on Tues                 nanny to my daughter after
       if any of this is true?                       that. I could sense the
                                                     exhaustion.
       Send me your doctor report
       like you offered. GraciasI



       Also, give me dates and times
       and we will judge from camera
       footage to make the necessary
       reprimands. Hope your health
       is well, I heard you had a rough
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 131 of 145 PageID #: 446

                                                                                                              130


                                        Exhibit 27
    TEXT MESSAGES FROM TERESA A.ZANTUA TO THE PLAINTIFF.



      9:34-r                                                        10:57                             .11 ^


                Taz(aunt ofSH>                                                  Taz(aimtirf!
                      S3!, Sep 1, 6     I'f.l
                                                                    Sleeping
       What does your daughter say
       ONLY English

                                                                     Sky serxf me loi I talk like u

       Do as your daughter says loi




                     Sun, Sop 2. 11 ^



       U ask for tomorrow off?


               |-Tv/p;;weGks--ago;\V\'{Xen;ypL                  1
               IjGalledirnefvvitii'Be^^                    .J
                ^tp'.eliange tbmoirov;.'Beside ■

                HgpiiiigptGmeed'anyone'                     •
                 itbhtbriovvrandi Mrs-;'SteftraiP^^^^^^ ■ - -
                I';"tdid'me:tHat' ibmorr6vvH'he         ■ ]

               I)
                                                                    %
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 132 of 145 PageID #: 447

                                                                                           131




                                                        9:42-^                    •9'•:>
      9:38f

                                                                 Taz(aunt of S|
                Taz(auntof:

                Sgjcgjifl^MDE^
                GiSltetej{1                   Scf'Zgg




       Omg i said Mexico when you
       said something about me
       lol




                    Fri, Oct 5, S ':'i P",'
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 133 of 145 PageID #: 448

                                                                                      132




       9:41-^                          .il "^ilL


                      Taz(aunt of S|




                ■-                                 ^ Search                    Edit

                     '' ' W'-:-.




                                                              Taz(aunt of S|

                                                    message     home   video   pay



                                                   home
                                                   (516) 647-5444


                                                   FaceTime


                                                   Notes




                                                   Send Message

                                                   Share Contact


                                                   Add to Favorites


                                                   Share My Location
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 134 of 145 PageID #: 449

                                                                                     133

                                    Exhibit 28
                                       ^MOISEY DELMAN,M.D.

              Name
              BP
                   -UU              TEMP


                       MEDICATIONS




             OJK.


                   U.CjQja^

                                                                Q.V)^ ),iSM/^-
                                               v\^,\-t-4

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                        ~:s^;
   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 135 of 145 PageID #: 450

 6/30/2020                                             Gmail - MY SITUATION A WORK FOR 8 MONTHS



              Gmail                               Exhibit
                                                  Jl/AllllLFll 29                                 Lidia Orrego <liorrego@gmail.com>

   MY SITUATION A WORK FOR 8 MONTHS

   StepKanieanna Jantes-Knipfing <steffdelacruz@gniail.com>                                             2de noviembre de 2018,14:52
   Para: Lidia Kj <llorrego@gmail.com>
   Cc:Skyfar Testa <skylartesta@gmail.com>

     YES, please send me your doctors report

     Thank you,

     Steff
     [El texto citado esta oculto)




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Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 136 of 145 PageID #: 451

                                                                                                       135




     November 2,2018: The Plaintifftested to Skylar Testa notifying that she would go to the
     doctor that day for back pain according to the medical record ofDr. Moisey Delman.See
     Exhibit 28 Page 133.

     The Plaintiff don't notified to Teresa A.Zantua because that day she sent the complaint against
     her. Skylar Testa confirms that he was reading the email with the complaint.

       10:08                             .111*9'


                            Skylar >




                let Steff



                 seeing your email
       reading



                      Nov II, i'oia ..



       Lldla,

       We have hired investigators to
       talk to you about the
       complaints you described in
       your email to Kevin and

                i)
                                                   j':
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 137 of 145 PageID #: 452


                                                                                                                    136

                                          Exhibit 30
     November 2,2018: Message in Spanish from Rebeca Lugo,the other nanny.
     Because the Plaintiff reported she was going to the doctor, Rebeca Uzcategui called her because
     S.S.K. wanted to greet the Plaintifr. Rebeca Uzcategui also knew about the last physical assault against the
     PlaintifT on October 23,2018.


          10*55                                      •• ^

      y               Miss Rebeca Lugo            Q3 o
      *              l3St seen today at    AW

          Voy a orar per nosotras Ms. Li
          No te preocupes. Entrdgale todo a
          Dios.
        Ei conoce nuestro corazon y el
        siempre va estar de nuestro lado.
          Que descanses.
          Good night
                            NOV 2, 2018

                   84 Missed video call at 2:37 PM


                  Hola Rebeca me llamaste? estaba
                  en el doctor.


        Sii porque ^^Hte quena saludar
        Como sigues??

                  Yo tambien quiero hablar con eila
                  sweet baby!!! los neportes estaran
                  el lunes o martes aun no lo sd! que
                  se culde mucho!!!                ^
                              No puedo hablar en este
                              momento*^

        Esta bien.
          Descansa


                                          ty<(^          ^

      +                                     Q        ®      vQ/
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 138 of 145 PageID #: 453


                                                                                                   137




     November 2,2018: Message from Cristina Coimbra
     Cristina Coimbra, the housekeeper, who has back injuries from hard and continuous work also
     texted the Plaintiff because she reported was going to the doctor.



        10:54                               .1        m-


                      Ms Cristina >




        Already ordered! TY

                     Nov 2, 2018 VnS P;.'


        Hi ms Lidia,
        Steff told us you are sick. I
        hope you get better soon and if
        you need anything let me know.



                                                 Delivcrod
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 139 of 145 PageID #: 454

                                                                                                             138


                                               Exhibit 31
    November 24, 2018:Stephanieanna James-Xnipfuig via text message sent to the Plaintifr called her
    "SLANDER** even Oiough the plaintifr presented all the evidence supporting her complaint The employers
    continued their discrimination and retaliation.




      9:58V                              .11   •       9:58 V                            •ii ^•


     ^            Steffiana Knipfing >                Done                4 of 4

       being, and it wasn't good to me
       for you to want housekeep
       hours and then try to be a
       nanny to my daughter after
       that, i could sense the
       exhaustion.




                                                                IiKLSiiiTKMii^as v\)ii     .
                                                                            hvbur soul *^4^"''^
                                                        <^r¥llieUoi          iias slamicfccl^ou^i^
                                                                       ■'W
                                                        ;so much wili .Clotl reveal the Irulh
                                                      to iheni who havt^helic'v^ljf^ic slaiuier.
   Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 140 of 145 PageID #: 455

7/16/2020                                                     Gmal- TIMESHEET Udia Oirego                                           139



 IM Gmail                                          Exhibit 32                                      Lidia Orrego <liorrego@gmail.com>



 TIMESHEET Lidia Orrego
 Lidia Orrego <liorrego@gmail.oom>                                                                           noviembre
 Para- Rkylflr Tftsta <glfylartAgta<g^qmail nnm>
 Cc: K J <fiillKi@gmail.CQm>


    Good day Skylar, I just realized that I was incorrectly paid for the hours worked last week.

   ^^U^eaidfor^1W0m,^en,^uonj^^^MW0^
    I did not realize before t>ecause I am working on the reports and do not check the automatic email.

    Since i had resent the timesheet, I thought everything was correct

    I await your instructions and confirmat'on ofthe amount that I must retum to you as soon as possible.

    Blessings.

    Thank you.

    Lidia
              Cnn.tnrHnH nrirtc-cign.
    From: Lidia Orrego <llorrego@gmail.com>
    Date: lun., 5 nov. 2018 a las 4:49
    Subject: TIMESHEET Lidia Orrego
    To: <cstan@savco.ccm>


    Please find attached timesheet for
   .Week Ending: 11/4/18




    Sent from my iPhone

    2 adjuntos
        2018-10-29 TIMESHEET LidiaOrregoL_.pdf
        50K

            10-26-2018.PDF
     ^ 11K




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                                                                                                                                           140

                                                                         TIMESHEET

                                                                         liorrego@gmail.com



95-08 Queens Blvd




Name                     Lidia Orrego                          Client            :K


Phone                    347-4532234                           Phone                310.315.6200


 ee^k Beginning         : 29 Oct 2018                          Project              Time-sheet


                  Men            Tue            Wed             Thu              Fri                    Sat                Sun

 Date             Oct 29, 2018   Oct 30, 2018   Oct 31, 2018    Nov 1, 2018      Nov 2, 2018            Nov 3, 2018         Nov 4, 2018


   Start            9:10 am        9:15 am        9:45 am         4:20 pm            4:00 pm                8:00 am


   Finish           5:00 pm        10:00 pm       9:50 pm         10:00 pm           10:00 pm               4:00 pm

   Break


   Sub Total        7h 50m         12h 45m        12h 5m          5h 40m             6h Om                  8h Om


   Overtime


   Total Hours      7h 50m         12h 45m        12h 5m          5h 4

Comments




Signature                                                                     Total Normal Hours :                              40h Om


                                                                              ^Overtime Hours :                                 12h 20m


                                                                                       Hours :                                  52h 20m




Manager's Signature :



                                                                                                             Created with Tlmesheet Plus
Manager; Rachel / Charles

                                                                              ' Overtimo For Hours excooding 40.0
    Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 142 of 145 PageID #: 457

                                                           WAGE STATEMENT                                                                               141
Direct D^xisit Account(nfomiation
ICategoiy      Bank Name                                     Routing Number       Account Number           Account Type                             Amount
                                                                                                           Checking         Perscsial            1,645.55




                                                                                                                             UDIA M ORREGO
 REFBBICENO         DATE    ■      BIPIOYEEIO      S8N                 PAY FREQUBiCY          PAYPEHOO                HUNG STATUS         NET PAY
   800   431         11-09>2018      44838         XXX-XX-45Se                Weekly            10/29/18-11/02/18     8      000               1,645.55

-EMHjQYBR                                                                        CATEGORY                                     THIS CHECK       YR TO DATE
                                                                                  GROSS WAGES                                       1,200.00     44,199.90
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                                                                                 NEW YORK CITY TAX                                   100.55-        3,457.28-
                                                                                  DIRECT DEEOS TO CKG                               1,645.55




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 GROSS EAIOIINGS YTD                            90,154.95 2,494.^1
 CATBGORY-OTHBl            DESCRIPTION                           THIS CHECK




                                                                                 LEAVE TYPE(HRS) AVAILABLE CUfSBIT ACCRUED CURfSfT USED


 MiSCELiANEOUS ITBHS THIS CHECK                                        0.00
 utana i AMigous ITBiS YTD                                             0.00


EMPLOYEE NAME:                    UDIA M ORREGO
EMPLOYEE ADDRESS:                 95-08 QUEB4S BLVD. #3E

                                  RBGOPARK NY 11374
Case 2:20-cv-03361-GRB-AYS Document 8 Filed 08/17/20 Page 143 of 145 PageID #: 458

                                                                                                    142

                                   Exhibit 33
          Photographs inside the Knipflng's House- Witnesses
          DATE 07-30-2018: Another witnesses,who always knew that Rebecca Uzcategui and the
          Plaintifftook pictures ofthe children, swinuning teacher Mrs. Sharon (Jul 2018)and the
          Italian Teacher(who gave lessons until June 2018).These people were also authorized to
          take photographs.

          Previous employees like Nanny Annie and other housekeeper also took pictures inside the
          house because Teresa A.Zantua showed the Plaintiffseveral photos that employees texted
          her.
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                                                                                                   143




    DATE 04-04-2018: In the appointment with the children's dentist, Teresa A. Zantua ordered to
    the Plaintiff to take photos and videos, to send them to the employers Kevin Knipfing and
    Stephanieanna James-Knipfing. The Plaintiffholds plenty ofvideos and pictures.



                     Jericho Gardens
                                               Edit
                     ApriU. 2018 3:30 PM
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                                                                                                           144




     DATE 06-16-2018: Chris Weidman's House

     On Chris Weidman's son's birUiday, a &mily friend, Teresa A.Zantua ordered me to take pictures
     and videos ofthe children in presence ofhis wife Marivi Weidman with whom we already shared
     other activities. This time,K.V.K.(7 y/o)in the car stepped on the PlaintifPs right hand several
     times and stood on it injuring her wrist. Teresa A.2^tuajustified these assaults when the Plaintiff
     complained of pain:"Won Mexicans eat a lot ofcom thafs why your bones are useless,thafs why
     Stephanieanna James-Knipfing does not allow buying food based in com".The Plaintiffhas pictures
     and videos.

                        Dtx Hills
                                          Edit
                   June 16,2018 6:17 PM




                                                                     J            at.o:16:
